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EXHIBIT
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                                                                                                        •••
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                                                                                                INTEGRATED
  11                                                                                               WASTE
                                                                                                MANAGEMENT
                                                                                                   BOARD




                                                                        PLASTICS:
                                                                    WASTE MANAGEMENT
                                                                      ALTERNATIVES

                                                                           USE, RECYCLABILITY, AND DISPOSAL




                                                                                      STATE OF CALIFORNIA
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STATE OF CALIFORNIA                                                                                                               PREFACE


                                                                                                                           This report is on the use, disposal, and
                Pete Wilson
                                                                                                                      recyclability of plastic materials not subject to
                 Governor
                                                                                                                      Division 12.1 of the Public Resources Code.
                                                                                                                      It has been researched and written by staff of
               James M. Strock
                                                                                                                      the California Integrated Waste Management
   Secretary for Environmental Protection
                                                                                                                      Board to fulfill the reporting requirements of
 California Environmental Protection Agency
                                                                                                                      Public Resources Code 42380.



          California Integrated
        Waste Management Board



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                 Chairman

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                   Kathy Neal

                    Paul Relis

                           ■




              Ralph E. Chandler
              Executive Director


                    May 1992


               CALIFORNIA INTEGRATED
             WASTE MANAGEMENT BOARD


                8800 Cal Center Drive
             Sacramento, California 9 58 26
                   (9I6) 25 5-2200

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                                                                                                  row. ational production of pla tics will increase an               are discussed below.
APPENDIX TWO                                                                                      estimated 33 percent from now until the end of the
  CA LIFORNIA CURB I DE PRO GRAM                                         71                       century, from 58 bi llion co 74 billion pounds (29 mil­            Ba rriers : Source Reduction
                                                                                                  lion to 37 mi l l ion tons) in eight years. Already, plastic            To discuss source reduction, we muse first estab­
                                                                                                  waste is one of the fastest growing - and longest                  lish the difference between source reduction and recy­
APPENDIX THREE                                                                                    lasting - egments of the municipa l waste stream.                  cling. Source reduction is any action, by either the
  S U RV EY RES U LTS O F CA LI FORN I A P LASTI C REPRO C E S S O R S   75                             I n ju t two years, the plastic waste cycle has              manufacturer or consumer, that cause a reduction in
                                                                                                  changed dramatically in California . cores of collec­              the volume of waste generated or in its toxicity. Recy­
A PPENDIX FOUR                                                                                    tion operations have sprung up and the pu blic has                 cling deals with the waste after it has been generated.
                                                                                                  responded strongly to recycling some plastics. Still,                   Source reduction can be accompl i shed through
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                                                                                                  the pla tic recycling industry is i m mature, able to recy­        changes in production, distribution, and consumption.
                                                                                                  cle and resell on l y a bout two percent of the pla tic            It often requires economic, manufacturing and behav­
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                                                                                                  fills and linering on l a nd and sea . ome plastics waste          type of plastic bur producers elsewhere would srill
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                                                                                                  are al o source of toxic materials - heavy metal                   conti nue production and the plastic would stil l show
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                                                                                                  Wa te Management Board to report on the u e, dis­                  reduce the use of toxic additives such as lead and cad­
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   Ta b le 4 . 1 ( Ways for Consumer to Red uce Pia tic U e)             25                       423 80. This report i the re ult of chat legislative               efforts by manufacturers and may affect the perfor­
                                                                         30                       mandate .                                                          mance of a product. For example, thinner walls may
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                                                                                                        The preferred wa t e management methods for                  ucts, particularly single-u e produces, and buy reus­
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   Figure 6.3 (Vi rgin vs. Postcon sumer H D PE Prices)                  46                             There a re few clear sign po t along Ca lifornia's
                                                                                                  journey to effective ource reduction a nd pla tic                  Barriers : Plastics Recycling
                                                                                                  recycling. Determining which are the mo t effective                     Pia tic wa te is generally divided into two cate­
R EFERENCES                                                              83                       program has been difficult beca u e of a lack of rel i­            gories: industrial plastic scrap and postconsumer.
                                                                                                  able, uniform and accurate data for compari on.                         The marker for indu trial plastic crap from man­
                                                                                                  Pre encly, the mo t promi ing method of controlling                ufacturer - which is a small portion of the plastic
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                                                                                                  the i ncrea ing amount of pla ti in the waste cream                waste produced - has been active for decades in Cali­
                                                                                                  appea r to be recycl ing. ontra ry to popular belief,              fornia beca use the material has uniform resin, is rela­
                                                                                                  mo r pla tics are techni ally recyclable.       me specific        tively uncontaminated, and easy to reuse.



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     Postconsumer plastic recycling, however, still is           ly indistinguishable from other plastics, they contain             prices are expected to increase over the next several            will assist the commercial sector and local govern-
experiencing significant growing pains because of sev-           additives that can compromise the integrity and quali-             years.                                                           ments in pursuing source reduction and recycling
eral barriers:                                                   ty of recycled materials if commingled with other                       The increasing demand for these two resins has              efforts.
                                                                 plastics.                                                          encouraged collectors and processors to expand their                  The Board currently is engaged in the develop-
    ■ Expensive technologies are necessary to clean                   With the effectiveness of degradable plastics in              operations. Recycling of polystyrene, polyvinyl chlo-            ment of several programs to increase the recycling of
    and separate the different plastic wastes.                   doubt and effective source reduction involving signifi-            ride, and low-density polyethylene waste may also                a host of materials. Besides the tax credit program
    Although increasing progress is being made in                cant changes, the most immediately achievable option               increase if collection problems associated with these            mentioned earlier there is a Recycling Market Devel-
    separation and reprocessing technologies, most               for dealing with the plastics waste stream is recycling.           types of resins can be overcome.                                 opment Zone program under development which
    solutions are costly.                                                                                                                Recent developments in chemical recycling of                would provide assistance to businesses located in the
                                                                                                                                    plastics are broadening the possibilities for using recy-        zones on permit issues and California Environmental
    • Labor costs are high because many plastics must            Recycling that Works                                               cled resins in applications dominated by virgin resins,          Quality Act requirements, and make available low-
    be manually separated.                                            The most actively recycled postconsumer plastic is            such as food-contact products; however, chemical                 interest loans for the use or production of recycled
                                                                 Polyethylene Terephthalate (PET) beverage containers,              recycling requires costly equipment that may limit its           materials, somewhat similar to enterprise zones.
    • The market for recycled resins is limited by sea-          which are collected in ·states with bottle-deposit legis-          use to large chemical and resin manufacturers. Cur-                   The Board is also studying the feasibility of
    sonal fluctuations that lead to an unstable supply,          lation. Recent growth in the number of curbside col-               rently PET is the only resin being chemically recycled           imposing advance disposal fees on certain commodi-
    sharp fluctuations in prices for virgin resins,              lection programs that include plastics will increase the           on a commercial scale.                                           ties to cover the costs of recycling or disposal and is
    volatile foreign markets, and uneven quality of              quantity and variety of postconsumer plastic scrap                                                                                  working with local governments to institute source
    collected plastic waste because there are no widely          available to reprocessors.                                                                                                          reduction and recycling programs.
    accepted standards.                                               The effectiveness of plastic collection programs              California
                                                                 varies between communities because of variations in                     Although few statistics are available to quantify
    • People simply don't know that most plastics can            population density, seasonal fluctuations in collection,           the state's recycling of plastic wastes, California gener-       Recommendations
    be recycled. This informational barrier must be              and citizen participation.                                         ally is behind eastern states; however, California's                  In proposing the following recommendations, the
    overcome so that people can begin to change                       Recycling programs that achieve the highest rates             plastic waste infrastructure is improving. To help               Board does not intend to single out plastics for sepa-
    habits and collect plastics for recycling.                   of collection and participation generally include:                 establish a solid recycling industry, the California Leg-        rate consideration. The Board is developing a market
                                                                                                                                    islature has established tax credits for firms buying            development strategy and will determine how best to
    • Existing regulations sometimes put recycling at a              • Curbside collection of plastics.                             recycling equipment, has passed minimum-content leg-             target limited resources.
    disadvantage. Restrictive zoning laws often                                                                                     islation for trash bags and rigid-plastic containers, and             For the Board and Legislature to promote the
    require, for example, that recycling plants be                   • Supplying collection bins.                                   has established procurement goals for state govern-              reduction, reuse, and recycling of plastics, programs
    located far away from sources of plastic waste                                                                                  ment for the purchase of products containing sec-                should be developed that would provide:
    thereby increasing transportation costs.                         • Use of collection vehicles with compaction                   ondary resins. Collections are increasing of PET and
                                                                       systems.                                                     HDPE containers through curbside collection pro-                     1) assistance to communities and manufacturers
     • Transportation costs generally are high for plas-                                                                            grams and the bottle-redemption law, and the state's                 through development of a computer model for
     tics due to their low weight and high volume.                   • Targeting of PET and High Density                            postconsumer plastic recycling and reprocessing                      evaluating plastics collection options;
     The amount that any given container can haul is                   Polyethylene (HDPE) containers.                              capacity has increased.
     limited without first incurring the cost of com-                                                                                    The majority of the state's plastic processing                  2) educational materials to schools promoting
     pressing and baling.                                             • Public education and promotional programs.                  industry is in the Los Angeles Basin. In the near term,              source reduction by the consumer;
                                                                                                                                    efforts to increase the collection and marketing of
                                                                      Many European countries continue to aggressively              recycled plastics could be productive sooner in this                 3) support for research programs on source
 The Failing of Degradable Plastics                              develop plastic recycling programs that often include              area of California with later efforts directed statewide.            reduction technology at universities in the engi-
      Chemists have been working for some time to                innovative collection schemes, sophisticated reprocess-                 Several actions have already been taken to develop              neering curriculums;
 develop products that degrade quickly. But degrad-              ing technologies, and effective legislation that guaran-           a solid foundation of information. The California
 able plastics are generally an impractical solution for         tee a more efficient recovery of plastic wastes.                   Integrated Waste Management Board has established                    4) for the development and establishment of per-
 disposal of plastic waste. They are typically unable to              Recycled resin prices in the United States have                CalMAX, a free service designed to help businesses                  formance standards for recycled resins through a
 photodegrade or biodegrade in modern landfills                  generally been 20 percent to 40 percent less than vir-             find markets for materials they traditionally discarded              coding system;
 because of the absence of ultraviolet radiation, oxy-           gin resin prices. In recent years, prices for PET and               through a catalog that lists both needed and available
 gen, and moisture. Many serious questions also                  HDPE recycled resin began to increase because of                    materials. The Board will expand its role as an infor-              5) support of legislation to mandate a reduction
 remain about the toxicity of decomposition by-prod-             increased demand for recycled plastic products; how-                mation clearinghouse on source reduction and recy-                  and eventual phase-out of the use of heavy metals
 ucts associated with degradable plastics.                       ever, recycled resin prices dropped significantly in                cling issues. The clearinghouse will collect and                    such as lead and cadmium in packaging, including
      Degradable plastics also represent a threat to plas-       1991 because of overproduction of virgin resins and                 disseminate information on existing programs, exist-                plastic packaging. The mandate should include a
 tic recycling. Although degradable plastics are typical-        the recession. Despite these decreases, recycled resin              ing and current research, and other information that                study to determine a reasonable time frame for



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    phasing out heavy metals and suggest methods to                 The Board is conducting a plastics marketing
    facilitate research in developing alternatives;            study identifying California manufacturing firms that
                                                               may be able to use recycled plastics (PRC §42373).
    6) grants for plastics recycling technologies and          The study will also examine if incentives, such as tax
    activities such as research and development, auto-         credits or subsidies, would assist plastic processors to
    mated resin separation, chemical recycling, pur-           increase the use of recycled resins.
    chase of baling and sorting equipment for                       The key to developing a healthy and growing
    shipment;                                                  market for postconsumer plastics in California is to
                                                                                                                                                                                   Introduction
                                                               encourage the existing plastics processing industry
    7) loans for the acquisition of recycling equip-           currently concentrated in southern California to use               Pertinent Legislation                                            changing plastics industry in California, figures are
    ment by plastic reprocessors and manufacturers.            recycled plastics. As plastics recycling becomes suc-
                                                                                                                                      This report was researched and designed to fulfill           compared over time, when possible. National and
                                                               cessful there, or new processors come on-line else-                the mandate created in 1990 by Public Resources                  state figures are used to establish the percentages of
     The Board also recommends avoiding legislation            where, techniques can be transferred throughout the                Code Section 42380:                                              plastic in the waste stream.
that ban plastics. Such laws usually fail to be success-       state. By making these and other investments, Califor-                  The (California Integrated Waste Management)                      The hierarchy for dealing with plastics in munici-
fully implemented because they are based upon insuf-           nia can help the fledgling plastics industry develop the           Board shall prepare and submit to the Governor and               pal solid waste was established by the Integrated
ficient scientific data about the environmental impacts        solid infrastructure it needs to recapture plastics                the Legislature a report on the use, disposal, and recy-         Waste Management Act of 1989 (Act). The informa-
or recyclability of plastic wastes.                            before they become the trash of the future.                        clability of plastic materials and containers not subject        tion on source reduction - the top priority on that
                                                                                                                                  to Division 12.1 (commencing with section 14500) of              list - is largely anecdotal. Examples of source reduc-
                                                                                                                                  the Public Resources Code. The report should                     tion efforts by private industry, governments and
                                                                                                                                  include, but not be limited to, all of the following:            other organizations are included to give an idea of the
                                                                                                                                       (a) A description of barriers to plastics collection,       possibilities.
                                                                                                                                  separation, and recycling for reuse.                                   Although this report includes both national and
                                                                                                                                       (b) A description and comparison of current                 international examples of collection programs and
                                                                                                                                  methods used in the state, other states, and other               technology, the report emphasizes California exam-
                                                                                                                                  countries to reduce the use of, and recycle, plastic             ples. When this report was mandated, postconsumer
                                                                                                                                  materials currently disposed of in the state and recom-          plastics recycling was virtually nonexistent in Califor-
                                                                                                                                  mendations on how the state might reduce or recycle              nia. In just two years, scores have sprung up, provid-
                                                                                                                                  plastic materials.                                               ing a better base for comparison.
                                                                                                                                       (c) A description of programs under development                   Research on markets for recyclable plastic waste
                                                                                                                                  and potentially available for plastics collection and            included state, national and foreign markets. The
                                                                                                                                  recycling.                                                       research focused on foreign markets, which now buy
                                                                                                                                       (d) A description of current domestic and foreign           most of California's plastic recyclable waste, and
                                                                                                                                  markets for recycled plastic materials, and recommen-            southern California, where a thriving plastics industry
                                                                                                                                  dations on how the state could improve the mar-                  provides a significant potential market for recycled
                                                                                                                                  ketability of these materials.                                   plastics.
                                                                                                                                                                                                         Although there are hundreds of formulations of
                                                                                                                                  Scope of Work                                                    plastics, the report primarily focuses on the most com-
                                                                                                                                       This report describes an immature industry; one             mon varieties. Similarly, the most representative leg-
                                                                                                                                  with significant potential, but few current figures, or          islative initiatives from across the nation are used to
                                                                                                                                  even comparable statistics, with which to measure                examine effective legislative strategies.
                                                                                                                                  progress.                                                              Overall, the base of data is thin because the post-
                                                                                                                                       National studies of postconsumer plastic waste              consumer plastics recycling industry is new, making it
                                                                                                                                  are developing. Until 1990, plastic waste was largely            difficult to quantify programs and markets. Also, the
                                                                                                                                  measured by weight. But because of the high volume-              industry is dominated by entrepreneurs, who tend to
                                                                                                                                  to-weight ratio of plastic, that measurement was                 be protective of data or not keep them, and there are
                                                                                                                                  deceiving. By volume, plastics account for about three           no standards - which makes comparisons difficult.
                                                                                                                                  times as much waste - almost 20 percent of the waste                  Even so, there is enough information available to
                                                                                                                                  in landfills.                                                    satisfy the legislative mandate and to provide an
                                                                                                                                       To give an accurate perspective of the rapidly              overview of plastics use, recycling and waste.



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Organization of Report                                          two main categories: industrial scrap and postcon-
     The report overview begins in Chapter 2, explain-          sumer plastics. Price comparisons are made between
ing the common types of plastics, the structure and             virgin and recycled resin because the difference in cost
size of the virgin plastics industry, and a brief over-         is a major factor in the success or failure of developing
view of the plastics recycling industry.                        dependable markets for recycled resin. The dangers of
     Chapter 3 discusses plastics in the waste stream.          relying too heavily on volatile foreign markets for Cal-
Plastics are compared to other wastes in terms of both          ifornia postconsumer plastics are also detailed, as are                                                             Plastics Overview
weight and volume. The sources of plastic waste are             recommendations for establishing a recycling market
discussed, as well as the special problems of litter and        in southern California.
toxicity that plastics waste pose. Methods of handling               The barriers to plastics recycling are broken out                   Introduction                                                         Plastics have become more popular because they
plastic waste are prioritized according to a hierarchy          separately, in Chapter 7, because they will be essential                      In a little more than a century, plastics have been        fit a variety of manufacturing needs:
of waste management practices established by the Inte-          to overcome to establish plastics recycling in Califor-                  woven into the fabric of our society. Their amazing
grated Waste Management Act of 1989, and methods                nia. The biggest obstacles to plastics recycling are                     versatility has allowed the manufacture of an enor-                 • The strength, durability, and low weight-to-
of disposal are described and compared.                         technical (because of the variety of plastic types), eco-                mous number of products - as mundane as beverage                    volume characteristics of many plastics minimize
     The top priority for managing plastic waste, as            nomic (which include the cost of collecting and buying                   straws and as critical as artificial hearts.                        raw materials costs and maximize product quality
established by the Board, is examined in Chapter 4:             sophisticated machinery, as well as the problem of                            Beginning with the development of Celluloid to                 and ease-of-use for consumers.
Source Reduction of Plastic. Methods of source                  inconsistent supplies and undeveloped markets), infor-                   replace ivory in 1868, plastics rapidly became an
reduction include reducing the volume of plastics used          mational (including the perception that plastics are                     important substitute for natural materials such as                  • The materials used to produce plastics - tradi-
at both manufacturing and consumer levels. Source               largely unrecyclable), and regulatory barriers (includ-                  wood, leather, paper, metal, glass, and natural fibers.             tionally inexpensive feedstocks such as oil and
reduction studies are cited, though none provide a              ing laws that promote landfilling or incineration, and                        The development and manufacture of plastics                    natural gas - keep costs relatively low.
comprehensive view, and methods to promote source               taxes and zoning that make recycling unprofitable or                     accelerated with the growth of the petrochemical
reduction - including education, and government and             impractical).                                                            industry in the 1920s and shot up even more during                  • Many resins can be easily produced and mold-
industry research- are recommended.                                  Legislative initiatives relating to the plastics indus-             World War II, with the need for synthetic replace-                  ed at lower than normal temperatures, which
     The development of technologies and the boom in            try have had differing degrees of success. Chapter 8                     ments for natural materials.                                        require fewer energy inputs.
curbside recycling programs throughout California are           compares taxes, bans, deposits and mandatory recy-                            Since then, demand for plastics has grown at a
developed in Chapter 5. The first part of the cycle of          cling throughout the United States and in other coun-                    steady pace. Annual plastics production topped one              Common Types of Plastics
recycling is discussed, including the collection, separa-       tries.                                                                   billion pounds during the mid-1940s. Current annual                All plastic resins are either thermoplastics or ther-
tion, reclamation and manufacture of recycled plastics.              A separate section on degradable plastics was                       plastics production is nearly 60 billion pounds (30             mosets.
Examples of successful technologies and collection              included as an appendix because this method of reduc-                    million tons), and industry projections estimate pro-
programs are drawn from within California, other                ing plastic waste has been found to be impractical in                    duction may top 75 billion pounds (37.5 million tons)           The Thermosetting plastics
states and other nations. The last part - Marketing,            modern solid waste landfills.                                            by 2000.                                                             Thermosetting plastics are composed of polymer
a key element in recycling - is covered in Chapter 6.                Other appendices are included to detail the firms                         Plastics are synthesized from ingredients such as         chains that harden and permanently cross-link with
     The markets for recycled plastics are broken into          and programs involved in recycling in California.                        petroleum, natural gas, coal, and wood. Individual              adjacent polymer chains during the resin manufactur-
                                                                                                                                         types of plastics, or resins, consist of various combina-       ing process. These cross-linkages create more durable
                                                                                                                                         tions of carbon with hydrogen, oxygen, nitrogen and             resins with high-performance characteristics necessary
                                                                                                                                         other organic and inorganic molecules. These ele-               for specialized applications in medicine, aeronautics,
                                                                                                                                         ments form small molecule groups called monomers,               and automotive engines.
                                                                                                                                         which are linked together through the chemical                       The number of these different engineering plastic
                                                                                                                                         process of polymerization into long chains of mole-             resins has rapidly multiplied in recent years, especially
                                                                                                                                         cules called polymers. Different types of plastic resins        with the introduction of high-performance consumer
                                                                                                                                         are created during the polymerization process by using          packaging, such as microwaveable trays. This prolif-
                                                                                                                                         different ingredients, catalysts, additives, and varia-         eration of industrial and consumer applications has
                                                                                                                                         tions in temperature, pressure, and reaction time. The          made engineering plastics one of the fastest growing
                                                                                                                                         polymerization process culminates in the manufacture            segments of the plastics industry.
                                                                                                                                         of plastic resins, each with a wide range of strength,               Cross-linked polymers, however, cannot be
                                                                                                                                         toughness, density, brittleness, and opacity. Resins            remelted and reformed into new products, and are
                                                                                                                                         are the raw materials used by manufacturers to make             typically excluded from plastic recycling efforts.
                                                                                                                                         a variety of plastic products.                                  Recent research indicates that some thermosetting




                                                            6                                                                                                                                        7
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plastics may eventually be recyclable using developing         used for more durable products such as furniture, auto                                                                   TABLE 2.1
chemical recycling technologies. (More detail in               battery cases, fish nets and auto fenders. Polypropy-                                                           1991 U.S. Plastic Sales by Resin
Chapter 5).                                                    lene has low density, rigidity, and is resistant to heat                                                               (In millions of pounds)
                                                               and chemicals.
Recyclable Thermoplastics                                           High density polyethylene, low density polyethyl-
                                                                                                                                            THERMOPLASTIC RESINS                                                  SALES
     Thermoplastics are composed of polymer chains             ene, and polypropylene share similar hydrocarbon                                                                                                            PERCENT
that can be melted or hardened by temperature                  feedstocks (i.e. ethylene) and are commonly referred to                      Low-density polyethylene /LOPE)                                      12,143      20.0
changes during the manufacturing process. The abili-           by the generic term polyolefins. The polyolefin resins                       Polyvinyl chloride and copolymers (PVC)                               9,130      15.1
ty to reheat and reform thermoplastics several times           are often referred to as "commodity" plastics because                        High-density polyethylene (HOPE)                                      9,193      15.2
without serious damage to the resin has made them              of their high versatility and relatively low price. Poly-
                                                                                                                                            Polypropylene and copolymers /PP)                                     8, J55     13.5
the target of most plastic recycling efforts in the            olefins are the most pervasive plastics and account for
                                                               more than 48.7 percent (29,491 billion pounds) of all                        Polystyrene (PS)                                                      4,877
United States.                                                                                                                                                                                                                8.0
     As shown in Table 2.1, thermoplastics such as             U.S. plastics production. In recent years, researchers                       Thermoplastic polyester /PET, PBC, PCT)                               2,549       4.2
polyethylene, polypropylene, Polyethylene Terephtha-           have developed several cross-over applications for                           Acrylonitrile/butadiene/styrene /ABS)                                 I, 125       1.9
late (PET), and polystyrene accounted for 85 percent           polyolefin resins, including many grocery bags, which                        Other styrenics                                                       1,180       2.0
of U.S. plastics production. While thermosetting plas-         are made of HDPE, and some rigid items, which are
                                                                                                                                            Other vinyls                                                            120       0.2
tics accounted for just under 15 percent of the total,         made of LD PE.
they are becoming more popular among manufactur-                    Polystyrene (PS) is often mistakenly referred to as                     Acrylics                                                               672       - I. I
ers because of their durability and heat-resistance            "styrofoam," which is actually Dow Chemical's trade-                         Polycarbonate                                                          601        1.0
characteristics.                                               mark name for the material used in products such as                          Thermoplastic elastomers                                               584        1.0
     The plastics industry uses a profusion of resin           disposable coffee cups. Although PS foam products
                                                                                                                                            Nylon                                                                  556        0.9
blends and configurations. The majority of plastics            such as coffee cups are readily identifiable, PS resins
products, however, are manufactured from a much                are also used in a variety of different styrene products                     Polyphenylene-based alloys                                              195       0.3
smaller set of resins. Many of these resins can be             with distinctly different appearances:                                       Polyacetal                                                              140       0.2
readily identified by the visual and physical qualities                                                                                     Styrene/acrylonitrile                                                   117       0.2
of the resin. Some closely similar resins, however, are           • Expanded or foamed PS is the most widely
                                                                                                                                            Celluosics                                                               84       0.1
not readily identifiable and pose problems for recy-              recognized PS resin and is used in a variety of
cling operations that must separate plastic wastes by             products including packing and insulation materi-
resin type.                                                       als, cups for hot beverages, and fast food                                Total -    Thermoplastic resins                                     51,421      84.9
     Here are the most commonly used resins:                      hamburger "clamshells."
     Polyethylene, the most widely used resin in the
                                                                                                                                            THERMOSETTING RESINS
United States, accounted for 35 percent (21,336 bil-              • Oriented or "crystal" PS is used to make clear
                                                                                                                                            Polyurethane                                                         2,985       5.0
lion pounds) of resin sales in 1991. High density                 deli and salad trays and some film products.
polyethylene (HDPE) is used to produce the majority                                                                                         Phenolic                                                             2,556       4.2
of rigid containers for dairy, detergent, cosmetics, and          • Semi-rigid PS is used to create slightly pliable                        Urea and melamine                                                    1,467       2.4
auto products, such as antifreeze and motor oil.                  products, such as dairy product containers and                            Polyester, unsaturated                                               1,081        1.8
HDPE resin is widely used because of its low cost,                beverage cup lids.
                                                                                                                                            Epoxy                                                                  428       0.7
toughness, and flexibility. Low density polyethylene
(LDPE) is used to make plastics film products, such as            • High-impact PS is used to produce rigid items                           Alkyd                                                                  315       0.5
trash bags, grocery sacks, and dry cleaning bags.                 such as plastic cutlery, disposable razors, and
LDPE is especially convenient in packaging materials              some prescription drug containers.                                        Total -Thermosetting resins                                          8,832      14.6
because it is moisture-proof and chemically inert.
Most polyethylene products have short product life                • Acrylonitrile butadiene styrene (ABS), com-                             Others                                                                 345       0.5
spans of under one year; however, they are also used              monly used to make telephone casings, plumbing
in some durable products with longer life spans such              and sewer pipes, is another member of the styrene                         Totals                                                              60,598     100.0
as toys, buckets, drums, pallets, and automotive parts.           family of resins.
     Polypropylene (PP), another thermoplastic, is
used in consumer products such as ketchup bottles                  In recent years polystyrene has received con ider-
and cellophane-like wrappers for snack foods and               able environmental scrutiny, with some local govern-                         Source: Modern Plastics, January J992
candy. Polypropylene, however, is more commonly                ments, such as Berkeley, banning the production or


                                                           8                                                                                                                                   9
                                                                    Case 1:25-cv-00011-MJT   Document 1-11 Filed 01/06/25      Page 10 of 50 PageID #:
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                                                TABLE 2.2                                                          sale of some polystyrene products. These bans origi-             ple, flame retardance, flexibility, lack of electrical con-
                                     U.S. Resin Sales to Major Markets                                             nated out of environmental concerns regarding the                ductivity) or add aesthetic qualities (for example,
                                                                                                                   production of ozone-depleting gasses during PS foam              color, transparency, brightness) to plastic resins.
MARKET CATEGORY/                                                                                                   manufacturing, the slow disintegration of PS products            Many additives are incorporated into resins during
                                                                                   %                               (estimates range in the hundreds and even thousands              both the resin manufacturing process and during the
PRODUCT AREA                                             MILLIONS               OF U.S.                            of years), and the widespread utilization of PS in sin-          production of plastic products.
                                                           LBS.                  SA LES                            gle-use products such as fast food packaging.                         The plastic processing industry buys virgin and
                                                                                                                        Polyethylene terephthalate (PET), the most widely           recycled resins and processes them into a variety of
                                                                                                                   recycled plastic resin, belongs to the polyester family          forms and products for packaging, consumer and
PACKAGING
                                                                                                                   of plastic resins and is most commonly used to pro-              industrial uses.
Containers la)                                            7,443
                                                                                                                   duce plastic soft drink and beverage bottles because of               Plastic processing firms are smaller, more numer-
Film                                                      5,636
                                                                                                                   its toughness, clarity, and excellent barrier properties.        ous, and more geographically decentralized than resin
Coatings                                                   1, 178
                                                                                                                   The overwhelming use of PET for beverage packaging               manufacturing firms. More than half of the 12,000
Closures                                                    830                                                    and the ease of identifying PET beverage bottles has             plastics processing firms in the United States employed
Total Packaging                                          15,087                   25.0                             stimulated several states, including California, to              fewer than 20 employees in 1988, the latest year for
                                                                                                                   include these containers in their beverage-container             which statistics are available. In total, these compa-
BUILDINGS AND CONSTRUCTION                                                                                         redemption programs. Other products made from                    nies employed 580,000 workers and generated $60.5
Pipe, fittings, conduit                                   4,1 02                                                   PET resin include clear bottles for various food and             billion in product shipments in 1987. In California,
                                                           1, 041                                                  non-food products, sheeting, blister packs, and some             almost 1,700 plastic processing firms employed more
Insulation
                                                                                                                   durable goods, such as carpets and auto parts.                   than 64,000 workers and generated shipments in
Panels and siding                                            954
                                                                                                                        Polyvinyl chloride (PVC) resin is widely used in            excess of $6. 7 billion in 1987.
Profile extrusion                                            378
                                                                                                                   building and construction products such as pipes, sid-                Packaging products made up the largest sector of
Vapor barriers                                               329                                                                                                                    the plastic processing industry, accounting for more
                                                                                                                   ing, conduits and gutters because of its strength and
All other                                                  3,969                                                   durability. PVC resin can also be readily modified               than 33.5 percent of all U.S. plastic sales in 1987.
Total Buildings, Construction                            10, 773                  17.8                             with additives that make it useful in a variety of prod-         Building and construction applications were the next
                                                                                                                   ucts, such as bottles, flooring, plastic wraps for food,         largest sector at 24.8 percent. The market share of
CONSUMER AND INSTITUTION PRODUCTS                                                                                  and as a leather or rubber substitute on luggage and             these and other significant market sectors are high-
Housewares                                                 1,503                                                   brief cases.                                                     lighted in Table 2.2
                                                                                                                                                                                         Because production of commodity plastics such as
Appliances                                                 1,1 90
                                                                                                                   Production and Consumption                                       HDPE and LDPE is concentrated in large complexes
Toys                                                         798
                                                                                                                   of Virgin Plastics                                               that produce huge volumes, the opening or closing of
Total Consumer and Institution                            3, 491                   5.8                                                                                              a single production facility can significantly affect
                                                                                                                            The plastics industry can be divided into those
                                                                                                                   firms that manufacture or add value to plastic resins,           resin supply and prices. The plastics industry has been
TRANSPORTATION                                                                                                     and those that process plastic resins into finished              characterized by swings in product prices because of
Cars, vans, light trucks                                   1,956                                                   products. Plastic processing firms represent the much            rapid increases in production capacity, sudden increas-
Other                                                        239                                                   larger sector both in terms of sales and workforce.              es in feedstock prices, and national economic down-
Total Transportation                                      2,195                    3 .6                                 Resin manufacturing typically occurs at large               turns that reduce demand for plastic products in
                                                                                                                   petrochemical plants, most of which are concentrated             industries such as construction.
                                                                                                                   in the Gulf of Mexico and in the Atlantic Coast states.               Today, the recession has constricted consumer
ELECTRICAL AND ELECTRONICS
                                                                                                                   The industry consisted of 480 firms, employed 56,300             and construction markets sending commodity plastic
Electrical and Electronics                                2,089                    3. 4
                                                                                                                   workers and generated $26.24 billion on resin ship-              supplies up and prices down. In 1991, U.S. resin pro-
                                                                                                                   ments in 1987. The states with the largest employ-                duction dropped _one percent. Although this may not
FURNITURE                                                                                                          ment in resin manufacturing are Texas, ew Jersey,                seem to be a major drop compared to some other
Furniture                                                  1,045                    1. 7                           West Virginia, Pennsylvania, Louisiana, Ohio, Michi-             industrial sectors, it represents a significant change
                                                                                                                   gan, and California. California has 67 plastic manu-              from the plastic industry's 5.2 percent compound
la) Includes bases for PET bottles                                                                                 facturer who employed more than 2,100.                           growth rate from 1980 to 1990.
                                                                                                                        Many resins require additional processing before
                                                                                                                   they can match the color, quality, safety, and other
Source: Modern Plastics, January 1992                                                                              specifications for many plastic products. Additive's
                                                                                                                   typically alter the physical characteristics (for exam-


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Production of Recycled Plastics                                      Plastic waste and scrap is sold to handler/brokers                  Manufacturing Processes for Plastic                              Injection molding forces granulated resins
     Plastic recycling involves the transformation of            and reprocessors because it needs additional process-                   Products                                                    through a heated cylinder and into a relatively cool
plastic wastes into useable plastic, typically in the            ing before it can be reused by plastic manufacturers.                   Most thermoplastics begin as small pellets, which           mold held closed under pressure. Once the mold
form of finely shredded flakes or resin pellets.                 Handler/brokers often bale or grind plastic wastes for             are mixed with additional additives and fed into                 cools, the plastic resin cures, hardens, and is removed.
Because the source and makeup of plastic wastes                  sale to domestic and foreign reprocessors or plastic               machines that mix, melt, and mold the resins into                     Casting uses both thermosetting and thermoplas-
strongly affect the processing and markets for recycled          manufacturers. Reprocessors typically use various                  plastic products.                                                tic resins to produce shapes, rods, and tubes. Heated
resin, a number of different industries are involved in          manual and automated techniques to more completely                      Thermosetting resins are typically shipped in liq-          liquid resin is poured into an open or closed mold,
the plastics recycling industry.                                 reprocess plastic wastes. These techniques may                     uid form so that processors can mold and "cure" the              where it cools into a solid.
     Some plastic is recycled by the firms which manu-           include separation of plastics from other waste and by             resin into a permanently hardened shape formed from                   Compression molding is the most common
facture or process virgin resins. The characteristics of         resin type, washing, shredding, grinding, remelting,               cross-linked polymers.                                           method of forming thermosetting materials. Resin
some resins and manufacturing processes allow resin              and extrusion. Government statistics are not available                  Here are some of the common methods of pro-                 mixed with additives are placed into a pre-heated
manufacturers and plastic processors to directly recy-           for the plastic reprocessing industry because most of              cessing plastics:                                                mold which is closed under pressure. While the mold
cle some manufacturing waste products such as floor              the industry consists of small entrepreneurial firms.                   Blow molding is used primarily with thermoplas-             continues to be heated, the material undergoes chemi-
cuttings and overruns. However, most plastic waste               However, the 1990-91 Directory of U.S. & Canadian                  tics to manufacture hollow plastic products, such as             cal change and hardens into the desired shape.
cannot be directly reused and is given or sold to firms          Scrap Plastics Processors & Buyers identified more                 bottles. Melted resin is formed into a tubelike shape
that can process the waste into more useable forms.              150 handler/brokers and reprocessors in the United                 called a parison, which is then sealed at both ends and
Plastic waste materials generated by the plastics indus-         States. The Board has currently identified more than               injected with air. The inflation of the molten plastic
try are referred to by a number of names including               20 reprocessors in California (See Appendix 1).                    tube forces the plastic against the inside of a mold.
plastic scrap, industrial plastic wastes, or secondary                The production of most recycled plastic involves              The finished piece is ejected from the mold after
plastic wastes.                                                  the direct recycling or reprocessing of plastic scrap              cooling.
     Although most of the raw material used in the               that is generally free of non-plastic contaminants and                  Calendaring is used to process thermoplastics into
production of recycled plastics currently consists of            consists of the same resin. This reduces processing                plastic films and sheets, and also to apply plastic coat-
plastic scrap, the bulk of plastic waste is generated in         costs for reprocessors and results in recycled plastic             ings to fabric or paper. Heat-softened plastic material
commercial and residential waste streams in the form             material which may closely match the quality of virgin             is passed between two or more heated rollers which
of packaging, constr~ction materials, and various con-           resins. There is relatively little recycling or reprocess-         revolve and squeeze the material into a continuous
sumer products. This type of plastic waste generally             ing of mixed resins currently.                                     sheet.
contains more non-plastic contaminants and a greater                  Few reliable production or market statistics exist                 Extrusion is typically used to form thermoplastic
mixture of different resins than industrial plastic              for either scrap or postconsumer plastics. This lack of            resins into continuous sheeting, tubes, rods, film, and
wastes. Although various classifications have been               information reflects the reluctance of resin manufac-              other shapes. A hopper feeds dry plastic resin into a
used to describe the various types of plastic wastes in          turers and plastic processors to reveal information                long, cylindrical heating chamber. The action of a
commercial and residential wastes streams, these                 which demonstrates the market advantages of recy-                  continuously revolving screw forces molten resin out
materials are often generally referred to as postcon-            cling and reprocessors who are concerned about                     of the chamber through a small opening or die and
sumer plastic wastes.                                            releasing information which may be advantageous to                 into the shape of the finished product. Blowers or
     Because postconsumer plastics originate from a              their competitors.                                                 water cools the plastic as it leaves the die.
much larger number of sources than scrap plastics,                    Quality issues dominate the production and mar-                    Coextmsion is a similar process which simultane-
many private or government-funded groups have been               kets for recycled plastics because many products have              ously pushes multiple layers of different resins into the
established to collect these recyclable wastes. The              strength, color, health, and other specifications that             die. This technique is starting to be used to sandwich
groups include both private and government waste                 are often unattainable by recycled resins. Improving               a layer of recycled resin between layers of virgin resin
haulers, curbside collection programs, local recycling           reprocessing technologies, changing consumer atti-                 during the manufacture of products such as laundry
programs, local collection centers for recyclables,              tudes, and government mandates, however, are                       detergent bottles.
entrepreneurial firms, and large organizations spon-             encouraging the reevaluation of some specifications                     Foam plastic molding can be used in tandem with
sored by the plastics industry. All of these groups can          and leading to the development of new applications                 several manufacturing techniques. Foaming processes
be generically referred to as collectors. No reliable            for both scrap and postconsumer plastic materials                  involve adding blowing agents in the resin that decom-
statistics exist for the number of collectors nationally;        (See Chapter 6 for a more complete discussion).                    pose with heat and generate the gasses needed to cre-
however, California has more than 280 curbside col-                                                                                 ate open or closed cellular structures within the resin.
lection programs, 2100 state-certified beverage con-                                                                                For example, steam is used to expand polystyrene
tainer buyback centers, and at least 650 drop-off                                                                                   resin beads in products such as cups and plates.
centers run by non-profit organizations, small firms,
and individuals (See Appendix 2). Most general col-
lectors take PET containers.



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                                                                                          CHAPT

                                                                                      Plastics in the Waste Stream

                                                     Introduction                                                     Sources of Plastic Waste
                                                          Data and estimates vary, but the trend is unmistak-             In the United States, there are three primary
                                                     able: plastics represent a significant and growing por-          groups of contributors to plastic waste. The first two
                                                     tion of the waste stream.                                        generate plastic scrap or industrial plastic waste:
                                                          In 1960, about 500,000 tons of plastic were dis-
                                                     carded nationally. By 1986, more than 10.3 million                   1. Resin manufacturers generate plastic waste
                                                     tons entered the waste stream. That trend will contin-               when a resin that does not meet specifications is
                                                     ue, according to a 1988 study conducted by Franklin                  beyond salvage and must be discarded.
                                                     Associates for the U.S. Environmental Protection
                                                     Agency (US EPA) which estimates that plastics in the                 2. Processors produce plastic wastes in the form
                                                     waste stream may nearly double between 1984 and                      of trimmings, overruns, and discards while manu-
                                                     2000 (see Table 3.1).                                                facturing plastic products.
                                                          Californians discarded 2.97 million tons of plastics
                                                     in 1990, representing about 7.8 percent of the 40.51                The last category is generally known as postcon-
                                                     million tons of solid waste disposed of in the state,            sumer waste:
                                                     according to a preliminary Board study (see Figure
                                                     3.2).                                                                3. Commercial establishments and individual
                                                          The study - the first to attempt to measure plastics            consumers produce waste by discarding packag-
                                                     in the state solid waste stream - also found that Cali-              ing materials and disposable products. This
                                                     fornians were beginning to recycle. About 137,000                    source contributes most directly to the plastics
                                                     tons of plastic wastes were diverted from the state's                found in municipal solid waste.
                                                     landfills in 1990 through recycling and transformation
                                                     activities. The statistics were compiled by the Board                 Of the three million tons of plastic waste generat-
                                                     from a sample of 122 preliminary drafts of waste gen-            ed annually in California, about half is residential,
                                                     eration studies submitted to the Board by local juris-           while the other half is a combination of commercial
                                                     dictions.                                                        and industrial, according to the 1990 Tellus report.
                                                           Plastics make up about the same portion of the             (Commercial and industrial sources of plastics waste
                                                     national solid waste stream - eight percent by weight            were not broken out in the study.)
                                                     - according to the US EPA's 1990 report on munici-                   Packaging is the largest source of plastic waste
                                                     pal solid wastes.                                                found in the municipal solid waste stream. In 1984,
                                                          The US EPA study also indicated that there was a            53 percent of all discarded plastics came from pack-
                                                     significant difference between the weight and volume             aging. Packaging is also the fastest growing market
                                                     of plastics in the waste stream. The light but bulky             for plastics: In 1977, the production of disposable
                                                     nature of many plastic products such as bottles and              packaging was 7.9 billion pounds, and in 1985 it was
                                                     foam packaging makes plastics a significant contribu-            12.8 billion pounds. Clearly, packaging will become
                                                     tor to the volume of the waste stream. Plastics account          an even larger source of the plastics in municipal solid
                                                     for 19.9 percent by volume nationally, according to the          waste.
                                                     US EPA study (see Figure 3.4), and some other studies
                                                     estimated volumes as high as 30 percent.




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                                                        TABLE 3.1                                                                                 nificant presence in the nation's dwindling number of           The effect of plastic litter in the oceans and other
                              Materials Discarded into the Municipal Waste Stream                                                                 landfills than their weight would suggest. While plastic    bodies of water is better documented. The Center for
                                   from Residential and Commercial Sources                                                                        accounts for roughly 20 percent of the municipal solid      Environmental Education has estimated that merchant
                                              (In millions of tons and percent)                                                                   waste stream by volume today, this percentage is likely     ships alone toss 639,000 plastic containers into the
                                                                                                                                                  to increase as recycling and composting of the largest      ocean every day. Environmentalists estimate that about
                                                 1970                             1984                      2000                                  components of the waste stream - paper and organics         one million tons of plastics per year are dumped from
                                                                                                                                                  - becomes widespread.                                       ships worldwide. Lost plastic drift nets also contribute
      Material                           Tons            %                 Tons           %         Tons            %
                                                                                                                                                                                                              to ocean litter. Fishermen from Taiwan, Korea, and
                                                                                                                                                  Litter                                                      Japan, for example, lose about 1,800 miles of plastic
      Paper and Paperboard               36.5           33. 1              49.4          37. 1      65. 1          41.0                                On land, plastic litter is encountered along road-     net per day during the five-month fishing season.
      Glass                               12.5          11.3               J2.9           9.7       12.1            7.6                           sides, in vacant lots, on beaches, and sometimes in             Plastic litter in the ocean comes mainly from dump-
                                                                                                    14.3            9.0
                                                                                                                                                  parks and other public places. This litter is unsightly     ing of waste from ships, commercial fishing, recreation-
      Metals                              13.5          12.2               12.8           9.6
                                                                                                                                                  and long lasting. Though few studies have been under-       al boats, storm-water runoff, and sewer overflow.
      Plastics                             3.0           2.7                9.6           7.2       15.5            9.8
                                                                                                                                                  taken to determine the extent of the problem, the Cen-          The effects of plastic litter on marine life are also
      Rubber and Leather                   3.0           2.7                3.3           2.5        3.8            2.4                           ter for Environmental Education maintains this litter       well documented - and alarming.
      Textiles                             2.2           2.0                2.8           2.1        3.5            2.2                           may pose a fire danger and become a hazard to                   Each year more than 100,000 marine mammals die
                                                                            5.1           3.8        6.1            3.8                           wildlife.                                                   by ingesting plastics that resemble .jellyfish, according
      Wood                                 4.0           3.6
      Food Wastes                         12.7          11.5               10.8           8.1       10.8            6.8

      Yard Wastes                        21.0           19.0               23.8          17.9       24.4           15.3                                                                              FIGURE 3.1
      Misc. Wastes                         1.8           1.7                2.5           1.9        3.2            2. 1                                                           Plastic Waste Projections: 1990, 1995, 2000
                                                                                                                                                              50



      Total                             100.3           100.0             133.0     100.0          158.8       100.0                                          45
                                                                                                                                                                                                                                             -     Manufacturing

      Source: Franklin and Associates, J988                                                                                                                   40

                                                                                                                                                      ~
                                                                                                                                                                                                                                             k~:~:~:j Postconsumer
                                                                                                                                                      "O
                                                                                                                                                       C:     35
Problems Posed by Plastic Wastes                                     process high quality recycled materials. Plastics also                           0
                                                                                                                                                       ::,
                                                                                                                                                      0..
     Some of the basic problems caused by plastics                   come in a variety of different colors which also may                             ....0
wastes are related to their characteristics.                         need to be separated by color to create marketable                                     30
                                                                                                                                                       "'C:
     Plastics are light in weight, and some are strong               recycled material.
                                                                                                                                                      ~
and durable. They are resistant to many types of cor-                     Some resins and some additives produce toxic                                 ~ 25
rosion, decomposition, and chemical attack. Because                  emissions when incinerated. In addition, some addi-                               Q,J
                                                                                                                                                       w
the resins decompose slowly, if at all, plastic wastes
remain indefinitely in landfills or bodies of water.
                                                                     tives, such as lead, mercury, chromium and cadmium
                                                                     leave ash that is considered hazardous material.
                                                                                                                                                       ;"' 20
                                                                                                                                                       V

For example, many plastics have a life expectancy of                      Polyvinyl Chloride (PVC) in particular has been                              ·="'
                                                                                                                                                        ~

450 years.                                                           plagued by controversy over the potential for PVC                                 ~      15
                                                                                                                                                       ~
     Most plastics are easily manufactured from mate-                waste to create hazardous emissions in incinerators                               w
                                                                                                                                                       ~
rials of relatively low cost, and they frequently end up             and the possibility of carcinogenic leaching from PVC
                                                                                                                                                              10
in products that are inexpensive and disposable.                     food containers in landfills. Many recyclers, in addi-
     The very characteristics that make plastics such                tion, are troubled by the increasing use of PVC in con-
versatile materials for design and manufacture of                    sumer bottles because of PVC's visual similarity and                                      5
products complicate the management of their waste.                   chemical incompatibility with PET, which could
     There are more than 2,000 different types of plas-              undermine recycling efforts.                                                              0
tics, each with a distinct chemistry that may make it                     The volume of discarded plastics - such as films,
                                                                                                                                                                            1990                     1995                    2000
partially or completely incompatible with other resins.              bottles, foam packaging, and disposable food service
The chemical incompatibility of different resins gener-              products - combined with their tendency to resist
ally forces separation of plastic wastes by resin type to            compaction causes them to represent a much more sig-                              Source: Oak Ridge National Laboratory, May J 990



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to an estimate by the Entanglement Network, a coali-             Methods for Managing Plastic Waste                                                                               FIGURE 3.3
tion of 18 environmental groups. Two million sea                      Methods for handling most solid wastes, including                                          Volume of Discards in Landfills ( 1988)
birds a year are reported dead, victims of suffocation           plastics, can be broken into two categories: methods                                                  Total Volume = 400 million cubic yards
or intestinal blockage from ingested plastics. Plastic           for reducing the amount of waste before it is generat-
pellets, razor blades, foam cups, rings, straps, and toys        ed, and those for disposal of waste after it has been
have all been retrieved from the gullets of dead                 generated. The former includes source reduction and                                         Metals, 12. l %                  Glass, 2.0%
seabirds, fish, and mammals.                                     reuse of products, while the latter includes recycling,                                48.3 million cubic yards        7. 9 million cubic yards
      Another dangerous segment of plastic litter is dis-        incineration, and landfill.                                                                                                                    Plastics, 19. 9%
posable medical and laboratory items, which account                   The Legislature, under AB 939, listed the follow-                      Yard Wastes, l 0.3%                                           79. 7 million cubic yards
for a growing proportion of the waste stream. In                 ing Integrated Waste Management hierarchy to deal                         41 .3 million cubic yards
1989, about one billion pounds of plastic went into              with solid wastes in California:
eight major medical device and packaging markets.
Of this total, 325 million pounds was PVC, which was                 (1) Source reduction
used in numerous applications: 98 million pounds in
kits, 80 million in tubing, 60 million in intravenous                (2) Recycling and composting                                                                                                                    Other, 18.4%
bags, and 10 million pounds in blood bags.                                                                                                                                                                      73.4 million cubic yards
                                                                                                                                                    Paper, 34. l %
     About 80 percent of this material is disposed of                (3) Incineration/landfill                                                 136.2 million cubic yards
on-site, mostly by burning, and 20 percent off-site by
                                                                                                                                                                                               Food Wastes. 3.3%
landfilling. In California, a number of small incinera-          Methods for Reducing the Amount of Plastic                                                                                  13.2 million cubic yards
tors in hospitals have closed because of strict control          Waste
measures suggested by the state Air Resources Board.                The most desirable method of managing plastics                                                                Source: US-EPA
Many of those wastes are now shipped to special facil-           under the legislative mandate is source reduction.
ities for treatment before disposal in landfills.                   The Board defines source reduction as "any action



                                                                                                                           that causes a net reduction in the generation of solid            reused up to 100 times and then can be reground for
                                                                                                                           waste. It includes the reduction of both volume and               use in non-food products, such as crates and building
                                                   FIGURE 3.2                                                              toxicity." This concept has two components: less pro-             products.
                     Estimated Composition of the California Waste Stream by Weight                                        duction of material, and production of material con-                  In another example, the Schroeder Milk Company
                                                                                                                           taining fewer potentially toxic substances.                       of St. Paul, Minnesota, developed a returnable HDPE
                                                                                                                                Source reduction not only conserves natural                  1-gallon milk jug that can be reused as many as 50
                                                 Glass 3.69%                                                               resources and reduces the need for incineration and               times. And Canada and Brazil are beginning to exper-
                                Metals 5.83%                                                                               landfill, it also makes incineration and landfill safer by        iment with refillable PET soft drink containers.
                                                                                                                           reducing toxic materials. However, efforts to carry
                   Plastics 7 .80%                                             Paper 32.44%                                out source reduction may affect the quality or perfor-            Methods for Disposal of Plastic Waste
                                                                                                                           mance of consumer products and the recyclability of                    The process of converting discarded waste materi-
                                                                                                                           plastics. (Chapter 4 deals in detail with the problems            als into useable materials or products is called recy-
                                                                                                                           and potential of source reduction.)                               cling. The California boom in recycling has spurred
                                                                                                                                While source reduction focuses on changes in                 the industry to expand from 16 Materials Recovery
                     Other wastes                                                                                                                                                            Facilities (MRF) in 1989 to 59 by the end of 1991.
                                                                                                                           design, manufacture, and purchase, reuse focuses on
                       11.98%                                                                                                                                                                These facilities are the bridge between the generators
                                                                                                                           using the same product. Some refillable plastic con-
                                                                                                                           tainers are already manufactured for some liquids and             and buyers of recyclables.
                                                                                                                           powders. These include containers for spring water,                    The most recoverable plastics are bottles and film.
                                                                                                                           cleaning liquids, pool chemicals, bulk powdered                   They are made from two basic types of plastics: PET
                             Yard waste                                                                                                                                                      (Polyethylene Terephthalate), which is a more flexible
                                                                                                                           goods, and shopping bags.
                              13.87%                                                                                                                                                         plastics popular for soda containers, and HDPE (High
                                                                           Other organics                                       Technology for manufacturing reusable containers
                                                                              24.37%                                       is constantly improving. For example, GE Plastics                 Density Polyethylene), which is a harder, stronger
                                                                                                                           recently introduced a refillable half-pint polycarbonate          plastic.
                                                                                                                           milk bottle to replace high-density polyethylene-coat-                 Other plastics, including construction-grade plas-
                                                                                                                           ed paper cartons in ew York. The bottles can be                   tics and PVC, are harder to recover. Even these plas-


                                                            18                                                                                                                          19
                                                                                      Case 1:25-cv-00011-MJT           Document 1-11 Filed 01/06/25      Page 15 of 50 PageID #:
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                                                   FIGURE 3.4                                                                                    •    Some landfills, both nationally and in Califor-              The environmental groups declare that degradable
                            Postconsumer Plastic Waste Projections for year 2000                                                                      nia, are already polluting nearby land and are          plastics will not extend the life of landfills, do not
                                                                                                                                                      on the Superfund List of hazardous waste sites.         solve the aesthetic problem created by litter, do not
                                                                                                                                                                                                              reduce the threat that plastics represent to wildlife,
             24                       Packaging                                                                                                  •    People oppose the opening of new landfills              interfere with plastic recycling, can pollute the envi-
                                                                     □     Polyurethane Foam                                                          even though California is rapidly filling up            ronment, and do not reduce the use of plastics.
                                                                                                                                                      existing sites.                                              Plastics manufacturers are banding together to
                                                                           Total Thermoplastics
   ii;       20                                                                                                                                                                                               fight for nondegradable plastics. Manufacturers advo-
   'tJ
    C
                                                                     ■     Total Thermosets                                                        In an effort to review the volume of plastics in           cate wider use of incineration and recycling, and fear
    ::::,
    0                                                                                                                                         landfills, some resin manufacturers are developing              their products will be less effective if they are more
   ....0.0                                                                                                                                    degradable plastics .                                           degradable.
             16                                                                                                  '--
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    C                                                                                                            ..c                               After decades of creating durable plastics,                     Biodegradation of plastics in the landfill cannot be
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                                                                                                                 'O
                                                                                                                                              chemists have now become reverse alchemists, devel-             a realistic expectation because once a landfill is cov-
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                                                     ·..:;                                        ·2             Cv                           oping plastics which degrade in different environ-              ered with soil, the amount of oxygen and water avail-
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                                                                                                                 (I)
                                                                                                                 >                            ments. As a result, six-ring beverage carriers that             able for the degradation is very limited. (For a more
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                                                       C
                                                       0                                          'O
                                                                                                                 (I)
                                                                                                                 ..c                          crumble, plastics bags that decompose, and medical              detailed report on degradable plastics, please see
                                                                                                   C             'O
                                                     u                                                                                                                                                        Appendix 4 ).
     C1'
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                                                                                                   a;
                                                                                                                 <(                           sutures that dissolve are already available. Beginning
     E
     ::::,    8                C
                               0                                                                   E      ~                                   in the late 1960s and early 1970s, research efforts
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                                                                                                          :.cu                                began to develop plastics with enhanced degradability.          Conclusions
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                                                                                                                                              This research has followed two distinct courses:                     Plastic wastes contribute significantly to the gener-
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   0..        4      8
                               Cv                                                                                                                                                                             al problems of using landfill capacity and of litter on
                               ~
                     ~          Qi
                               ..c                                                                        :3                                      • The use of photodegradation, to increase the              land and in the ocean. In addition, they create special
                                                                                                          'O
                               0                                                                          ..£                                       susceptibility of plastics to degrade by the              pollution problems because of the danger that addi-
                                                                                                                                                    action of the sun's ultraviolet rays. Plastics            tives, such as cadmium and lead, might leach into soil
              0
                                                                                                                                                    under the influence of ultraviolet (UV) radia-            and groundwater near landfills.
     Source: Oak Ridge National Laboratory, May 1990                                                                                                tion lose strength, become brittle, and may fall               The methods for managing plastic wastes are
                                                                                                                                                    apart when stressed.                                      essentially the methods for managing solid waste in
                                                                                                                                                                                                              general, and they fit into the hierarchy established by
tics, however, are beginning to be recycled. PVC bot-                  3) Some ash from incineration contains heavy                               ■   The use of biodegradation, to promote the               the Legislature in AB 939: (1) Source reduction, (2)
tles, for example, are being transformed into multi-                   metals and may produce toxic leachate in landfills.                            attack on the plastic by the action of bacteria.        Recycling and composting, (3) Incineration/Landfill.
layered pipes and non-food containers.                                 In California, incineration is opposed by many in                              Biodegradation is generally considered to be                 Plastics are frequently used in inexpensive, dispos-
     The barriers to recycling in California, which are                the public and environmental groups.                                           the assimilation or consumption of substances           able packaging and products, and packaging is the
covered in detail in Chapter 7, include problems in                                                                                                   by living organisms, but as applied to waste, it        fastest growing market for plastics. Therefore, there is
separating plastics into basic resin groups, government                  Advocates of incineration say that the public has                            refers to microorganisms such as bacteria and           significant potential for source reduction and reuse as
regulations that hamper recycling, the high cost of                 misconceptions and is not well informed about the lat-                            fungi.                                                  methods for managing plastic wastes.
recycling some types of plastics, the difficulty in col-            est developments in incineration technology. The                                                                                               Technically, incineration can play an important
lecting a steady supply of recyclable material, and an              industry claims that there are no dangerous emissions                         Unfortunately neither system is relevant to landfill        role in reducing the volume of plastic wastes, but it is
immature market for selling recycled plastics. Recy-                if the process is well designed and operated. The US                      decomposition. Biodegradation requires moisture and             less attractive economically and politically.
cling of plastics is discussed more fully in Chapter 5.             EPA and AB 939 include incineration in their hierar-                      burial. Photodegradation requires the presence of UV
     With incineration, the volume of solid waste is                chy of methods, and the US EPA found incineration to                      radiation.
reduced by burning it in the presence of oxygen. The                be the most effective method to reduce the volume of                          Even so, legislator in a number of states favor the
remaining residue or ash is usually sent to the landfill.           wastes.                                                                   production of degradable plastics. They have pro-
This process is controversial for three reasons.:                        The traditional method of disposal is landfill, and                  posed bans on nondegradable plastic products ranging
                                                                    it accounts for 80 percent of municipal solid waste. It                   from egg cartons, tampon applicators and diapers to
     1) Properly designed facilities with adequate air              is also the focus of serious controversies:                               plastic grocery bag , liquor bottles and beverage rings
     pollution control devices are expensive.                                                                                                 that keep ix-packs together. They also would require
                                                                       •    Maintenance and operation costs are                               feasibility studies assuring that plastic products which
     2) Air emissions from inadequate incinerators                          constantly rising.                                                represent a threat to fish and wildlife be degradable or
     have contained dioxin and furan, which are con-                                                                                          recyclable.
     sidered carcinogenic.


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                                                                             Source Reduction of Plastic Wastes

                                                   Introduction                                                    example, in the case where changing a color might
                                                       Reducing plastic waste generation really does               decrease plastic waste in production, a further analysis
                                                   attack the problem at the source. Unlike other meth-            might reveal that while color is trivial from a technical
                                                   ods that deal with waste after it has been generated,           point of view, it is important for safety reasons.
                                                   source reduction concentrates on prevention. It can                  Other criteria to be considered include the impact
                                                   be accomplished through changes in product design,              of reducing the volume of plastics on other materials
                                                   manufacture, and in product use. These changes                  and deciding whether source reduction is more impor-
                                                   should result in use of less natural resources and less         tant than recycling. In general, large source reduc-
                                                   toxic substances, increased product life, and increased         tions are preferable to low recycling rates. There is,
                                                   potential for reuse or repair. By reducing both volume          for instance, 85 percent less packaging material per
                                                   and toxicity, source reduction efforts directly reduce          pound of coffee in a brick pack made of aluminum
                                                   disposal problems.                                              foil/plastic laminate than there is in a conventional tin
                                                                                                                   coffee can. As a result, repackaging will result in less
                                                   Volume Source Reduction                                         plastic waste even though the recycling rate of the tin
                                                       The first step in effectively reducing the volume           can is greater than of the brick pack.
                                                   of waste produced at the source is to select the best                The volume of plastic wastes can be reduced in a
                                                   potential plastic product categories. The criteria              number of ways: substituting other materials for plas-
                                                   developed for such selection can be general or specific,        tics in manufacturing, reducing the plastic used for
                                                   but the rationales behind the selection should include:         given applications, using economies of scale in pack-
                                                                                                                   aging, and the reusing of plastic products by con-
                                                       • Share of the product market. Market share                 sumers.
                                                       has to do with the growth trends in a product
                                                       category. For instance, the packaging category              Substituting Materials
                                                       would be the best candidate for volume reduction                There is a general perception that substituting
                                                       because it shows a strong growth trend.                     other materials for plastic packaging is beneficial and
                                                                                                                   appropriate for a wide variety of products because in
                                                       • Predominance of Disposable Products. This                 the past much packaging did not use plastic. Deci-
                                                       refers to items with lifetimes of less than one year        sions to change packaging materials, however, should
                                                       that are frequently discarded into the solid waste          be made only after a careful analysis of the difference
                                                       stream.                                                     in costs, performance, energy consumed, and environ-
                                                                                                                   mental impacts, according to studies by the US EPA
                                                       • Consumer Preference Relative to Technical                 and several others.
                                                       Performance. This is the rationale used to deter-
                                                       mine whether a product can be redesigned to                 Redesigning Products
                                                       reduce its volume. Consumer preference products                 Manufacturers can reduce the amount of plastic
                                                       - unlike engineering products that are designed             consumed by redesigning the products. Some injec-
                                                       to meet performance standards - offer more flex-            tion molders say that a 20 percent to 30 percent
                                                       ibility for redesign to reduce volume.                      reduction in food container weights is feasible with
                                                                                                                   improved designs. Weights also affect handling costs,
                                                      After narrowing the field of product categories, a           especially transportation, in which lighter products
                                                   more comprehensive analysis of each is required. For            have cheaper shipping prices.


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    Industries have already made some progress.                      caµse tox1c1ty. Plastics account for about two percent                   Source Reduction Studies                                       files of the processes involved, as well as the solid
DuPont Canada, for example, has sharply reduced                      of all lead and 36 percent of all cadmium discarded.                          The US EPA has identified only four studies relat-        waste management.
wall thickness in some of its dairy food containers.                 Cadmium is added for orange or yellow coloring and                       ed to volume reduction of plastic materials. Two were
The typical 8-oz. margarine tub had 22-mil (thou-                    lead for flexibility. They have caused toxicity in the                   done in the U.S. and two in Germany. Although all              Methods to Promote Source Reduction
sandths of an inch) walls in 1985. By June, 1990, it                leachates from landfills and in the ash from incinerators.                four studies provide useful conclusions for direct sub-            Over the last -20 years, several methods have been
was 18 mils. A HDPE milk jug weighed 95 grams in                          Finding toxic-free substitutes for these additives                  stitution of other materials for plastic, none of them         attempted to promote source reduction, including edu-
the early 1970s. In 1990, a bottle of the same volume               requires a careful evaluation of performance of the                       presented a comprehensive analysis of all the variables        cational efforts, industry research and development,
weighed only 60 grams. Plastic grocery bags that were               substitutes in the final product. Basically, this selec-                  involved. For example, none of the studies evaluates           and government actions. The results have been mixed:
2.3 mils thick in 1976 have been reduced to 0.7 mils                tion is determined by manufacturer's ranking of the                       consumer-related issues (safety and utility). A variety
with the same strength and durability.                              importance of certain attributes, such as chemical                        of organizations including US EPA, the Conservation            Educational Efforts
                                                                    compatibility, hue, light and heat fastness, intensity,                   Foundation, the Tellus Institute and Battelle are work-             Changes in product and packaging design mean
 Reusing Products                                                   flexibility, and electrical insulation. One manufactur-                   ing to resolve these drawbacks. US EPA, for example,           nothing if consumers ignore them. The purpose of
      Reuse is a powerful tool for reducing the volume              er, for example, can produce colorants free of heavy                      granted a $850,000 research contract to Battelle for           public education programs is to show consumers the
 of plastic wastes. This method provides an economic                metals, but it can make the plastic unstable in light.                    developing a methodology in life-cycle analysis, which         possibility for individual action and make them feel
 as well as an environmental incentive. With the                         Many colorants are not used as substitutes                           is the study of the environmental and economic                 that such action is important. In order to motivate
 increased use of plastics in the automobile industry,              because of their chemical incompatibility with poly-                      impacts of products from raw material to disposal.             consumers to change patterns of behavior, a series of
 an easy-to-disassemble philosophy can be applied to                mer solvents, resins, and end use products. For exam-                     The Board has followed the development of life-cycle           educational programs must be established.
 make auto parts more reusable. General Motor engi-                 ple, some pigments may not be used in PVC products                        analysis and is considering funding projects pending                Without such effort, consumer education pro-
 neers are already involved in the project of designing             because of their sensitivity to acid attack. Other                        the completion of the US EPA study.                            grams will meet with the mixed success experienced in
 plastic auto parts easy to remove and reuse. Even dis-             colorants do not perform well under the high tempera-                          A comprehensive source-reduction assessment               the past. In 1986, for example, the Pennsylvania
 posable diapers can be designed to be washed and                   tures used during the processing of plastics. A col-                      must consider the range of environmental releases pro-         Resource Council's Environmental Shopping Cam-
reused as many as 100 times.                                        orant-polymer combination that is suitable for indoor                     duced by the development, manufacturing, and trans-            paign used labels and lists of desirable products to
      Refillable containers also contribute to volume               applications may be ruled out for exterior applica-                       portation of raw materials. The study should also              inform consumers about source reduction. The coun-
source reduction. Although there has been a trend                   tions. Thus, the substitutes appropriate for replacing                    take into consideration air, water and solid waste pro-        cil found that general concepts seemed difficult for
away from refillable containers, some firms are using               pigments that contain lead and cadmium should be
refillables. The Schroeder Milk Company of St. Paul,                selected in accordance with the processing conditions
Minnesota, provides HDPE milk jugs that can be used                 and color requirements.
50 times. Once returned to the milk supplier, the con-                   Lead is used in heat stabilizers, flexible PVC, and                                                                       TABLE 4.1
tainer is sterilized, tested for contamination, and                 electric insulation. Some of the heat stabilizers con-                                Some Easy Ways for Consumers to Reduce the Flow of Plastic in the Waste Stream
refilled by methods approved by the FDA. Encore of                 taining lead have been replaced, such as those used in
Richmond, California, has been providing refillable                pipes and music records. Replacement of lead in flexi-                             ■    Use fabric or string-net sacks at the market, a method used successfully in Europe and many
wine bottles for 15 years.                                          ble PVC and electric insulation, however, depends on                                   other countries.
      But the use of refillables is not limited to bottles.        costs and reliability of the substitutes. For example,
In India, cigarette lighters and ballpoint pens are                                                                                                   ■    Re-using plastic sacks several times, for wrapping sandwiches, storing leftovers or freezing
                                                                   lead can be replaced in flexible PVC products such as
refilled. In Central America, automobile battery cases             shoes and sandals, but it is difficult to replace lead in                               vegetables.
are refilled with fresh lead and acid. Motor oil is sold           insulation products such as power wiring, cords and
in refillable glass bottles. In California, tofu is avail-                                                                                            ■    Buying food in bulk or joining food co-ops to avoid excess packaging.
                                                                   connectors because of the unique properties of lead as
able in refilled buckets. Across the nation, shampoo               insulator and heat stabilizer.
                                                                                                                                                      ■    Substituting alternative products for minimally convenient products. Replaceable blades, for
and other health care and food products are sold in                      Other plastic additives that are candidates for                                   example, can be used in place of disposal razor blades.
bulk, and customers are provided with refillable con-              study include phthalates used as plasticizers in PVC
tainers.                                                           and flame retardants composed of antimony oxide.                                   ■    suggesting plastic collections when schools propose paper collections. Also, seeking out
                                                                   The potential for reducing the use of these additives in                                recycling operations that accept plastics.
Toxic Source Reduction                                             plastics requires complex evaluation and intense inves-
     The primary reason for reducing the toxicity of               tigation.                                                                          ■    Suggesting recycled plastic items, such as speed bumps, picnic tables, decks, etc., when the
plastic wastes is to decrease the health risks posed by                  Despite all the difficulties, several companies are                               town is planning to build parking lots, parks, or recreation areas.
their incineration or disposal. While some resins                  introducing new toxic-free formulations. For exam-
themselves pose such risks, usually more risks come                ple, Em Industries Inc. of Hawthorne New York                                      ■    Buying household products in concentrated form and packaged in polyolefin pouches rather
from materials added to the resins.                                introduced in 1991 a new line of pigments '           '
                                                                                                                   that are                                than bottles.
    The two main toxic additives are cadmium and                   non-toxic. Akzo Engineering Plastics Inc. is marketing
lead, but some other additives, such phthalates, also              a non-halogenated colorant.


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consumers to comprehend and that promotion of indi-            materials. Legislation to establish such a variable-tax                  Conclusion and Recommendations                                  4. Academic curriculum of elementary and sec-
vidual items was more promising.                               system has been introduced in Massachusetts and New                                                                                      ondary schools should include source-reduction intro-
     Groups of consumers can have direct influence on          York. If passed, consumers would pay a three-cent                        Conclusion                                                      ductory courses. In higher education, courses in
the design of products and packages by manufactur-             tax on certain rigid and semi-rigid containers used for                       Education is one of the most important tools to            source reduction technology should be added to engi-
ers. One example would be a seal or certification per-         non-food products and fast food packaging. A pack-                       promote source reduction. With source reduction in              neering curriculum, and grants for research would
mitted by the state to indicate that a product or              aging tax board would be set up to determine credits                     mind, manufacturers, retailers, and customers are able          help in the development of new source reduction
package meets certain requirements for source reduc-           and exemptions for different containers based on                         to make environmentally sound decisions. Thus,                  methods.
tion. The groups could participate in the establish-           reusability, recyclability, and recycled content.                        while manufacturers design less toxic and more dur-
ment of the requirements and then educate their                    The rationale behind a variable tax is to make the                   able and reusable products, consumers are shown how
members to look for and demand the seal or certifica-          price of a product reflect the avoided environmental                     to modify their purchasing decisions.
tion at the time of purchasing.                                and economic costs of disposal. Critics of this tax                           Government actions play an important role in
                                                               argue that a difference in one cent to three cents is not                promoting source reduction. This is done by creating
Industry Research and Development                              enough to cause consumers to change their shopping                       incentives/disincentives toward the procurement of
    Industry research to find non-toxic substitutes for        habits, and therefore does not result in source reduc-                   certain products. Bans, taxes, and other sanctions are
additives and to cut the volume of products and pack-          tion. But others point out that this per-package tax                     sometimes proposed on overpacking and toxic materi-
aging while increasing durability should be promoted,          may provide a significant incentive for manufacturers                    als. Incentives such as grants and loans can be provid-
developed and rewarded. Industry should be given               to use recyclable packaging or recycled material.                        ed to companies involved in effective source reduction.
incentives to give higher priority to developing more               Another tax-like method to encourage source                              Substitution from plastics requires careful consid-
durable, reusable products and compact packaging.              reduction and recycling is an Advanced Disposal Fee                      eration of costs, performance, environmental impacts,
                                                               (ADF), which is levied at the point of sale to cover the                 and customer-related issues such as safety and utility.
Government Actions                                             cost of recycling or disposing of the material. The                      In the same way, substitution of additives to reduce
     Government actions can discourage the use of              Board's Planning and Assistance Division is analyzing                    toxicity should be carefully considered because the
nondurables and over-packaged products through                 different options for ADF on packaging materials.                        alternatives might be scarce, expensive, chemically
product bans, taxes, tax credits, loans, grant awards,              The Board may assign fees to packaging products                     incompatible, or of poor performance.
contracts, and education programs. Government pro-             with a credit system for operations that use recycled-
curement programs can favor more durable, longer               content materials, including plastics. The fees collect-                 Recommendations
lasting products. Procurement regulations could also           ed would be used to support the collection                               1. The California Integrated Waste Management
prohibit buying a disposable item to replace a durable         infrastructure, for grants to businesses to retool or re-                Board will develop and maintain an information clear-
item. Government can also mandate standards for                equip for recycling, and to industry to buy products.                    inghouse on source reduction issues. The clearing-
durability and repairability of consumer goods.                     Deposits on PET beverage containers have been                       house will collect and disseminate information on
     Regulatory measures that encourage or directly            the most successful strategy in increasing plastics recy-                existing programs, existing and current research, and
force substitution for plastics have been more widely          cling and promoting source reduction. To the extent                      other information that will assist the commercial sec-
employed in Europe. Italy has banned the use of non-           that deposits encourage people to return containers for                  tor and local governments in pursuing source reduc-
biodegradable packaging. Denmark, Netherlands, and             reuse, they are an incentive for source reduction. The                   tion efforts.
West Germany all have fairly broad authority to                deposits, however, can actually act as a disincentive by
restrict packaging methods.                                    discouraging manufacturers from introducing better                       2. Heavy metals in packaging should be reduced
     Taxes have also been imposed to achieve source            source-reducing packaging.                                               and eventually phased out. A study is needed to
reduction goals. The taxes range from volume-based                  Scale deposit systems that place a lower deposit                    determine a reasonable time frame for the reduction
user fees for disposal to product-specific taxes.              on refillable or recyclable containers are one way that                  and to suggest methods to facilitate research in devel-
     Some taxes, however, are erroneously classified           bottle bills promote source reduction. While most                        oping alternatives to heavy metal additives.
as source reduction measures because they do not               deposit systems do not single out plastic containers,
directly encourage consumers or industries to reduce           scaled deposit laws that place a higher deposit on larg-                  3. Because source reduction is a relatively new and
the amount of waste they generate. These taxes                 er containers can have a direct impact on the use of                      still developing field, the grants programs would help
include per ton surcharges on waste disposal and taxes         plastic if they encourage consumers to buy one- and                       local governments and non-profit organizations devel-
on frequently littered products. While these taxes are         two-liter PET bottles.                                                    op source reduction programs and activities.
not direct source reduction measures, they do generate
revenue that can be used for recycling or source reduc-
tion programs and research.
     One taxing mechanism that has received increas-
ing attention recently is a graded tax on all packaging



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                                                                                                                            FIVE

                                                                                                 Plastics Recycling

                                                     Introduction                                                       side programs collect PET, and that a growing number
                                                          Until recently, plastics in the municipal waste              are collecting HDPE and other plastics. Of the 280
                                                     stream have received little attention; they have simply            California curbside collection programs surveyed in
                                                     been buried or burned. But the rising costs of landfill-           1991 by the Division of Recycling, 269 accepted PET,
                                                     ing, concerns about the health implications of inciner-            122 accepted HDPE, and 69 accepted other types of
                                                     ation, and public's increasing concern with the                   plastic. (See Appendix 2).
                                                     environment have prompted many states to seriously                      Curbside collection of plastics and other recycl-
                                                     consider recycling.                                               ables generally involves the use of a specially designed
                                                           Recycling is defined by the Board as the process            truck that picks up recyclables separated by the con-
                                                     of collecting, sorting, cleansing, treating, and reconsti-        sumer. Trucks are often compartmentalized for sepa-
                                                     tuting materials that would otherwise become solid                rating recyclables to facilitate the sorting processes at
                                                     waste and returning them to the economic mainstream               the Materials Recovery Facilities (MRFs). Most
                                                     in the form of raw material for new, reused or recon-             MRFs also separate mixed waste. Some vehicles are
                                                     stituted products that meet the standards necessary to            equipped with compressors and grinders exclusively
                                                     be used in the marketplace.                                       used for plastics.
                                                          This chapter discusses the collection, separation                  Curbside programs are operated by local govern-
                                                     and reclamation of postconsumer plastic wastes.                   ments, private industry, and non-profit organizations.
                                                     Chapter 6 discusses the most important, but often                 They are an interesting recycling option because they
                                                     overlooked, portion of the recycling process - the                require involvement from participants without offer-
                                                     markets for recycled plastics.                                    ing any direct financial incentive. Citizens participate
                                                                                                                       because it is convenient or because they believe they
                                                     Curbside Collection of Plastics for                               are making a personal contribution to the solid waste
                                                     Recycling                                                         problem. Some programs are mandatory.
                                                          Efficient and effective collection of postconsumer                 Although curbside collection programs have the
                                                     plastic wastes is one of the the most important steps to          potential to divert the most significant quantities of
                                                     ensure the success of a recycling program.                        municipal solid waste (MSW) from disposal, there are
                                                          Curbside programs have become an extremely                   drawbacks. They are difficult to implement in multi-
                                                     popular way to collect recyclables, and a growing                 family dwellings, they increase net costs to municipali-
                                                     number of communities are relying on these programs               ties, and it is inconvenient to segregate plastics from
                                                     to meet mandated diversion goals required in many                 other wastes.
                                                     states. There are already more than 2,710 curbside                     Analysis and comparison of existing programs are
                                                     collection programs in operation nationally, of which             difficult because there are many variables that can
                                                     800 are collecting plastics. The majority of curbside             affect the performance of the program. However, the
                                                     programs that collect plastics are in four states: New            recovery rate in pounds per household per year
                                                     Jersey, Wisconsin, Pennsylvania, and California.                  (lbs/hh/yr) is the preferred variable for measuring a
                                                          As shown in TABLE 5, the number of curbside                  program's success.
                                                     collection programs in California that accept plastics                 Attempting to use the rate of participation to
                                                     has increased dramatically in the past few years. A               measure a program's success in collecting plastics is
                                                     review of a database of curbside collection maintained            deceptive. For example, San Francisco's curbside pro-
                                                     by the Department of Conservation's Division of                   gram services 70,000 households, while Phoenix's
                                                     Recycling indicates that almost all of the state's curb-          program services only 11,000 households. However,


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                                                                                Case 1:25-cv-00011-MJT              Document 1-11 Filed 01/06/25      Page 20 of 50 PageID #:
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                                                    TABLE 5.1                                                                             Program Type                                                        Portland for processing, and the plastics are sold to
                           Curbside Collection Programs in California, 1989-1991                                                               Mandatory programs apparently perform better                   Partek.
                                                                                                                                          than voluntary programs. The RIS survey of 18
                                                             9/1989              12/1990            8/1991                                national curbside collection programs (three mandato-               Frequency Type
                                                                                                                                          ry) revealed that mandatory programs collect 70 more                     Important studies, such as the Massachusetts-
                                                                                                                                          pounds of all materials per household per year than                 Rhode Island study of 41 programs around the world,
       Total number of programs                                   130              235                280                                                                                                     have shown that increasing collection frequency usual-
                                                                                                                                          voluntary programs. However, there are exceptions,
       Programs accepting PET                                      82              176                269                                 even in this relatively small RIS study. The voluntary              ly results in higher participation rates and higher
       Programs accepting HOPE                                      1               56                122                                 San Francisco Program recovers the same amount of                   recovery rates. However, the sample data made it
       Programs accepting mixed plastics                            0               41                 69                                 total recyclable materials (332 lbs/hh/yr) as the                   difficult to derive a direct relationship between the fre-
                                                                                                                                          mandatory West Warmick, Rhode Island, program.                      quency of collection and rate of recovery.
                                                                                                                                          These two programs are very similar except for the
       Source: California Department of Conservation, Division of Recycling.                                                              number of households serviced. While San Francisco                  Promotion and Education
                                                                                                                                          services 70,000, West Warmick only services 8,900                        It is universally accepted that both effective pro-
                                                                                                                                          households.                                                         motion and public education are essential to success-
the plastics collection program in Phoenix can be con-                  • commingled collection of loose container                                                                                            fully develop recycling programs. The effects of
sidered more successful because its recovery rate (33.5                   materials                                                       Container Type                                                      increasing promotion and information about plastics
lbs/hh/yr) is greater than the recovery rate in San Fran-                                                                                      In any curbside collection program, it is important            wastes are best demonstrated in Japan.
cisco (1.3 lbs/hh/yr).                                                  • use of large-capacity, specially designed trucks                that the size of the household container be adequate.                    One of the main purposes of the Japanese pro-
      Other primary factors affecting the performance of                                                                                  In some cases, convenience and customer's preference                grams is to eliminate misunderstandings about plastic
curbside collection programs include the frequency of                   • one-person collection crews                                     are also to be considered. A program in Arlington                   wastes among the general public. In order to achieve
 collection, the kind of truck, the type of material col-                                                                                 Heights, Illinois, used an 18-gallon rectangular bin,               this goal, many pamphlets, guidebooks and other reg-
 lected, and the type of collection container. Many cities              • use of bags as a set-out container for mixed                    and had one of the highest plastic recovery rates (23.5             ular publications are distributed to the public. They
 in California report problems in the size, convenience,                  recyclables                                                     lb/hh/yr) of all the programs surveyed by RIS. In con-              also lend films free of charge. The programs strive to
 and price of the container, as well as scavenging.                                                                                       trast, the Palo Alto program in California reports the              inform the public so that citizens understand the
      To assist in the analysis and comparison of curb-                 • use of single container, as opposed to multiple                 lowest plastic recovery rate (0.5 lb/hh/yr) of the study,           issues and know how they can help participate. As
 side collection programs, Resource Integrated Systems,                   containers                                                      using burlap bags. Buckets and bags are associated                  part of the program, cities in Japan exhibit samples of
 Ltd. (RIS), prepared a study for the RIS's Council for                                                                                   with garbage. A rectangular bin is associated with                  reclaimed plastic products to support the use of recy-
 Solid Waste Solutions in 1990 to identify criteria like-               • use of a box-shaped container rather than a                     recycling. In general, a rectangular bin is the preferred           cled plastic and to emphasize the importance of recov-
 ly to maximize the recovery of postconsumer plastics.                    round container                                                  option.                                                            ering plastic wastes.
 Factors identified in the study included:                                                                                                                                                                          In the United States, the Mecklemburg County
                                                                        • use of larger set-out container                                 Material Type                                                        program in North Carolina (8.8 lb/hh/yr recovery
     • multi-material curbside collection                                                                                                       PET has been the target for many curbside collec-              rate) is a good example of a well promoted plastics •
                                                                        Combining these and other variables in the analy-                 tion programs in the United States. This material is                 recycling program. The county has received a lot of
     • mandatory separation requirements                           sis and comparison of programs within California,                      highly consumed, and the easiest plastic to identify                 support from private organizations. Pepsi, for exam-
                                                                   with other states and other countries is extremely diffi-              and to reprocess.                                                    ple, donated money for promotion, and Coca-Cola
     • use of household set-out containers                         cult and laborious. Computer data based programs                             In France, almost all of the plastic recycling activi-         donated a granulator. The National Association for
                                                                   are not flexible and sensitive enough to properly eval-                ty is concentrated in PVC. Nearly all plastic beverage               Plastic Container Recovery (NAPCOR) also helped
    • collecting a wide variety of plastics                        uate the wide range of collection options available.                   bottles in France are made of this resin because they                the county to get quotes from plastic buyers. In the
                                                                  Adding to the difficulties is the lack of uniform infor-                are big consumers of non-carbonated water. In the                    Mecklemburg program, recyclable material is taken to
    • weekly collections                                          mation or even standard terms within the plastics                       recovery from the household stream, glass and PVC                    a Materials Recovery Facility operated by Fairfield
                                                                  industry.                                                               bottles are collected in the same container, but the                 County Redemption in Charlotte, which is designed to
    • effective promotion and education                                 As a result, this report analyzes and compares                    people are asked not to put PET bottles in these                     receive and separate commingled materials. At Fair-
                                                                  programs based on the seven primary factors affecting                                                                                        field, the PET is baled separately and then sold to
                                                                                                                                           banks.
     Other factors identified by the study that increas-          program performance in terms of recovery levels.                              Collecting the widest possible range of plastics               Wellman.
ed the efficiency and cost-effectiveness of collecting                                                                                     helps to maximize the recovery of postconsumer plas-                      The Napeville Area Recycling Center (NARC) is
                                                                  Most of the figures are taken from the 1990 RIS
plastics in curbside programs included:                           study.                                                                   tics. For example, the curbside collection program in                another good example of promoting a program. In
                                                                                                                                           Portland, Oregon, collects HDPE, LDPE, PET, and                     January, 1987, NARC joined with four local recycling
    • collection of recyclables on the same day as                                                                                         other rigid plastics. The recovery rate is 8.6 lb/hh/yr.             centers and Eaglebrook Plastics to begin the collection
      refuse collection                                                                                                                    After collection, the materials are taken to Wastech in              of HDPE. To promote this program, NARC encour-



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aged people to recycle by advertising in newspapers,             alone, Ralph's, collects 22 tons per month, according                     are two models: the Arizona model, which is a system                    In Sweden, various types of reverse vending
direct mail, and signs in the milk departments of all            to DPW.                                                                   of multi-material buy-back centers owned and operat-               machines have been tested. In the trial, return yields
grocery stores. A rand~m survey of recyclers was also                  In Canada, private companies are also participat-                   ed by a statewide organization; and the Kentucky                   of 60 to 70 percent were achieved with a 0.5 SKr
conducted to determine if residents would be willing             ing in the collection and development of plastics recy-                   version, which is a promotional system for privately               deposit (9 cents U.S.), but that country is considering
to recycle plastics. NARC is enthusiastic about the              cling technologies. PCL & Eastern Packaging of Saint                      owned and operated buy-back centers and other recy-                increasing the deposit to 1.5 SKr (26 cents U.S.) to
success of the HDPE recycling program and is assess-             John in New Brunswick had boxes in 34 7 stores to                         cling operations. Many BIRP centers have been devel-               obtain higher yields.
ing whether to add PET containers to the program.                collect grocery bags in 1990. After baling, the compa-                    oped to interest children in recycling. Attractive names                In the United States, reverse vending machines are
                                                                 ny pays $0.20 per pound for the material. Other large                     are given to the machines; the plastic bottle shredder,            used to collect PET beverage containers both in states
Centralized Facilities for Collecting                            manufacturers of plastic bags, such as Sonow Prod-                        for example, is called "Chewbot-L".                                with and without deposit programs. A number of
Plastic Wastes                                                   ucts, Mobil Chemical, and Vanguard Plastics are                                 Private companies, such as Geo Resources and                 local governments in California allow private compa-
     These are centrally located collection depots that          involved in pilot programs to recover plastic bags                        Poly Pack America Inc. in Los Angeles, are also active-            nies to operate these machines within their communi-
do not pay for recyclable materials. These drop-off              from the waste stream.                                                    ly participating in buy-back programs. Geo collects                ties, although most of these communities do not rely
centers are used alone or in conjunction with a curb-                  A growing number of centers are beginning to                        and reprocesses discarded plastic envelops from gro-               solely upon this collection method. While reverse
side collection program. In general, they appear to be           collect polystyrene. For example, the National Poly-                      cery stores, drug stores, home improvement chains                  vending machines are effective at collecting a homoge-
more effective in rural areas, where curbside collection         styrene Recycling Company (NPRC) is accepting poly-                       and department stores. Poly Pak then uses the recy-                neous supply of materials at little or no cost to
programs are limited or do not exist.                            styrene food service waste collected from school                          cled resin to make plastic bags, plastic mailing                   governments, they capture only a small percentage
     The factors affecting the performance of drop-off           districts and other large institutional settings. The San                 envelopes, and multi-layer plastic film bags for the                of recyclable plastic bottles. Additionally, some
collection programs correspond closely to those con-             Diego-based franchise of Mail Boxes Etc. (MBE) just                       lawn and garden industry. The customers receive                     machines break down regularly and frustrate con-
sidered in the curbside collection programs. Some of             announced that it is accepting PS "peanuts" at all of                     credit or payment from Poly Pak for envelopes                       sumers who may already have gone to the some trou-
these factors are the population served, number of·              its stores. MBE reports savings of up to $26,000 by                       returned for recycling.                                             ble to collect, store, and transport bottles to the
customers, hours of service, number of sites, type of            reusing peanuts brought in by consumers. This pro-                              The California AB 2020 program is one example                 machine.
processing, contamination level, and marketing loca-             gram is part of a nationwide initiative to recycle PS                      of a buy-back collection program. The program con-
tions.                                                            packaging. The program is implemented by MBE and                          sists of 2,400 sites established to collect soft drink            Preparing Plastic Wastes for Recycling
     Some communities offer centralized drop-off facil-           the Plastic Loose-Fill Producer's Council. The Plastic                    containers under California's Redemption Law. The                      After plastic wastes have been collected, either at
ities for recyclables in shopping centers and other con-          Loose-Fill Producer's Council is a consortium of five                     1990 RIS study estimates the program to cost $524                 curbside or a central location, the recyclable plastics
venient locations. In Holland, supermarkets are                   PS producers, which include Free-Flow Packaging                           per ton of material recovered and $7.23 per capita                need to be separated from other recyclable materials.
taking an active role in source segregation of both               Corporation of Redwood City, California.                                  annually, not including the life-cycle costs of recycling.        Then, the recycling program or plastic reprocessor
paper and plastic. The supermarkets are using their                     Other pack-and-ship operations that are part of                          Buy-back programs offer the possibility of collect-          separates the different types of recyclable plastics to
purchasing power to require their suppliers to include            the collection process are Associated Mail and Parcel                     ing relatively pure resins with little cost to government         maximize the markets for the material. Most postcon-
only packaging materials suitable for recycling. They             Centers, Pak-Mail and the Packaging Store.                                agencies. However, the inconvenience for consumers,               sumer plastic wastes collected in both California and
are also discouraging glued paper labels, which com-                   There are more than 482 collection sites in Cali-                    who must store and transport recyclables, dilutes the             throughout the United States are separated manually,
plicate reprocessing, and are starting to require the use         fornia. The Association of Foam Packaging Recyclers                       effectiveness of this alternative.                                creating a significant cost that hampers the cost-effec-
of the same polymer in the pallet wrapping. Some                  is now recovering more than 15 million pounds of                                                                                            tiveness of postconsumer plastics recycling.
governments in Europe have required supermarkets to               polystyrene foam nationally, according to Dow Chem-                       Reverse Vending Machines                                               Until recently the preparation of plastics for recy-
take back any container sold. While not all containers            ical Company.                                                                 Reverse vending machines are automated buy-                   cling was relatively simple because most collection
are returned, the regulations provide an incentive to                  The City of Palo Alto has one of the most success-                   back centers. These machines allow consumers to                   programs only accepted PET beverage containers.
sell recyclable containers.                                       ful programs for collecting PS foam and protective                        insert empty PET soft drink bottles, then it verifies the         These bottles could be easily identified by their dis-
     Usually, drop-off centers collect a V?riety of recy-        packaging. The products are received at four drop-off                      shape and size of the bottle, and dispenses cash, a               tinctive shape and product type by both the public and
clables deposited by type into separate receptacles.             sites in the city. The collection of this material saved                   discount coupon or token that can be redeemed at                  recycling center operators. Because centralized collec-
      Germany has also been very active in developing            the city some $7,000 in avoided disposal costs.                            the adjacent grocery store. Some reverse vending                  tion facilities were the primary collectors of PET, the
different collection schemes. In one area of 400,000                   Other cities with polystyrene drop-off centers                       machines include compactors or granulators to imme-               facility's operators or the public simultaneously sepa-
inhabitants, a multi-bin separation system has been              include Santa Monica, Burbank and Santa Cruz.                              diately reduce the volume of the PET bottles.                     rated and sorted the beverage containers by putting
established, in which customers place all the col-                                                                                               Supermarkets in Ferrara, Italy, are experimenting            them into a collection bin designated for PET beverage
lectibles, except PS.                                            Buy-Back Collection Centers                                                with reverse vending machines to recover both PVC                 containers. Some centers also separated green colored
      In San Diego, plastic bag drop-off depots at super-             Buy-back collection centers are depots where peo-                     and PET. The machine dispenses receipts usable for                PET bottles because of the higher market price for
markets are growing. In San Diego County, 163                    ple are paid for recyclable materials. Beverage Indus-                     discounts in the stores and uses sophisticated presses            clear bottles. When sufficient material was collected,
stores are participating, according to a recent survey           try Recycling Programs (BIRP) are an example of this                       to reduce the size of the collected material. There are            the center operators would reduce the density of the
conducted by the San Diego Department of Public                  collection method.                                                         no technical or quality problems in the recycling of               bottles by baling them so that the material could be
Works (DPW). The list of stores includes Ralph's,                     BIRP centers, operating in 17 states, are spon-                       PET. Also the recycling of laminated milk containers               cost effectively shipped to domestic or overseas
Thrifty's, Lucky's, and Von's chains. One store chain            sored, at least in part, by the beverage industry. There                   is very successful.                                                reprocessors.



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     In recent years, the proliferation of curbside col-          small number of PVC bottles accidentally sorted with                      sense the color, shape, or opacity of the bottle. Rut-        grey and is only suitable in injection-molded products
lection programs and the growing political pressure to            PET bottles, however, can ruin the marketa_bility of                      gers University has investigated using the bar codes          (not for plastic bags). Close monitoring and running
recycle other plastics have increased the complexity of           the material to reprocessors.                                             used by grocery store scanners as a method of detect-         materials in batched lots is recommended for the high-
preparing plastics for recycling. For example, many                     In an effort to assist collection programs in sort-                 ing the resin type of different bottles. This approach        est quality recycled resin.
curbside collection programs collect commingled recy-             ing plastic bottles, a number of states including Cali-                   was hampered by a significant number of bottles with
clable containers in a single collection container and            fornia require bottle manufacturers to imprint a resin                    missing bar codes and the difficulty in maintaining an        PET Reclamation
separate the different material types at a central facili-        identification code developed by the Society of the                       accurate database of the resins used for each product.            Most commercial recycling technologies for PET
ty, such as a materials recovery facility (MRF). Cur-             Plastics Industry on plastic bottles. Most collection                     A system recently proposed by Eastman Chemical                are based on methods developed by corporations such
rently many MRFs rely completely on manual                        programs report that the sorting of plastic bottles is                    Company (Kingsport, Tennessee) would involve the              as Goodyear or DuPont. Processes may differ in some
separation of different materials using a tipping floor,          done faster by identifying the product type of the bot-                   use of optics to read a molecular marker that would           aspects, but the general tendency is to recover the
table, or conveyor belt. The speed and efficiency of              tle than locating the small codes. Presently these                        indicate the resin used in the plastic container. This        entire container in order to make the separation by
this type of separation are dependent upon how the                codes are primarily used by collection programs to                        system would involve considerable cooperation among           color easier. Colorless PET is more saleable than green
system is operated. For example, a survey of manual               assist the public in identifying what bottles are accept-                 resin producers and bottle manufacturers, and is              or mixed colors. Here is the process, in general:
plastic sorting rates at MRFs conducted by the Coun-              ed by program.                                                             unlikely to be adopted in the near future.
cil for Solid Waste Solutions showed rates ranging                      While sorting plastic bottles is difficult and expen-                                                                                    • Granulation to a uniform particle size.
from 73 to 554 pounds per worker per hour. Factors                sive, separating other plastic wastes, such as plastic                     Reclamation Technologies for Plastic
                                                                                                                                                                                                                 ■     Air classification of the dry components.
that affect separation rates include how many materi-             films, foam padding, and small appliances, is beyond                       Waste
als are included in the program, how many materials               the ability of most collection programs. Presently                             After plastic recyclables have been sorted by resin
                                                                                                                                             type, reprocessors clean, process and melt them. The                ■     Water/solvent rinse to remove adhesives and
each worker is separating, and whether the workers                most collection programs only collect easily recogniz-
are removing non-recyclables (negative sort) or recy-             able bottles such as PET beverage containers and milk                      reclaimed product, in either flake or pelletized form,                    label fibers.
clables (positive sort) from the separation area or line.         and water HDPE jugs. According to a 1991 survey of                         then becomes the feedstock in the manufacture of new
                                                                                                                                                                                                                 ■     HDPE separation in a flotation chamber.
     Although manual separation is used by many col-              California plastic collection programs contracted by                       products.
lection facilities, a growing number of MRFs are using            the Board, only a limited number of communities col-                            Some plastic resins are not yet sufficiently valu-                   (HDPE floats, while PET and aluminum sink)
automated techniques to separate plastics from other               lect other types of plastic bottles as part of their curb-                able in recycled form to make generic recovery
                                                                                                                                             economical. These low-value recycled resins are                     ■     Complete drying of PET and aluminum.
recyclable material. These include magnets to separate            side collection program, while only a handful of
out metals, vibrating screens to separate different size          curbside programs - in cities such as Gilroy and                           recovered in mixed (commingled) form, and an
                                                                                                                                             increasing number of products is now manufactured                   ■     Separation of aluminum from PET using a
containers (e.g. aluminum cans vs. PET bottles), and               Burbank - accept other types of plastics, such as
air classifiers that blow lightweight materials, such as           polystyrene and plastic films.                                             from commingled plastics.                                                high voltage electrode. (FIGURE 5 .2 illustrates
plastic and aluminum, from heavier materials. Some                      A number of new technologies are being devel-                                                                                                  the processing flow).
facilities also use eddy-current separators, which apply           oped and commercialized to automate the sorting of                        Polyolefin Reclamation
an alternating magnetic field to aluminum cans and is              plastics bottles. Most of these technologies involve                           This technology is used in recovering resins from               Companies reprocessing PET include Enpivco,
used to separate them from non-metallic plastics.                  aligning single bottles on a high-speed conveyor past a                   HDPE (milk jugs), LDPE (bread, dry cleaning, and                 Nycon, Procedyne, Puretech, St. Jude Polymer, and
Despite considerable initial costs, automated separa-              scanning device and ejector which detects some identi-                    shopping bags), LLDPE (bacon and wiener wraps),                  Wellman. They produce more than 125 million tons
tion equipment generally reduces the costs of separat-             fying mark or inherent property of the bottle or resin.                   and PP (bottle caps and snack wraps). Polyolefins                of processed PET annually. Wellman is the leader,
ing plastics from other materials if plastic volumes in           The most developed technologies to date have                               include both rigid and film forms. The separation of             producing more than 100 million tons per year.
excess of several hundred pounds per hour are being                involved the separation of PVC bottles from other                         these two forms in the reclamation process is impor-
handled.                                                           types of bottles. Two companies are selling systems                       tant for assuring a more marketable recycled pellet.             Commingled Plastics Reclamation
      While manual separation of recyclable materials                                                                                             In general, the basic process is to unbale and shred            The process of recycling more than one type of
                                                                   that detect and sort whole PVC bottles from other
lis relatively straightforward, the manual sorting of                                                                                        the material, then prewash, granulate, sort, wash, dry,          plastic in the same unit is called commingling, and
                                                                   types of bottles. Both the ASOMA Instruments Inc.
different types of plastics is more difficult. Although            (Austin, Texas) and National Recovery Technologies                        and regranulate. Typical infeed mixtures in Western              consists of these major steps:
some reprocessors are able to buy bales of mixed plas-             (Nashville, Tennessee) systems use X-ray fluorescence                     Europe contain 65 percent polyolefins, 15 percent PS,
tic bottles, many collection programs need to perform                                                                                         10 percent PVC, and 5 percent other plastics. FIG-                     1. Coarse sorting of ferrous and nonferrous
                                                                   to detect the chlorine atoms found only in PVC resin.
at least some sorting of their plastic waste by resin              Magnetic Separation Systems Inc. (Nashville, Ten-                         URE 5 .1 shows the PolySource reprocessing developed                       metals.
type and color to recover the costs of collecting plas-            nessee) recently began marketing a complete modular                        by AKW of Germany.
tics. Although plastic bottles such as PET beverage                                                                                               The performance and color of the recycled resin                    2. Granulation and pulverization.
                                                                  system that can sort PVC, green and clear PET,
containers and HDPE milk jugs may be readily identi-              polypropylene, and various colors of HDPE bottles at                        depends on the infeed materials. If only milk bottles
fiable on a manual sorting line, other types of plastic                                                                                                                                                              3. Refined separation of ferrous and nonferrous.
                                                                   a single line capacity of 1,250 pounds per hours or                        are used, the reclaimed resin is of such a good quality
bottles are more difficult to classify by resin type. For         multiple line capacity of up to 5,000 pounds per hour.                      that it can be blow molded into another clear bottle
example, clear PVC and PET bottles used in a number                                                                                           (which cannot be used for food). However, if a mix-                    4. Air classification.
                                                                        Other technologies being examined include sys-
of food products may look nearly identical. A very                tems that separate bottles using optical sensors that                       ture of HOPE materials is used, the resultant resin is


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FIGURE 5.1                                                                                   Feed Rates and Separation for PET Recycling Process                                          FIGURE 5.2


                                                                                                                                    Whole Container
                                                                                                                                          Consisting of:
                                                                                                                                 65 .0% PET;::: I 00% of the PET
                                                                                                                                   29 .3% PE;::: I 00% of the PE
                                                                                                                                4. 7% paper;::: I 00% of the paper




                                                                                                                                    Primary Shredding



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                             I...
                                                                                                                                         1st Stage Air               72% of the paper
                             en                                                                                                           Separation
                             ~                                                                                                                                       7% of the PE
             en             .c                                                                                                           air cross flow:             4% of the PET
             C              +-'
             -~ C -~                                                                                                                 0.33 m3/s standard air
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             cuen ·v;
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                                                                                                                                        2nd Stage Air                1 I % of the paper
                                                                                                                                         Separation                  0.7% of the PE
                                         e                                                                                                air cross flow:
                                                                                                                                      0.25 m3/s standard air
                                                                                                                                                                     0.6% of the PET




   Vl                                                                                                                                                                92 .3% of the PE
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                                                                                                                                   Sink-float Separation             17% of the paper
  -4,....1                                                    a-                                                                       in 2.4 m3 water tank          7% of the PET
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FIGURE 5.3

                                   I
                                                                    5. Blending and adjusting the mix to the appro-              cost per pound of raw material is only six cents per
                                                                       priate proportion.                                        pound.
                                                                                                                                      In a major improvement to existing technology,
                                                                    6. Addition of other substances (compounding),               Green Tree Plastics Inc. of Victorville is developing a
                                                                       heating and extruding.                                    new approach to the reclamation of commingled plas-
                                                                                                                                 tics. The process, which will be available by mid-
                                                                     7. Molding, by compression or extrusion.                    1992, uses chemical compatibilizers and is able to
                                                                                                                                 incorporate all types of postconsumer plastic wastes.
                                                                      The range of temperatures for compounding and                   The U.S. Army Corps of Engineers is proposing a
                                                                 molding is regulated in such a way that the plastics            three-year project in Los Angeles for developing con-
                                                                 requiring lower temperatures, such as polyolefines and          struction materials from commingled postconsumer
                                                                 vinyls, flow and act as binders, while those requiring          and industrial waste plastics. This ambitious plan is
                                                                 higher temperatures, such as polyesters and ther-               the continuation of a test that began about five years
                                                                 mosets, act as fillers. Commingled plastics processing          ago using prototypes, pilings and piers supplied by
                                                                 systems, such as Recycloplast, Advanced Recycling               Plastic Pilings Inc. of Rancho Cucamonga, California.
                                                                 Technology, and Sudplast involve the manufacture of             Los Angeles officials believe the project is the largest
                                                                 plastics with minimal cleaning or sorting.                      test of plastic lumber in a marine environment.
                                                                      The Recycloplast technology was developed in                    Major objectives of the project include: 1) analyz-
                                                                 Germany, where three industrial scrap plants using the          ing structural parameters, 2) evaluating the environ-
                                                                 technique are operating. The process uses feedstock             mental and health risks associated with recycled
                                                                 that is a contaminated mixed plastic collected in the           plastic, and 3) developing detailed material specifica-
                                                                 curbside program. The mix can include 50 to 70 per-             tions. The program is a joint industry-government
                                                                 cent thermoplastics and 30 to 50 percent contami-               effort.
                                                                 nants and fillers. The typical melt range (for 65
                                                                 percent polypropylene and polyethylene) is 180 to 200           Reclamation of Other Resins
                                                                 degrees Fahrenheit. But, the range can also be adjust-               Although PET and HDPE are the most targeted
                                                                 ed to accommodate mixtures of 50 to 100 percent                 for recycling purposes, other resins such as poly-
                                                                 polyvinyl chloride and polyethylene. Coloring, fire             styrene, polyvinyl chloride, and acrylonitrile butadiene
                                                                 retardants, and other fillers are added to the system in        styrene (ABS) are also being recycled. PVC bottles, for
                                                                 order to meet end-product specifications. Finished              example, are being transformed into multi-layer pipes
                                                                 products manufactured from this process include pal-            and non-food containers.
                                                                 lets, grates, manhole covers, wall and flooring sheets,              PVC can be recycled cryogenically. In the process,
                                                                 planter tubs, sound-absorbing walls, signpost bases,            the bottles are shredded, then frozen with liquid nitro-
                                                                 composting boxes, and cable reels.                              gen and ground while they are frozen. The resulting
                                                                      Advanced Recycling Technologies (ART) manu-                fine powder then is blended with virgin resin to make
                                                                 factures the Extrusion Technology, or ET-1 machinery            bottles that can be used for household chemicals,
                                                                 that produces "Syntal." This product can be used as a           detergents, and cosmetics.
                                                                 substitute for wood, metal or concrete, but cannot be                Recovered polystyrene is being used as raw mater-
                                                                 molded into complex shapes. The material can be                 ial in the manufacturing of office equipment, video-
                                                                 treated like wood and is resistant to salt water, chemi-        tape casings, flower pots, toys, insulation, combs, and
                                                                 cals, and urine. It is used, among other things, for            garbage cans. Source separation is critical to obtain
                                                                 horse ranch and cattle fencing, playground, board-              clean recycled PS resins. In the reclamation process,
                                                                 walks, road markers, and reflecting posts.                      bales are broken, and the material is sorted, washed,
                                                                       ET-1 machinery can tolerate feedstocks with up to         dried, and extruded into pellets. (FIGURE 5.3 illus-
                                                                 40 percent contamination, but operates most efficient-          trates the steps used by the National Polystyrene Recy-


                                           \                     ly with formulations containing 50 to 60 percent poly-
                                                                 ethylene and propylene. One unit can produce 2.4
                                                                 million pounds per year, operating at 80 percent effi-
                                                                 ciency. Syntal can be produced for 25 cents per pound,
                                                                                                                                 cling Company to reclaim PS.)




                                                                 and be sold for more than 85 cent per pound. The


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Chemical Reclamation                                                 Using recycled plastics in food-contact containers                 bottles and film scrap to produce rigid foams and lam-           tetrahydrofuran (THF) was successfully separated
     Chemical recycling technologies are arousing               is a reality today. Coca-Cola and Pepsi bottles are                     inated foam insulation. In glycolysis, a mixture of              using fractional temperatures ranging from 77° F to
intense interest because of their potential to overcome         already using soft drink bottles made of chemically                     reclaimed PET resin, diethylene glycol and manganese             374° F.
several barriers faced by mechanical plastics recycling.        recycled PET. Both firms use polyethylene terephtha-                    is heated, and maleic acid added to the final product                 In a similar fashion, by May, 1992, McDonald's
The conventional reclamation technologies have many             late that has been chemically broken down into its                      to obtain the new polyester resin. This synthetic                of Munich will be testing a family of soluble polymers.
economic, technologic, and marketing limitations.               original components or depolymerized, and then                          method has been successfully tested on PET from bev-             Bowl, lids, coffee stirrers, and paper cups will be test-
Collection and processing costs are high, separation            repolymerized.                                                          erage bottles.                                                   ed. These items, along with the food residue, will be
methods are still underdeveloped, and the market for                 With 25 percent recycled content, the Coca-Cola                          The Polyester Division of Goodyear Tire & Rub-             placed in an alkaline solution. After the plastics are
recycled plastics is poor.                                      bottle is rapidly penetrating national and international                ber Company already is marketing Repete, a PET                   dissolved, the solution will be filtered to separate the
     Chemical reclamation opens the possibility to              markets. Bo~tlers in California, the Southeast, the                     resin made from virgin and postconsumer plastic that             food from the plastic. Once separated, the food can
recover plastic materials thought to be difficult or            Midwest and the Mid-Atlantic regions are interested                     has been de- and repolymerized. Repete resin is used             be composted, while the plastics can be recovered
impossible to recycle. The chemical approach can be             buyers. The company also plans to sell products in                      by Sewell Plastics Inc. to produce 135 million Pepsi             from the solution and reused in the manufacture of
useful in the recovery of medical disposables, wires,           recycled PET bottles to Europe and Japan. Hoechst                       bottles a year.                                                  other products.
and auto shredder residues. The introduction of these           Celanese Fibers and Film Group of Charlotte, North                            Food packagers are concerned with safety and                    Argonne Laboratories is also developing solvents
technologies may improve existing markets and open              Carolina, will supply Coca-Cola with resin for its                      with getting approval from the Food and Drug                     to separate plastics-rich residue from auto shredders
new and more competitive markets for recycled plastic           recycled bottles. The bottle will be a blend of virgin                  Administration (FDA) to use recycled containers.                 into the component polymers. After sorting and
products.                                                       resin with recycled resin. Further expansion will                        Coca-Cola and Pepsi have FDA approval to use the                removing thermosets, dissolution is conducted in ace-
     More than a dozen major companies worldwide                depend on availability of the recycled material and the                  PET resins reclaimed by Hoechst and Goodyear.                    tone, tetrahydrofuran (PVC and ABS) and xylene.
are working on developing 24 different chemical recla-          anticipated demand from any additional markets.                          Before Coca-Cola and Pepsi obtained permission, only                  The technologies of chemical reclamation have
mation processes. Of these processes, five are com-                  Three large corporations have led in developing                     one application had been approved: Dolco Packaging               yet to mature and the environmental impacts of
mercial, 14 are in the demonstration stage, and five            the chemical recycling of polyester resins: Eastman                      Corporation of Sherman Oaks, California, received                processes and products remain to be addressed.
are in the experimental stage.                                  Chemicals (a division of Eastman Kodak), Freeman                         FDA permission to use recycled polystyrene in egg car-                Chemical reclamation economics also must be
     Some chemical recycling processes, known as ter-           Chemical Corporation, and the Polyester Division of                      tons.                                                            viable. Just like the mechanical technology, chemical
tiary recycling, take the mixed polymer stream, add             Goodyear Tire and Rubber Co. So far, depolymeriza-                             Although the FDA seems to be supportive of                 recycling requires a large capital investment, the type
solvent, and put it through an oil-refining process as          tion research focuses on PET, which can be broken                        closed-loop recycling of PET bottles, many other areas           that only major resin suppliers can afford. The eco-
an alternative feedstock to crude oil. This takes the           down more easily than other packaging resins because                     of postconsumer plastic need to be examined. These               nomic feasibility of PET chemical recycling, for exam-
material back into more basic hydrocarbon con-                  PET contains few additives.                                              areas include the source of raw material, technology             ple, depends on several factors, such as the cost of
stituents that are transformed into gasoline, fuel oil,              Recycled PET has found another application for                      used in reprocessing, the content of the resin and puri-         obtaining and reprocessing the materials, the price of
lubricants, as well as chemical monomers for new                food-contact containers. Kraft General Foods will be                     ty of the resin used in the final product. Two other             virgin PET resin, the supply of materials, and the scale
polymer production.                                             using salad dressing bottles made of recycled PET.                       considerations are important in chemical recycling of            of the reprocessing effort.
     Although still in the testing phase, this avenue is        The company will use the resins reclaimed by the                         PET. First, the raw material should be perfectly
especially significant for California because:                  Hoechst group.                                                           cleaned. Using scrap plastic assures decontaminated
                                                                     Eastman Chemicals uses the methanolysis reaction                    materials and well identified resins. Second, colorless
    1. There is a significant oil refining industry in          to reprocess large amounts of reclaimed X-ray film                       resins are preferred over colored resins.
    the state.                                                  and Kodak film scrap. In the methanolysis, a catalyst                          Chemical reclamation not only means that recy-
                                                                and methanol are added to clean PET scrap. The mix-                      cled resins can be used in food packaging applications.
    2. The system can use a mixed polymer feedstock             ture is heated under pressure to force PET to depoly-                     It also opens the door to new technological and eco-
    without sorting.                                            merize into its original components, which are then                       nomically feasible processes for the separation and
                                                                purified by recrystalization and distillation. These                      characterization of polymers from the waste stream.
    3. The system can tolerate a reasonable degree              pure materials can be used as raw materials to pro-                       Tertiary recycling might provide a base for future
    of contamination.                                           duce new PET for use in a number of applications,                         recovery processes of new polymeric materials, such as
                                                                including new bottles. A fully acceptable food-contact                    those being used in automobiles.
    4. Tertiary recycling uses existing refinery process        packaging can be obtained when mixing bottle flakes                            A different technology has been designed by Rens-
    equipment and requires only a relatively low                with in-plant film and X-ray film. Eastman began                          selaer Polytechnic Institute of Troy, ew York, in
    capital cost pre-processing facility. Chemical divi-        producing the material by the end of 1991 at its poly-                    which commingled polymers are selectively dissolved
    sions of several major oil companies-including              ester recovery division in Kingsport, Tennessee. The                      in solvents, and the solid contaminants removed by
    Chevron, Mobil, Amoco, and Exxon - are                      company plans to produce about 50 million pounds                          filtration. Stabilizers and modifiers are added to the
    researching tertiary recycling.                             of recycled resin a year.                                                 dissolved polymers to improve the mechanical proper-
                                                                     Freeman Chemicals uses the glycolysis reaction to                    ties of the final product. An experimental mixture of
                                                                reprocess 25 million pounds of postconsumer PET                           PVC, PS, LDPE, PP, HDPE and PET dissolved in


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Conclusion and Recommendations                                   reclamation is not easy, however, and needs to be
                                                                 proven environmentally, technically, and economical-
Conclusion                                                       ly viable.                                                                                                       CH                            Six
      While curbside collection programs offer to divert
the most significant variety of plastic products and             Recommendations
facilitate documentation of plastic waste, reverse vend-         1. Grants should be considered for providing
ing machines have produced the highest rate of return            research and development of automated resin separa-                                                     Markets for Recycled Plastics
for plastic recyclables and allow collection of relative-        tion and chemical recycling technologies. This is
ly pure resins. Both programs, however, are inconve-             important to reduce the costs of conventional recy-
nient because consumers have to store and transport              cling and increase the marketability of the correspond-                Introduction                                                      material is commonly referred to as plastic scrap or
materials.                                                       ing recycled resins.                                                        Markets for recycled plastics can be divided into            industrial plastic waste.
     Comparing curbside collection programs and                                                                                         two types. The first market has existed for several                   Plastic scrap is typically recycled in one of two
determining success is difficult because of the lack of          2. A computer model is needed to assist local gov-                     decades and involves scrap generated by the manufac-              ways.
uniform and accurate data.                                       ernments in determining the best plastic collection                    turing of resin and plastic products. Plastic manufac-                Many resin manufacturers and some plastic
     Materials Recovery Facilities might offer a solu-           options.                                                               turers have reduced their disposal and raw material               processors are able to recycle plastic scrap directly
tion to make curbside recyclables acceptable to buyers                                                                                  costs by selling their scrap to plastic processors who            into their production processes without any reprocess-
and reprocessors and to establish and maintain mar-              3. The shipment of plastics is expensive because of                    reprocess the scrap into marketable raw materials                 ing. This industrial practice reduces both raw materi-
kets for recyclable materials. Although the number of            the bulky nature of many of the products and the                       (resin pellets or flakes). The second market for recy-            al and waste disposal costs, and represents the
MRFs is growing, few accept plastics on a full-scale             expense of the machinery necessary to compact it.                      cled plastics involves postconsumer plastic wastes,               simplest and most direct form of plastic recycling.
basis, with othe!s accepting plastics on a pilot scale.          Grants and loans to local governments and non-profit                   which originate in residential and commercial waste                   However, many industrial plastic wastes need to
     Chemical reclamation is becoming one of the                 organizations would help them purchase equipment to                    streams. This market has been constrained by exten-               be reprocessed before they can be reused. Plastic
most attractive recycling technologies for plastic               prepare recyclables for shipment, including heavy duty                 sive collection, separation, and processing costs that            reprocessing firms typically either pickup for free or
wastes. By using advanced chemical processes, many               balers and automated sorting equipment. The awards                     limit the abilities of reprocessors to successfully mar-          buy plastic scrap from plastic manufacturers, then
more plastics might be recovered, and more markets               should emphasize equipment that could be used for a                    ket recycled postconsumer resins.                                 reprocess the materials into resin pellets, and sell it
might be created for the recycled resins. Chemical               region and that would not duplicate other efforts.                          The small size, political sensitivity, and competi-          back to plastic manufacturers.
                                                                                                                                        tive nature of both the industrial scrap and postcon-                   Recycled industrial plastic waste represents the
                                                                                                                                        sumer plastic markets create an atmosphere where                  bulk of U.S. plastics recycling activity and markets.
                                                                                                                                        reliable information is limited and analysis is difficult.        One researcher estimated that in 1981 approximately
                                                                                                                                        Reprocessors are hesitant to reveal information about             eight percent of total resin production was recycled in
                                                                                                                                        their recycled resin sales because of the intense compe-          plant and more than 4.7 percent by reprocessors.
                                                                                                                                        tition between reprocessing firms. Analysis of both                     A more recent study estimated that as much as 10
                                                                                                                                        scrap and postconsumer plastics markets is also ham-              percent of all virgin thermoplastic resin production
                                                                                                                                        pered by limited production, consumption, and trade               was recycled.
                                                                                                                                        statistics, especially statistics broken down at the state             A survey of plastic recycling firms by R.W. Beck
                                                                                                                                        level.                                                            indicated that at least 1.3 billion pounds (650,000
                                                                                                                                             The following discussion provides a general                  tons) of industrial scrap plastic was recovered in 1990,
                                                                                                                                        overview of plastics recycling markets. After high-               a 30 percent increase from 1989.
                                                                                                                                        lighting the reasons for the comparative success of                    Industrial plastic waste is successfully being recy-
                                                                                                                                        markets for industrial scrap plastics, the bulk of the            cled because of the low collection and reprocessing
                                                                                                                                        chapter focuses upon the rapidly changing markets for             costs and because manufacturers avoid having to pay
                                                                                                                                        postconsumer plastics.                                            for disposal of the scrap. In fact, depending upon the
                                                                                                                                                                                                          value of the scrap to reprocessors, manufacturers
                                                                                                                                                                                                          sometimes generate revenue from the sale of their
                                                                                                                                        Markets for Industrial Scrap Plastics                             scrap.
                                                                                                                                             The plastics industry has supported recycling of                  Industrial plastic waste is an ideal feedstock for
                                                                                                                                        industry-generated plastic wastes for several decades.            plastic reprocessors because it typically consists of
                                                                                                                                        Both resin manufacturers and plastic processors rou-              large quantities of materials made from the same resin
                                                                                                                                        tinely reuse or sell plastic wastes such as floor cut-            and without contaminants, such as dirt, glue, and
                                                                                                                                        tings, off-specification materials and overruns to                food wastes. Because homogeneous and uncontami-
                                                                                                                                        plastic reprocessors. This type of recycled plastic               nated plastic scrap generally requires little separation


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and cleaning, reprocessors incur reduced processing             antifreeze might pose a health hazard if it was recycled                more likely to buy recycled industrial scrap because it                                   TABLE 6.2
costs. Additionally, industrial scrap can typically be          into another food container. Many manufacturers                         typically sold for less than postconsumer materials.                    U.S. Plastic Waste and Scrap Exports
collected in large quantities in a few locations, reduc-        who make products that do not come into contact                         These trends have tended to limit the attractiveness of                             (in thousands of tons)
ing the collection and transportation costs.                    with food also choose not to use postconsumer resins                    investment in postconsumer plastic reprocessing
     The lack of contamination in industrial scrap              because of their concerns that recycled resin contami-                  because of poor markets and the inability of entrepre-               SCRAP GRADE              1989           1990          1991
allows reprocessors to guarantee consistent high-quali-         nants could reduce product quality, aesthetics, or                      neurial firms to gain sufficient financing from the                                                                     Estimate (I)
ty recycled resin to the manufacturer. Reprocessors             damage manufacturing equipment.                                         financial community. Ultimately, the lack of demand                  Ethylene                   8.1           16.4          15.5
have traditionally floated the prices of their recycled              The second major factor limiting postconsumer                      by plastic product manufacturers limits construction
                                                                                                                                                                                                             Styrene                   10.5           10.8          11.3
resin between 10-40 percent less than the price of vir-         resin markets involves pricing. The markets for                         of a plastics recycling infrastructure, which in turn
                                                                industrial scrap have been sustained for many years                                                                                          Vinyl chloride             8.3           11.2          13.5
gin resins. Manufacturers are willing to buy the recy-                                                                                  creates few buyers for plastic wastes collected by recy-
cled resin to reduce their feedstock costs if it is             because reprocessors have generally been able to sell                   cling programs.                                                      Miscellaneous           118.8          152.2         162.3
relatively free of contaminants, which can reduce               their product at an attractive price to manufacturers
product quality or damage manufacturing equipment.              that covers their processing costs and provides some                     Exports of Postconsumer Plastic Wastes                              TOTAL EXPORTS           145.7          190.6         202.6
     Considering that there are more than 300 plastic           profit. However, the production of postconsumer                          and Scrap
reprocessors nationwide, there appears to be sufficient         recycled resins involves additional processing costs                           One result of the poor demand for recycled post-
incentives for both plastic reprocessors and manufac-           (sorting and washing) that can limit the ability of                      consumer materials by U.S. plastic product manufac-                 Source: U.S. Department of Commerce
turers to develop and support a market in scrap                 reprocessors to price the material attractively to                       turers has been the export of large quantities of plastic           ( 1) Estimated. Based on data for first nine months of 1991 .
plastics recycling without significant government               manufacturers. As shown in Table 6.1, recycled                           waste overseas. As shown in Table 6.2, more than
intervention. Additionally, rising waste disposal costs         resin processing costs can be up to 60 percent higher                    320 million pounds of plastic scrap and wastes were
and increasing demand for products with recycled                than industrial scrap costs. These additional costs                      exported from the United States in 1989. Although                Recent Developments in Postconsumer
content are likely to magnify these incentives and              result in resin prices that may be only marginally                       industrial scrap accounts for most exports of ethylene,          Plastics Markets
increase the attractiveness of the plastic scrap market         less than the price of virgin resins, especially when                    styrene, and vinyl chloride, the majority of U.S. plastic             During the past two to three years, domestic mar-
to both plastic reprocessors and manufacturers.                 virgin resin prices are depressed by overproduction                      scrap and waste exports are classified under the enor-           kets for postconsumer plastics have begun to change.
                                                                or price fluctuations in resin feedstocks, such as                       mous "miscellaneous" category. Although no further               Since 1988, strong interest in plastics recycling from
Markets for Postconsumer Plastics                               petroleum and natural gas.                                               statistical breakdown of this category is available,             both consumers and legislators has encouraged some
     Quality and cost concerns have significantly limit-             Historically, the price differential between post-                  several industry sources suggest that postconsumer               manufacturers of consumer goods to develop packag-
ed the markets for postconsumer plastic resin. Certain          consumer versus virgin resin has been considered by                      wastes probably account for a significant and growing            ing which incorporates recycled resin. Notable exam-
types of plastic products, such as those products that          most manufacturers to be an insufficient incentive                       proportion of this export category.                              ples include Procter & Gamble's use of recycled resin
come into contact with food, do not use postconsumer            compared to the perceived or actual drawbacks of                               The majority of plastic waste exports is destined          in laundry detergent bottles and recent efforts by
resins because of liability and/or regulatory concerns.         using postconsumer materials. Additionally, manufac-                     for the Far East, most going to Hong Kong. Postcon-              Coca-Cola and Pepsi to introduce plastic beverage
For instance, a milk jug used to hold old motor oil or          turers interested in using cheaper recycled resin were                   sumer plastic waste is typically sold to foreign markets         containers with recycled content. Several states,
                                                                                                                                         for less than ten cents per pound, and often less than           including Wisconsin, California, and Oregon, have or
                                                                                                                                         five cents per pound. However, the costs of overseas             are considering legislation requiring recycled content
                                                                                                                                         shipping can more than double the cost of the material           in various types of plastic products.
                                                      TABLE 6.1                                                                          to foreign markets. Despite this markup, importing                    All of these factors created significantly larger
                                   Typical Processing Costs for Recycled Plastics                                                        plastic wastes is attractive to foreign reprocessors and         markets for specific resin types, primarily PET and
                                                                                                                                          manufacturers who typically must pay significantly              HDPE. In 1989 and 1990 demand, prices, and pro-
       TYPES OF COSTS                                           INDUSTRIAL SCRAP          POSTCONSUMER                                    higher costs to import virgin resin.                            duction of postconsumer HDPE and PET increased
       Baling                                                       $.02 -.04                                                                  As much as 60 percent of U.S. plastic waste                nationally. Demand for recycled resins, however -
                                                                                             $.02-.04
                                                                                                                                          exports originate from West Coast ports, primarily              especially HDPE- dwindled because of a combina-
                                                                   (may not be
                                                                                                                                          Los Angeles, and are shipped to Pacific Rim countri"es.         tion of factors, including the Persian Gulf War, a
                                                                   necessary)                                                                                                                             reduced demand for plastic during the economic reces-
       Sorting                                                                                                                            Pacific Rim processors in countries such as Hong
                                                                  not necessary               $ .02-.03                                                                                                   sion, and overcapacity in the virgin polyethylene
                                                                                                                                          Kong and China are able to use inexpensive labor to
       Grinding                                                      $.03-.04                 $.03-.04                                                                                                    industry. During 1991, prices for virgin commodity
                                                                                                                                          hand-sort plastic wastes. Hong Kong's plastic pro-
       Cleaning/washing                                           not necessary               $.05-.15                                    cessing indu try consist of more than 5,700 firms and           plastics such as HDPE dropped significantly. As
       Pelletizing                                                   $.05-.07                 $ .05-.07                                   has consistently accounted for at least 50 percent of            shown in Figure 6.3, the price differential between
                                                                                                                                          the market for U.S. plastic waste exports. This materi-          virgin and recycled HDPE shrunk significantly. As
       TOTAL                                                         $.08-.15                 $.17-.33                                                                                                     the price of virgin materials declined, manufacturers
                                                                                                                                          al is typically used to manufacture internal parts of
                                                                                                                                          products such as toy , where slight variations in resin          abandoned plans to buy postconsumer resins, accord-
        Source: Plastics Recycling Compendium, Chrisiansen Associates, 1990.                                                                                                                               ing to many plastic reprocessors. In some cases, the
                                                                                                                                          quality or color are acceptable.


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                                                                                                                                           while prices for green recycled PET typically were           tion program (AB 2020). Nearly all of the state's
                                                   FIGURE 6.3
                                                                                                                                           about 20-25 percent less.                                    scrap PET bottles are purchased by representatives of
                               Average national prices for natural color HOPE
                                                                                                                                                The largest market for recycled PET has been for        the Plastics Recycling Corporation of California
$0.60                                                                                                                                      the production of polyester fibers used in fiberfill         (PRCC), which represents a consortium of PET bever-
                                                                                                                                           stuffing commonly found in jackets, furniture, pillows,      age container manufacturers. By purchasing all bot-
                                                                                                                                           and sleeping bags. Five two-liter PET bottles can fill a     tles collected for recycling at prices higher than the
$0.50                                                                                                                                      man's ski jacket, while 36 can stuff a standard sized        scrap value for PET, the beverage container manufac-
                                     ' ' ---------------------,                                                                            sleeping bag. Wellman Industries of Johnsonville,            turers are able to reduce the processing fees they are
                                                                                    \
                                                                  -----------------i---------\,                                            South Carolina, was one of the first markets to capi-         assessed by the state's bottle-redemption program on
$0.40
                                                                                               .
                                                                                        - - - - - -----'-------                            talize on the PET bottles collected under state bottle-       each bottle they manufacture. Until recently the pri-
                                                                                                                                                                                                         mary markets for this material, which exceeded 25
                                                                                                                                           deposit legislation. Wellman is now the nation's
$0.30                                                                                                                                      largest user of PET waste, consuming more than 100            million pounds in 1990, have been overseas because of
                                                                                                                                            million pounds of PET scrap annually. However, the           high overland shipping costs to East Coast markets,
                                                                                                                                            company says it could consume more than 400 million          such as Wellman. However, the PRCC has been
$0.20                                                                                                                                                                                                    striving to build its sales volumes among domestic
                                                                                                                                            pounds of PET a year if sufficient supplies were avail-
                                                                                                                                                                                                         reprocessors and end users. In fact, domestic sales
                                                                                                                                           able.
$0.10                                                                                                                                            Although fiberfill has traditionally been the           represented more than 50 percent of the PRCC's PET
                                                                                                                                           biggest market for recycled PET, markets are growing          bottle sales during the third quarter of 1991.
                                                                                                                                           for products such as carpet backing, PET textiles, PET
$0.00                                                                                                                                      film, industrial strapping, and building insulation. For      High density Polyethylene (HOPE)
        1/7/91        3/4/91         4/29/91        6/24/91           8/19/91            10/14/91       12/9/91                            instance, Wellman uses green PET bottles to make                  Although PET has been the focus of most post-
                                                                                                                                           geotextile fabrics for erosion control and as linings in     consumer plastics recycling efforts in the United
                    Recycled HOPE flake           Recycled HOPE pellets         -       Virgin HOPE pellets                                sanitary landfills and ponds. A 1989 study by the            States, HDPE recycling is growing rapidly. HDPE
                                                                                                                                           Center for Plastics Recycling Research at Rutgers Uni-       recycling volumes will eventually far surpass PET vol-
                                                                                                                                           versity estimated that if recycled PET achieved a ten        umes because of the vast number of consumer prod-
                                                                                                                                           percent penetration of the total national PET textile        ucts made from this resin. HD PE is used to make
                                                                                                                                            market, national recycled PET demand could exceed           bottles and containers for a wide range of products,
prices of virgin resin, especially to large-volume buy-          Polyethylene Terephthalate (PET)
                                                                                                                                                                                                        such as laundry detergent, motor oil, and semi-rigid
ers, dropped to near or even below the acquisition and                PET is the most actively recycled resin in the post-                  600 million pounds by 1993.
                                                                                                                                                  Since that study, a significant additional market     containers for certain types of food products, such as
processing costs of some recycled .resins, forcing some          consumer plastics waste stream. Virtually all PET
                                                                                                                                            for recycled PET ha been developing for consumer            margarine and cream-cheese. Over three billion
reprocessors out of business or to sell their resins at a        recycling involves beverage containers, which were
                                                                                                                                                                                                        pounds of HDPE bottles and containers are produced
loss.                                                            introduced in 1978. Two-liter PET soft drink bottles                       bottles. Procter & Gamble introduced the first post-
                                                                                                                                                                                                        annually, compared to about 1 billion pounds of PET
     Despite the troubled markets in 1991, most plastic          are easily identifiable by their distinctive shape, allow-                 consumer PET bottle in 1990 for its Spic and Span
                                                                                                                                                                                                        containers. In 1990, only about six percent of all
industry analysts believe that markets for postcon-              ing them to be readily separated from other plastic                        pine cleaner. Since then, several other companies have
                                                                                                                                            introduced PET bottle made from recycled or repoly-         HDPE bottles were recycled nationally.
sumer resins will revive and ultimately prosper                  wastes by collectors.
                                                                                                                                                                                                              Prices for both postconsumer and scrap HDPE
because of government mandates and consumer                           About 30 percent (224 million pounds) of all PET                      merized PET. These companie include Kraft General
                                                                                                                                                                                                         vary greatly, depending on the quality of the material
demand for products with recycled content. The mar-              beverage containers were recycled nationally in 1990,                      Foods (Kraft salad dre sings), L & F Products (Lysol
                                                                                                                                                                                                         and the periodic swings in price of virgin HDPE. The
kets for PET and high density polyethylene will con-             a significant increase over the 152 million pounds                         Pine Action cleaner), and most recently the makers of
                                                                                                                                                                                                         quality and color of HDPE wastes strongly affect the
tinue to dominate the attention of reprocessors and              recycled in 1989, according to a recent study by R.W.                      Pep i and Coca-Cola. Like Kraft, both Coca-Cola and
manufacturers because these resins -in the form of                                                                                          Pepsi have received permi sion from the U.S. Food            price of recycled HDPE resins.
                                                                 Beck. Most PET bottles have been collected for
                                                                                                                                                                                                              Market prices and demand for postconsumer
bottles - are readily segregated from the waste                  recycling through state bottle-deposit programs. As                         and Drug Admini tration to use repolymerized PET in
                                                                                                                                                                                                         HDPE are highest for material made from transluscent
stream. They represent roughly 80 percent of the                 these states maximize their PET bottle return rates,                        bottles that come into contact with food. In late 1991
                                                                                                                                                                                                         milk and water bottles because of the lack of pigments
resin used to produce plastic bottles. However, ~mall            reprocessors are looking toward the increasing num-                         Coca-Cola began limited bottling of their product in
but growing markets may develop for recycled poly-                                                                                                                                                       in these containers. ew pigments can be added to
                                                                 ber of curbside collection programs to supply the                           bottles made from 25 percent recycled PET. Although
                                                                                                                                                                                                         this material, which normally is clear or slightly green
styrene, low-density polyethylene plastic, and products          growing recycled PET industry.                                              the economic of repolymerization technologies are
made of mixed plastics, such as plastic lumber.                                                                                                                                                          in color, to form the widest range of new products.
                                                                      Like the markets for most recycled resins, demand                      still in question, even a modest u e of recycled PET in
                                                                                                                                                                                                              Recycled resins based upon mixed color HDPE
Although substantial potential markets exist for                 and prices are highest for clear PET because the lack                       soft drink and other PET bottles (10 percent) could
                                                                                                                                                                                                         bottles generally garner prices at least 20-30 percent
polypropylene and polyvinyl chloride, these markets              of colorants makes the material useful for a wide vari-                     result in a national market exceeding 120 million
will continue to be limited by collection and separa-                                                                                                                                                    less than uncolored materials. A few markets are
                                                                 ety of applications. During the second half of 1991,                        pounds annually.
tion problems.                                                                                                                                                                                            beginning to appear for mixed color resins processed
                                                                 average national prices for clear recycled PET resin                              In California, PET is the mo t recycled pla tic
                                                                                                                                                                                                          from certain color bottles, such as reds/oranges and
                                                                 pellets ranged between 43 and 50 cents per pound,                            because of its inclu ion in the state' bottle-redemp-


                                                            46                                                                                                                                         47
                                                                                Case 1:25-cv-00011-MJT               Document 1-11 Filed 01/06/25 Page 29 of 50 PageID #:
                                                                                                                                 123      Low density Polyethylene (LOPE)                              films are fairly thick and do not require high amounts
greens. The colored resins are used as an interior               Polystyrene (PS)
layer of a bottle made of similarly colored virgin resin.              Markets for postconsumer polystyrene are limited                         LOPE film plastics are the most common type of         of color consistency. Trash bags may become an espe-
      Existing markets for recycled postconsumer                 primarily by the collection infrastructure for waste                     plastic packaging and represent an enormous source           cially strong market for recycled LOPE resin because
HOPE are numerous, including base cups for PET                   polystyrene. But the potential market is massive. Like                   of potentially recyclable postconsumer plastic. Poly-        of the lower color-consistency requirements of this
bottles, laundry detergent bottles, motor oil bottles,           HOPE, polystyrene is used in a wide variety of con-                      ethylene packaging film production was 3.6 billion           product.
flower pots, residential and commercial drainage pipe,           sumer products, such as cassette casings, office equip-                  pounds in 1988. An additional 2.1 billion pounds of
toys, pails and drums, traffic barrier cones, milk bottle        ment, videotape casings, hangers, flower pots, .                         LOPE non-packaging film was produced for products                Polyvinyl Chloride (PVC)
crates, and trash cans. Unlike PET, there has been               packaging "peanuts," toys, and insulation. Only in                       such as trash bags, agricultural films, and disposable                Recycling of postconsumer PVC faces a number
little commercial-scale repolymerization of HOPE,                the last two years has postconsumer PS been used                         diapers. However, most of the LOPE waste stream is               of practical barriers that have discouraged both collec-
limiting its use to non-food products. The largest               in these products. Egg cartons and hamburger                             typically intermixed with food waste and other conta-            tors and reprocessors. PVC is primarily used in con-
markets for HOPE will involve bottles, primarily for              "clamshells" with interior layers of recycled resin rep-                minants that increase reprocessing costs and can                 struction and other applications where collectors have
non-food consumer products such as cleaning prod-                resent two new markets for postconsumer PS in food                       severely limit the marketability of recycled LOPE                difficulty identifying and separating plastic recy-
ucts, chemicals, and automotive products. The cur-               contact products.                                                        resm.                                                            clables. And while more than 200 million pounds of
rent trend for using HOPE in consumer bottles                         However, the high collection and processing costs                         With contamination problems limiting the mar-              PVC resin is used annually to produce consumer bot-
involves including internal layers of recycled resin             associated with postconsumer polystyrene wastes pose                     kets for recycled LOPE resin, most collectors and                tles, collectors are reluctant to take them because the
between layers of virgin resin. Although recent bottles          an expensive barrier to the development of recycled PS                   reprocessors have tended to focus upon specific                  material looks so much like PET but can contaminate
from bottle manufacturers such as Lever Brothers                 markets. Most PS wastes involve large volumes and                        sources of LOPE waste. Warehouses and some retail                PET in only minute amounts. Most PVC bottles are
include 20-30 percent recycled resin, most manufac-              low weights which require additional transportation                      firms are especially valued sources because they often           used in a diverse number of consumer products, such
turers feel that higher content levels will be achieved          costs or the purchase of expensive machinery to densi-                   generate large amounts of pallet wrap and other pack-            as shampoo or salad oil.
over time. This market may reach 150 million pounds              fy the waste on-site before transport to a reprocessing                  aging which can be segregated on-site from other                       As a result of these collection and separation bar-
nationally by 1992.                                              facility. Additionally, most PS recycling is subsidized                  waste and left relatively free of contamination. For              riers, postconsumer PVC recycling has been limited to
      Overall market estimates for recycled HOPE range           by the plastics industry, which has concentrated its                     example, Dow Chemical recently announced a joint                  five million pounds in 1989. The vinyl industry, how-
widely because of the volatile nature of commodity               efforts upon controversial food service products that                    venture with Sealed Air Corporation to annually recy-             ever, hopes to change that; it is currently sponsoring a
resin pricing and the recession of 1991. Most industry           are typically contaminated with products made from                       cle five million pounds of LOPE cushion packaging                 number of research efforts to develop economical
analysts agree, however, that consumer interest and              other resins (e.g. polypropylene straws), food wastes,                   collected directly from users of the packaging.                   recycling of PVC, especially for food, drug, and phar-
state-level mandates for recycled content packaging              and foreign materials such as aluminum and paper.                               Perhaps the most visible form of LOPE recycling            maceutical packaging. It remains unclear whether
will increase demand for recycled HD PE over the next            Because of these problems, most collectors receive                        involves the collection and recycling of polyethylene            these barriers will be overcome in the next several
several years. Industry projections for demand vary              only a nominal price for the PS waste they sell to                        grocery bags in supermarkets. During the past year,              years.
widely from 600 million to 1 billion pounds by 1994.             reprocessors.                                                             approximately 30 percent of the nation's supermar-                    Although collection problems are limiting PVC
      In California, Envirothene (Chino) is the largest               The National Polystrene Recycling Company                            kets have developed programs for their customers to              recycling, large potential end-product markets may
firm processing postconsumer HD PE. Envirothene                  (NPRC) was created in 1989 by eight of the largest                        return plastic grocery bags for recycling. LOPE gro-             exist for postconsumer PVC. One industry-sponsored
opened its 12-million-pound-annual-capacity facility             polystyrene manufacturers to develop a national recy-                     cery bags collected under these programs are typically           study estimated potential demand for recycled PVC
in 1991, and has been selling recycled resin to Califor-         cling infrastructure capable of recycling 250 million                     reprocessed into new grocery or trash bags. However,             resin at 494 million pounds, a figure that is more than
nia HOPE grocery bag manufacturers, national plastic             pounds per year, or 25 percent of the PS food service                     these efforts are currently being subsidized by retail           double the 207 million pounds of PVC bottles manu-
bottle manufacturers, and other plastic product manu-            waste by 1995. This infrastructure is composed of a                       stores and bag manufacturers. Reprocessing firms and             factured in the United States annually. These markets
facturers. Two other California firms that process               series of regional reprocessing facilities, two of which                  bag manufacturers say they hope to apply the experi-              would involve products such as PVC pipe, siding,
and sell postconsumer HOPE include Talco Plastics of             are in California. The NPRC's Corona and Hayward                          ence they gain in handling and processing compara-                drains, waste and vent pipe, which could use large
Whittier and Rehrig Manufacturing Company. Both                  facilities both opened in 1991, and are actively har-                     tively homogeneous wastes like grocery bags to larger             quantities of lower-quality resin. However, clear cut
process milk and water jugs. Rehrig uses its resin to            vesting polystyrene wastes primarily from institutional                    and more diverse postconsumer streams of plastic                 products standards will need to be developed before
manufacture plastic curbside collection bins.                    settings, such as schools. The NPRC's California                           films from curbside programs and materials recovery              recycled PVC products become widely used in other
      Other major California markets for recycled                facilities are producing the largest portion of the com-                   facilities (MRFs).                                               types of construction products.
HOPE include consumer bottle makers. A recent San                panies' recycled resin, which is being marketed to vari-                        Despite contamination and separation· barriers,
Diego County study on recycled plastics identified a             ous buyers across the country. For example, ARCO                           industry projections forecast LOPE recycling to                 Polypropylene (PP)
potential annual market for 10-20 million pounds of                                                                                                                                                              Few if any active markets exist for recycled post-
                                                                 Chemical recently introduced its Dylite brand poly-                        increase nationally from 87 million pounds in 1990
mixed colored HOPE at Graham Packaging Compa-                                                                                                                                                               consumer polypropylene (PP). Like PVC, PP is more
                                                                 styrene resins which contain 25 percent postconsumer                       to 378 million pounds in 1993. This demand will be
ny's two southern California plants.                             content.                                                                                                                                   commonly used to manufacture products with extend-
                                                                                                                                            fueled by consumer and manufacturer interest in plas-
                                                                                                                                                                                                            ed lifetimes such as furniture and auto battery cases.
                                                                                                                                            tic film products with recycled content, such as trash,
                                                                                                                                                                                                            Presently the largest source of and market for postcon-
                                                                                                                                            grocery, merchandise, and garment bags. Recycled
                                                                                                                                                                                                            sumer pp comes from spent automobile battery cases,
                                                                                                                                            LOPE resin can be easily mixed with virgin resin to
                                                                                                                                                                                                            many of which are collected as a result of several state
                                                                                                                                            add recycled content to plastic films as long as the


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laws regulating the disposal of auto batteries. Several          the most important of these will involve using com-                       ty of these facilities. As a result, a growing proportion        will play a key role in creating the domestic markets
automobile makers are experimenting with recycling               mingled plastic forms to replace wood products, such                      of the state's recyclable plastics are being shipped out-        for recycled materials, which the state needs.
PP scrap from old cars into new car bumpers. PP con-             as fence posts and highway embankment rail posts,                         of-state. Common destinations include reprocessors                    Additional research is needed to identify and
sumer bottles are primarily used for non-food prod-              that are pressure-treated with creasote and other toxic                   on the East Coast, Washington (Partek), Texas, the               develop potential markets for recycled plastics that
ucts, and could represent a future market if sufficient          materials that can leach into water and soils. Other                      Midwest, and the Far East.                                       may already exist within the state. California is home
amounts of used PP bottles are collected from the                significant markets that were identified in a study by                           California's increasing reliance upon overseas            to a significant number of plastic processing firms that
growing number of collection programs which are col-             the Center for Plastic Recycling Research include land-                   reprocessors could have several serious consequences.            may represent enormous potential markets for recy-
lecting all consumer plastics bottles.                           scape timbers (500 million pounds annually), pallets                      Most importantly, the state's plastic collection pro-            cled resins. As shown in Table 6.4, California is
                                                                 (370 million pounds), marine piers, and fencing for                       grams may become increasingly dependent upon for-                home to nearly 1,700 firms which specialize in plastic
Markets for Commingled Plastics                                  horses and livestock.                                                     eign demand for plastic scrap and wastes. Foreign                processing. Additionally, an unknown number of
Products                                                              In California there are at least three firms manu-                   markets for recyclable materials such as plastics and            California firms may process plastic as part of other
     Although most plastic products require recycled             facturing commingled plastic products. Plastic Pilings                    paper have historically been volatile, with significant          industrial activities. Modest increases in the use of
resin made from a single type of resin, recently a               in Rancho Cucamonga produced mixed plastic fender                         swings in prices and demand. California's plastic col-           recycled resin by these firms could absorb substantial
 number of new manufacturers have begun using com-               piles used at a wharf facility near Long Beach. In                        lection programs could eventually be left stranded if            quantities of the state's postconsumer plastics. To
mingled plastic waste recycling technology to make               1991, Permaboard in Hayward began limited produc-                         Far Eastern markets for postconsumer plastics became             give an idea of the potential markets, California's
products such as plastic "lumber." Some of the                   tion of plastic lumber profiles made primarily from                       significantly depressed. For example, China's rean-              plastic pipe, plastic bottle, and plumbing fixture pro-
largest of these firms, such as Hammer's Plastics,               industrial scrap.                                                         nexation of Hong Kong in 1997 might have a negative              cessing sectors account for 10.2 percent, 12 percent,
 opened in the Midwest where there has been an                        During early 1992, the state's largest and perhaps                   effect upon the state's largest market for plastic scrap         and 30 percent of U.S. sales.
increased collection of postconsumer plastics but lim-           one of the nation's most technically advanced manu-                       and wastes.                                                           More detailed information is needed to identify
ited access to foreign scrap markets, which created              facturers of commingled plastics began operation in                              Another consequence of California's growing               the segments of the state's plastic processing industry
growing supplies of low-value mixed plastic wastes               Los Angeles. The California Recycling Company has                         dependence upon overseas markets involves the state's            that will be able to increase use of postconsumer plas-
that many local governments have been willing to give            the capacity to annually process up to 10 million                         loss of raw materials and value-added income. Similar            tics. Some industries may face regulatory or other
away.                                                            pounds of postconsumer wastes into large molded                           to other recyclable materials such as paper, some of             barriers that prevent them from using recycled resins.
     Despite the nominal cost of mixed-plastic feed-             shapes (using highly automated ET-1 processing                            the state's collection programs are forced to sell post-         Other industries may be able to incorporate only small
stock, many of these firms have closed or are experi-            equipment) or into precision extruded profiles with                       consumer plastics to Far Eastern markets at prices               quantities of high quality recycled plastic in order to
encing financial difficulties because of the poor                solid, hollow, or foamed cores using sophisticated                        which may not cover the collection costs of the materi-          retain product quality. And many industries may be
markets for their products. Most commingled plastic              molding and cooling technologies developed by an                          als. This allows foreign reprocessors to purchase their          avoiding use of recycled materials because of the mini-
products are priced from 50 to 200 percent higher                Austrian processing firm.                                                 plastic feedstocks at "subsidized" prices.                       mal difference in price between recycled and virgin
than competing products to cover the higher labor                                                                                                 Using this cost advantage and low overhead, for-          resms.
and other overhead costs.                                        Trends in California Markets for Recycled                                 eign reprocessors can export recycled plastic products                As more information is gathered about these
     Manufacturers stress to their potential buyers that         Plastics                                                                   to the United States at highly competitive prices. If           industries, research should be conducted to determine
many products made with commingled plastics, such                     A number of reprocessors of industrial scrap have                     larger domestic markets and reprocessing capacity               if specific incentives should be offered to plastic
as fence posts and marine pilings, have extended lifes-          operated in California for many years, primarily                           existed for recycled plastics, California might be able         processors who use recycled resins. California cur-
pans and require minimal maintenance, qualities that             drawing their material from the many plastics process-                     to retain the economic potential of the recyclable plas-        rently offers tax credits for companies using any sec-
ultimately make them cheaper than competing prod-                ing firms in southern California (see Appendix 1).                         tics. The benefits of retaining and using these                 ondary and postconsumer materials to produce
ucts. High initial costs, however, have proven to be a                Only in recent years has a small number of new                        resources include increased employment, corporate               finished products.
significant marketing obstacle, especially for cash-             or expanding reprocessing firms begun to handle post-                      taxes, and sales taxes from domestic reprocessors and                Environmental labelling and product-award pro-
strapped government agencies that need to maximize               consumer plastic wastes in California. Some of the                         plastic product manufacturers who use recycled plas-            grams provide sufficient publicity incentives for some
their purchases of products such as piers, picnic tables,        largest of these firms include Envirothene in Chino                        tics.                                                           firms. However, economic incentives, such as tax
and benches.                                                     and Talco Plastics in Whittier. Most of the state's                              In order for California to avoid foreign markets          credits or subsidies for recycled resin use, may be nec-
     In addition to pricing problems, markets for com-           reprocessors purchase their postconsumer plastic feed-                     draining potential resources from the state's economy,          essary to provide sufficient incentives for many plastic
mingled plastic products have been hampered by qual-             stocks from within the state, although some firms get                      consumers and legislators must continue favoring and            processors.
ity problems. Buyers cite negative experiences with              their materials from as far as Texas. These new or                         mandating the use of recycled plastics. As mentioned
such products as tree poles, which rapidly warp dur-             expanded operations reprocess and sell postconsumer                        in more detail in the next chapter, the Board is imple-
ing summer heat.                                                 HDPE, PET, and polystyrene resin to California,                            menting a number of legislative initiatives that man-
     The improved reprocessing technologies for com-             national, and some foreign customers.                                      date recycled content in plastic bottles and trash bags,
mingled plastic mentioned in Chapter 5 should reduce                  Although these firms represent a significant                          increased government procurement of products made
labor costs and quality problems. Reprocessors who               increase in the state's postconsumer reprocessing                          from recycled materials, and disseminating informa-
are able to reduce their product costs should be able            capacity, the rapid increases in drop-off and curbside                     tion to industry and the public about plastic recycling
to tap into several large potential markets. Perhaps             collection of plastics is rapidly outstripping the capaci-                 and recycled plastic products. Initiatives such as these


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                                                                               Case 1:25-cv-00011-MJT             Document 1-11 Filed 01/06/25      Page 31 of 50 PageID #:
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                                                     TABLE 6.4                                                                          stream from disposal. Meanwhile, industry projec-                 Recommendations
                                         Plastic Processors in California                                                               tions forecast plastics production to continue increas-           1. The Board is performing a study identifying Cali-
                                                                                                                                        ing throughout the decade. Financial and logistical               fornia manufacturing firms that may be able to use
      CATEGORY                       L.A. BASIN(l)     S.F. BAY       TOTAL       0/oOFALL       % OF ALL                               support by both the plastics industry and government              recycled plastics, to add to the CalMAX Materials
                                                        AREA          CALIF.     NATIONAL        NATIONAL                               will continue to be necessary to develop a comprehen-             Listing Catalog it now produces. The study will also
                                                          (2)         FIRMS       FIRMS IN        SALES IN                              sive and stable plastics recycling infrastructure.                consider if specific incentives, such as tax credits or
                                                                                  CALIF.(3)      CALIF. (3)                                  The Board's Market Development Committee is                  subsidies, should be offered to plastic processors to
      Unsupported Plastics                 49             6             73             12.0          6.1                                leading a comprehensive market strategies assessment              encourage the use of recycled resins, in addition to the
      Film and Sheet
                                                                                                                                        to identify priority secondary materials, technologies,           tax credits now available for all recycling.
                                                                                                                                        and the industries most capable of using them. The
      Plastic Pipe                         14                           31             12.4         10.2                                Committee will then study the best locations through-             2. Incentives, such as tax breaks or public aw~rds
                                                                                                                                        out the state to match these variables.                           programs, will encourage California firms to use
      Plastic Bottles                      24             2             35             12.6         12.0                                     The Committee is focusing on HDPE, PS, and                   postconsumer recycled plastics and help establish a
                                                                                                                                        mixed plastics.                                                   dependable market for recycled plastics within the
      Plastic Plumbing                     19              0            35             19.3         30.3                                     It is clear that for recycled plastics to compete for        state.
      Fixtures                                                                                                                          a growing share of the market:
                                                                                                                                                                                                          3. Low-interest, government-backed loans would
      Plastic Products, NEC               773             186          1212            14.4         11.5                                    ■  High-quality recycled resins must be developed             assist plastic reprocessors and manufacturers with
                                                                                                                                            to compete with virgin resins.                                acquisition of plastics recycling equipment. The loan
                                                                                                                                                                                                          program should give preference to applicants who are
      TOTAL MISC. PLASTICS                1094            236          1693
                                                                                                                                            ■  Performance standards must be established for              having difficulty securing commercial loans.
      PRODUCTS, NEC (4)                   (65%)         (14%)         (100%)
                                                                                                                                            recycled plastics to ensure consistent quality.
       ( 1) Los Angeles, Orange, Riverside, San Bernardino Counties
                                                                                                                                            • Research grants and low-cost loans should be
       (2) Alameda, Contra Costa, Marin, San Francisco, San Mateo, Santa Clara Counties
                                                                                                                                            considered to develop less expensive collection,
       (3) U.S. Bureau of the Census. Census of manufacture, 1987: Miscellaneous plastic products
                                                                                                                                            separation, and reclamation technologies.
       (4) Standard Industrial Classification (SIC) 308

                                                                                                                                            • Use of recycled plastics should be encouraged
       Source: U.S. Bureau of the Census. County business patterns, 1988: California                                                        through broad educational and promotional
                                                                                                                                            efforts.

Conclusion and Recommendations                                  increasingly large markets for recycled HDPE. Other
                                                                common resins - such as polystyrene, LDPE,
Conclusion                                                      polypropylene, and PVC - continue to face collec-
     While cost incentives have readily driven the mar-         tion, separation, and contamination problems that
kets for industrial plastic wastes, public interest and         curtail the development of markets.
legislation for recycled products have begun to force               Although several reprocessing firms in California
manufacturers to examine and increase their purchas-            have begun to handle postconsumer plastics during
es of recycled postconsumer resins. In 1991, however,           the past few years, the bulk of the state's plastic
an oversupply of virgin commodity resins coupled                wastes are shipped overseas to Far Eastern plastic
with the recession significantly decreased both                 reprocessors. One key to developing plastic recycling
demand and prices for recycled resins, especially               markets within California is in encouraging the state's
HDPE. Although current market conditions for recy-              sizeable plastic processing industry concentrated in the
cled postconsumer resins are troubled, most industry            Los Angeles Basin to use recycled plastics. Increasing
analysts believe that public awareness and government           these markets could create a centralized plastic recy-
mandates will create significant markets over the next          cling infrastructure where collection, reprocessing,
five to ten years.                                              and end-product manufacture would be concentrated
     Markets for recycled PET are currently the largest         in southern California.
and most developed. However, the vast quantities of                  Current markets for recycled plastics divert a
HDPE used in consumer products will support                     comparatively small portion of the plastics waste


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                                                                Legislative Initiatives to Increase Plastics Recycling

                                                    Introduction                                                      tives at the state government level cover a variety of
                                                        From national halls of power to local town halls,             items, including automobile batteries, tires, and bever-
                                                    government leaders have been listening to a growing               age containers. Although now viewed as recycling
                                                    number of environmentally sensitive citizens and                  laws, beverage container deposit laws were originally
                                                    developing numerous legislative proposals regarding               implemented to reduce the litter problems. Most plas-
                                                    recycling and waste management. Most of the activity              tic beverage container deposits are five or ten cents
                                                    in America is in the statehouses, where more than 400             and are typically collected at the retail level. Presently
                                                    waste management proposals were considered last                   PET beverage containers are the only plastic contain-
                                                    year. In other countries, the federal governments have            ers covered under these types of laws.
                                                    developed numerous initiatives, especially in Italy,                   The several states that have enacted deposit
                                                    Denmark, the Netherlands, and West Germany.                       legislation for aluminum, glass, and PET beverage
                                                        In addition, many local governments are reaching              containers are Connecticut, Delaware, Iowa, Maine,
                                                    beyond their traditional role of managing waste dis-              Massachusetts, Michigan, New York, Oregon, Rhode
                                                    posal by developing laws and ordinances designed to               Island, Vermont, and California. Additionally, some
                                                    increase recycling, encourage recycling industries,               local communities have explored bottle-deposit legis-
                                                    and ban the disposal of environmentally damaging                  lation, including Berkeley. More than 2,000 pieces of
                                                    products.                                                         container legislation were proposed between 1979
                                                        Legislative initiatives at all levels of government           and 1983.
                                                    are increasingly targeting plastics because of concerns                California's bottle redemption law, often referred
                                                    involving their slow decomposition rates in landfills             to as AB 2020 (Public Resource Code §14500 et seq.),
                                                    and as litter.                                                    differs from container-deposit legislation enacted in
                                                        The most common initiatives affecting plastics                other states because it attempts to cover the costs of
                                                    have included: container-deposit laws ("bottle bills"),           recycling the materials within the program. In addi-
                                                    which provide refunds for the return of certain types             tion to consumer-paid deposits at the retail level and
                                                    of plastic bottles; bans on specific types of plastic              "refunds" at state-certified collection centers, a per-
                                                    products, such as polystyrene food products or plastic            container "processing" fee is collected from beverage
                                                    packaging; and laws requiring resin identification                container manufacturers by the state's Division of
                                                    codes on plastic containers. Nearly all initiatives at            Recycling. Processing fees are assessed on beverage
                                                    the national, state, and local levels that affect plastics        containers with scrap values that are less than the cost
                                                    can be grouped into seven general categories: deposits,           of collecting and reprocessing the container. This
                                                    bans and restrictions, mandated recycling, plastics               money is then distributed to recyclers and processors
                                                    identification, market development, packaging review              to defray the costs of recycling the empty beverage
                                                    laws, and taxes.                                                  containers. A processing fee of $0.00789 was
                                                                                                                      imposed upon PET beverage containers beginning in
                                                    Deposits                                                          1991.
                                                        Mandatory deposits on PET beverage containers                      PET beverage containers are the only plastic con-
                                                    are one of the few legislated actions that have demon-            tainers regulated under current state deposit laws.
                                                    strably increased plastics recycling. Deposit initiatives         PET container redemption rates for California's pro-
                                                    typically involve the consumer paying a deposit when              grams have jumped from six percent to more than 40
                                                    buying an item. The deposit is returned to the con-               percent in the past two years. Still, these return rates
                                                    sumer when he or she returns the item. Deposit initia-            fall considerably short of the 50-90 percent recovery


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rates for PET containers attained by deposit programs           local governments - including Portland and Berkeley                     states, including Massachusetts and Wisconsin, and                     munities to develop and implement plans for
in Michigan, Massachusetts, and Oregon. Unfortu-                - have banned all PS food packaging based on con-                       many local governments have already implemented                        diverting 25 percent of their waste stream from
nately, these high return rates have occasionally creat-        cerns regarding the single-use nature of these products                 laws banning the disposal of PET beverage containers                   landfills by 1995 and 50 percent by 2000.
ed oversupply problems resulting in the landfilling or          and their slow decomposition rates in landfills. The                    and other specified recyclable materials and assessing
incineration of some containers. Iowa responded to              polystyrene foam food packaging industry phased out                     violators with warnings and fines. For example, New                Market Development
this problem by implementing a law in 1990 banning              the use of CFCs in February, 1989.                                      York City recently increased staffing to enforce recy-                  The proliferation of mandated recycling initiatives
the landfilling of any beverage containers.                          Similar to the documented threats of CFCs,                         cling violations ranging from $25 to $10,000. San                  has rapidly increased the collection of many recy-
                                                                numerous reports of marine pollution and wildlife                       Diego County has been the first local government in                clables and has contributed to oversupplies of old
Bans and Restrictions                                           endangerment secured enactment of bans upon plastic                     California to adopt disposal bans.                                 newspapers and glass in some regions. These supply
     Bans probably represent the most frequently pro-           "six pack rings" across the United States. More than                                                                                       problems have highlighted the dangers of mandating
posed and most commonly rejected type of legislative            20 states including California (California Health &                      Mandatory Recycling                                               increased plastic waste collection without creating or
initiative because of their controversial nature. Dur-          Safety Code 24384.5) have implemented laws mandat-                           Many state and local governments have enacted                 strengthening the markets for recycled plastics. Many
ing the past several years a large number of initiatives        ing replacing non-degradable plastic rings with                          legislation that mandates increased collection of recy-           states have responded to this problem by implement-
have been proposed at all levels of government to ban           degradable devices, which lessen litter and wildlife                     clables. State legislation typically mandates local gov-          ing a variety of market development initiatives to
plastic products that are considered potentially dam-           endangerm~nt problems. Recent federal legislation                        ernments to provide specific collection mechanisms for            improve the markets for recyclables collected under
aging to the environment. Bans typically prohibit the           will require degradable "six-pack-rings" nationwide                      recyclables or to attain goals for collecting recyclables.        mandated recycling initiatives.
manufacture, use, or disposal of an objectionable               pending a US EPA review.                                                 Local governments generally mandate the separation                     A large variety of market development initiatives
item. Opponents of bans argue that they arbitrarily                  Some bans have been successfully implemented by                     of recyclables from other waste. Recycling mandates               have been adopted during the past two years at the
interfere with the free market, while proponents typi-          emphasizing adverse impacts upon recycling. For                          increase the quantity of recyclables by diverting them            state level. Most of these initiatives have been primar-
cally justify bans as corrections to the free market's          instance, concerns about the recyclability of the layers                 from the waste stream. The quality of recyclables can             ily directed toward developing markets for more com-
failure to internalize all of the economic, social, and         of plastic, paper, and aluminum found in aseptic pack-                   also be increased by mandates requiring the separation            monly recycled materials, such as paper or glass.
environmental consequences associated with a particu-           aging ("juice boxes") prompted a Maine ban in                            of different types of recyclables.                                However, some initiatives directly address the recycled
lar product.                                                    September, 1990. In 1986 the Coca-Cola Company                                Mandatory recycling initiatives can be grouped               plastics market.
     Bans are useful for specifically targeting and con-        briefly introduced a PET-based "plastic can" closely                     into three general categories:
trolling problematic items in the waste stream that             resembled an aluminum can. Environmentalists and                                                                                           Mandated Recycled Content
have quantifiable and verifiable negative impacts.              the recycling industry immediately started a coordinat-                      • Opportunity to recycle mandates require                          One of the most direct ways of stimulating mar-
However, bans have typically been based upon the                ed campaign because of concerns about the product                            municipalities to offer citizens the opportunity to           kets for recycled materials involves mandating their
incomplete and conflicting research, which has failed           being easily confused with aluminum cans and conta-                          recycle either by developing curbside collection              use in the manufacture of certain types of products.
to detail all of the effects of plastic products. Bans          minating scrap aluminum. A successfully enacted ban                          programs or drop-off centers.                                 Many manufacturers, however, are concerned about
have generally failed or not been implemented because           in Connecticut and threats of bans in other states                                                                                         being forced to use poor quality or more expensive
of legal challenges. For example, Suffolk County,               prompted the withdrawal of the product by the Coca-                          ■  Source separation mandates require residences,             recycled feedstocks in their manufacturing processes.
New York, enacted a 1988 ban on the sale of certain             Cola Company in 1987.                                                        businesses and institutions to separate their recy-           Most mandated content laws have been oriented
non-degradable food packaging, plastic grocery bags,                 European governments have generally been much                           clables from other wastes. Many municipalities                toward requiring newspaper publishers to buy recy-
and certain PVC and PS packaging and utensils.                  more proactive in national plastics legislation than the                     have enacted source separation mandates as part               cled newsprint (California, Connecticut, Maryland,
However, the ban has been delayed by legal challenges           United States. Both Denmark and The Netherlands                              of curbside collection programs. Additionally,                Missouri, Wisconsin).
for several years. The cities of Minneapolis and St.            threatened to use packaging review and control laws                          several states including ew Jersey, ew York,                       In 1990, however, California and Wisconsin
Paul enacted even more stringent ordinances in 1989,            to regulate or ban certain types of plastic products.                        Pennsylvania, Rhode Island, and the District of               enacted the first statutes mandating recycled content
banning plastic packaging that was not commercially             These threats prompted industry to redesign products                         Columbia have enacted statewide source separa-                in plastic products. Wisconsin's law, which goes into
viable to recycle. These ordinances have also been              and marketing strategies to encourage recycling.                             tion laws. Many separation initiatives have con-              effect in 1995, mandates all plastic containers be made
blocked by legal challenges.                                    Switzerland recently enacted a ban on PVC beverage                           centrated upon residential wastes, but recent                 from at least ten percent recycled material unless
     Several local governments have been able to suc-           bottles to encourage the use of more readily recycled                        source separation mandates in Maine, ew Jersey,               specifically prohibited by the U.S. Food and Drug
cessfully enact more specific bans upon polystyrene             PET containers for which a collection infrastructure                         Pennsylvania, Rhode Island, and Wisconsin                     Administration.
products because they are based upon the documented             already exists.                                                              require businesses and institutions to also separate               California's first mandated content law (Public
damage to the Earth's protective ozone layer caused                  One other ban may become increasingly preva-                            recyclables.                                                  Resources Code §41970-41977) for plastics requires
by the chlorofluorocarbon blowing agent (CFCs) used             lent: many governments are considering initiatives                                                                                         all trash bags to consist of at least ten percent post-
in production of PS foam. The precedents established            that ban the disposal of some or all recyclable materi-                      • Mandatory goals require municipalities to                   consumer recycled material by 1993. In addition, the
by the successful bans in cities such as Berkeley, Palo         als in order to increase collection of recyclables. Dis-                     achieve recycling or waste stream reduction goals.            bags must be made of 30 percent recycled plastic
Alto, and Santa Cruz probably encouraged the poly-              posal bans are becoming increasing popular in the                            Municipalities are allowed to choose the methods              unless they meet rigorous thickness specifications,
styrene food-packaging industry's efforts to phase out          eastern United States, where high tipping fees make                          needed to attain the goal. The California Integrat-           which effectively would encourage source reduction.
the use of CFCs. Additionally, a smaller number of              waste disposal minimization a high priority. Several                         ed Waste Management Act of 1989 requires com-                       In 1991 both California and Oregon enacted com-


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parable statutes relating to the recycling and disposal         amount of plastic and other materials that are recy-                         allow price preferences for products with recycled con-          number of local governments began proposing legisla-
of rigid plastic packaging containers. California's law         cled. For most firms, deductions on state taxes repre-                       tent, typically between five and ten percent. A few              tion mandating identification of plastic containers by
(Public Resources Code §42300-42340), which goes                sent only a small portion of their operating costs.                          local governments, such as San Jose, have adopted                resin type. The Society of the Plastics Industry (SPI)
into effect in 1995, includes several different options         Most firms involved with recycled plastics manufac-                          even more stringent measures that require buying                 responded to these diverse and sometimes conflicting
for manufacturers to comply with the mandate to use             turing, which have tended to be small entrepreneurial                        products with recycled content regardless of price.              proposals by developing a voluntary coding system for
25 percent recycled postconsumer content in the con-            firms with limited financial resources, find tax credits                          California's procurement legislation sets percent-          the plastic container manufacturing industry. The SPI
tainers.                                                        to be of little assistance when they are unable to secure                    age goals for both state and local government agencies           introduced its standardized resin codes in 1987, and
     While mandating recycled content has potential             basic startup capital.                                                       (Statutes of 1989, AB 4). State agencies are able to             recommended that the codes be included on bottles
for increasing the use of recycled materials in manu-                                                                                        use a five percent price preference for products with            containing 16 ounces or more and tubs containing at
facturing, it can be a difficult type of mandate to              Credit Subsidies                                                            recycled materials. At least 67 local governments in             least eight ounces. The code consists of a number
impose at the state level. Programs requiring manu-                   Credit subsidy legislation addresses the difficulties                  California are considering or have enacted procure-              enclosed within a three-arrow triangle. Beneath the
facturers to certify their use of recycled materials are        faced by many segments of the recycling sector in                            ment legislation.                                                "recycling triangle" is an alphabetic abbreviation for
generally expensive to administer because of the                securing capital to buy recycling equipment and other                             In a recent study conducted by Integrated Recy-             the code.
difficulties of identifying and tracking the flow of            elements of the recycling infrastructure. Credit subsi-                      cling Inc. for the Board examining progress toward                     Twenty-seven states, including California, have
manufacturer's products within the state's borders.             dies can take a number of forms, including state-guar-                       recycled plastic product procurement, several local              enacted legislation requiring coding by resin types for
Additionally, individual states may have difficulties           anteed low-interest loans, bonds, and revolving loan                         governments in California indicated they already pro-            various types of plastic containers. Although most
insuring that out-of-state manufacturers comply with            programs. This type of legislation is favored by many                        cure some types of plastic products with recycled con-           states use the SPI's coding system, objections have
the mandate and do not possibly gain an unfair advan-           states because it often is less costly than grants, but                      tent. Products cited included recycling containers,              been raised about the three-arrow "recycling" triangle
tage over in-state manufacturers. There are several             still assists recycling enterprises that find it difficult to                 trash can liners and bags, printer and toner cartridges,        because it might imply that a container is being recy-
proposals involved with the reauthorization of the fed-         qualify for conventional loans because of the develop-                        barricade market tape, automobile parking stops, tree           cled when in fact it is not. California's coding legisla-
eral Resource Conservation and Recovery Act (RCRA)              ing nature of the recycling industry.                                         stakes, landscape timbers, park benches, and picnic             tion (Public Resources Code 18015 et seq.) is based
that would mandate all U.S. manufacturers use speci-                  Many states including Illinois, Michigan, Min-                          tables. Most local governments, however, overwhelm-              upon the SPI coding system and requires all rigid plas-
fied levels of recycled content for various materials,          nesota, New Jersey, New York, Pennsylvania, and                               ingly buy plastic products without recycled content              tic containers to include resin identification codes by
including plastics.                                             Vermont have adopted low-interest or guaranteed                               because of the difficulty finding information on plastic        January 1, 1992.
                                                                loan programs designed to improve the infrastructure                          products with recycled content.                                       The current resin coding system may represent
Tax Incentives                                                  and markets for recycled products.                                                                                                             only a first step toward more comprehensive resin
     Tax incentives involving recycling have been                     In 1989, California enacted a $5 million industrial                    Information Collection and Dissemination                          identification systems. For instance, reprocessors have
adopted by more than 17 states. Most of these initia-           development low-interest loan program (Public                                     Market development legislation can also involve              raised concerns about the need to indicate different
tives are intended to encourage investment in recycling         Resources Code §42145) to assist recycling enterprises                       government collection and dissemination of informa-               grades of the same resin, especially for incompatible
technologies, equipment, and facilities to assist the           within the local Recycling Market Development Zones                          tion to help the recycling industry and promote the               blow-molding and injection grades of HDPE. Addi-
growth of an immature recycling infrastructure. Tax             designated by the Board (Public Resources Code                               purchase of recycled products. This category of legis-            tionally, some plastic processors are including resin
credits typically come in the form of exemptions from           §42140). While this program may prove useful to                              lation covers a broad range of activities, including the          codes on non-container plastic products, such as plas-
paying property or sales taxes, credits against state           new plastic reprocessing and manufacturing firms                             compilation of statistical information relating to the            tic grocery and shopping bags.
sales taxes, or deductions from corporate or individual         within the zones, the amount of bond funds available                         recycling industry, the production of guides to recy-
taxable income.                                                 to any particular applicant for the program may                              cled products, and the establishment of information              Packaging Review Laws
     In 1990, California enacted a 40 percent tax cred-         become increasingly limited as the Board designates                          clearinghouses for research, marketing, and purchas-                  Packaging accounts for a large and generally
it toward the cost of equipment used to manufacture a           additional zones each year.                                                  ing information. California legislation adopted in               quickly discarded segment of the plastic waste stream.
marketable finished product containing specified per-                                                                                        1989 mandates the Board to establish a "Plastics                 Packaging review and control laws create regulatory
centages of recycled material (Revenue and Taxation             Government Procurement                                                       Recycling Information Clearinghouse" (Public                     structures for controlling packaging that may present
Code §17052.14 and §23612.5). Only a few Califor-                    Procurement legislation mandates that govern-                           Resources Code §42520). The Clearinghouse, which                 waste disposal or environmental problems. Legislative
nia plastic reprocessors and manufacturers have been            ment agencies preferentially purchase products that                          the Board will establish by July, 1992, will provide             proposals have occurred at both the national and state
able to use this credit to buy grinders, washing equip-         contain recycled materials. With government expendi-                         information about postconsumer plastic recycling to              level. However, packaging review and control laws
ment, extruders, and other equipment that is used to            tures accounting for 20 percent of the gross national                        collectors of plastic wastes, reprocessors, plastic              have only been successfully implemented by some
produce high quality plastic regrind or plastic pellets         product, procurement legislation can provide a size-                         processors, and others participating in the state's plas-        European governments.
with postconsumer content.                                      able market for recycled products.                                                                                                                 Minnesota enacted a packaging review and con-
                                                                                                                                             tic recycling activities.
     Although a number of other states (Colorado,                   At least 40 states including California have enact-                                                                                       trol law in 1973 that charged the Minnesota Pollution
Florida, Maine, Oregon, Texas, Washington) have                 ed some form of procurement legislation. Some of                                                                                              Control Agency with determining the environmental
                                                                                                                                              Plastics Identification
adopted or revised recycling tax credits ranging from           these laws only provide a generic preference for recy-                           One of the primary barriers to plastics recycling            impact of new or revised packages sold in the state.
10 to 50 percent during the past two years, most states         cled products and are of limited effect unless more                          involves identifying and separating plastic wastes man-          The law was challenged by several affected industries,
do not know whether the incentives have increased the           specific criteria are provided. More than 20 states                          ufactured from different resins. Several years ago, a            but was eventually upheld by the Minnesota Supreme


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Court in 1979. However, the program was never                   control, recycling programs, and waste management                             PET beverage containers are the only plastic con-
implemented because of concerns over the controver-             education. Litter taxes are typically very low and                       tainers regulated under current state deposit laws.
sy, cost and burdensome nature of the legislation.              have a negligible impact upon the manufacturers,                         While this legislation creates a homogeneous supply of
Iowa's packaging review laws have also remained                 wholesalers, and retailers who are impacted by these                     PET to processors, PET beverage containers are esti-
unused. Iowa passed legislation in 1987 requiring               laws.                                                                    mated to account for only three percent of the nation's
investigation of claims that the disposal of some prod-              Some taxation deals with waste that is thought to                   plastic waste stream. Inclusion of HDPE milk con-
ucts is incompatible with other waste management                pose specific waste management or environmental                          tainers and other types of containers could lead to sig-
methods, such as recycling. In 1990, packaging                  problems. Commonly targeted materials have includ-                       nificant increases in the recovery of plastic wastes.
review initiatives were defeated by voters in both Ore-         ed auto batteries, tires, and hazardous wastes. Plastic                       Legislation to increase recycling without corre-
gon and Massachusetts.                                          packaging has been the primary target of several taxa-                   sponding market development, however, can lead to
     Several European counties have been much more              tion initiatives. For instance, in 1988 New Jersey con-                  oversupply, stockpiling, and even landfilling of plas-
successful with packaging review and control laws.              sidered a two-cent tax on any containers recycled at a                   tics that have been separated for recycling.
Denmark enacted a packaging control law in 1978                 rate less than glass or aluminum. Florida enacted leg-
which creates a number of provisions to ban or limit            islation that imposes a one-cent tax on various types
certain types of material, impose deposits, and require         of containers if their recycling rates do not exceed 50
packages to contain specified amounts of recycled               percent. Taxation legislation was also recently intro-
materials. Similar laws in the Netherlands and West             duced in the U.S. House of Representatives calling for
Germany have been rarely used but created incentives            a 20 percent value-added tax on disposable poly-
for industry to develop plastic packaging that can be           styrene packaging. The proposed tax would be 20
easily recycled.                                                percent in 1991, and climb to 100 percent in 1995.
     In 1990, California enacted AB 3994, which                      The only tax currently assessed upon plastic
makes it unlawful for consumer goods to use terms               wastes in California involves the state's bottle-deposit
such as "recyclable," "recycled," "biodegradable,"              legislation. The "processing fee" collected by the state
and "photodegradable" unless the goods meet specific            for each PET beverage container represents a tax to
definitions (Business and Professions Code §17508.5             cover the costs of recycling this type of packaging.
and 17580 et seq.) However, the regulations do not              However, the concept of a "disposal cost fee" assessed
specify an enforcement agency or other enforcement              upon all goods sold in the state was recently studied in
provisions beyond indicating that violations are mis-           a report done by the Tellus Institute for the California
demeanors punishable by imprisonment and fines not              Integrated Waste Management Board. The results of
exceeding six months or $2,500.                                 this study will be used to develop model legislation for
                                                                a comprehensive disposal-cost fee for the state.
Taxes
     Many state and local governments fund waste                Conclusion
management activities with taxes or fees. Taxes gen-                 California has enacted a number of laws which
erally finance the entire spectrum of waste manage-             directly or indirectly affect plastics recycling. Most of
ment activities, while fees are more commonly                   these laws avoid highly controversial types of initia-
assessed upon individual types of wastes, such as tires         tives, such as bans and packaging review laws that
or car batteries to cover the cost of their disposal.           have typically failed in other states. The majority of
However, this terminology is often ignored. For                 California legislation relating to plastics recycling
example, states such as Utah, Texas, West Virginia,             emphasizes the development of markets for recycled
and California assess "tipping fees" upon each load of          materials.
waste disposed of at landfills or incinerators. These                Legislation in other states that bans plastics or
"fees" are typically used as taxes to fund waste man-           reviews plastic packaging usually fails to be enacted or
agement and recycling programs.                                 successfully implemented because they are based on
     Most taxation legislation targets the entire waste         faulty or insufficient scientific data about the environ-
stream. For instance, most local governments and                mental impacts or recyclability of plastic wastes. On
some state governments use tipping fees or utility              the other hand, local bans on polystyrene products
taxes to fund local waste removal services and waste            and state requirements for degradable plastic six-pack
management programs. Several states are assessing               rings have been successful because of documented
"litter taxes" to fund various programs including litter        environmental impacts.


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                                                                     Barriers to Source Reduction and _Recycling

                                                   Introduction                                                      reduction programs because the lack of reliable data
                                                        Although still in its infancy, plastics recycling has        makes it difficult to identify or measure the main con-
                                                   grown rapidly from an unpublicized industrial prac-               tributors to the plastic waste stream, in terms of vol-
                                                   tice into a complex environmental and economic issue              ume and toxicity.
                                                   involving resin manufacturers, plastic processors, recy-                Finally, legislators and the general public have
                                                   clers, policy makers, and the public. As recycling has            paid more attention to hazardous waste management,
                                                   grown, the barriers have become clear through many                through the Superfund, and to recycling than to
                                                   studies. Additionally, most members of both the plas-             source reduction. Contrary to the waste management
                                                   tics and recycling industries will readily offer numer-           hierarchy established by both the Board and the US
                                                   ous examples of constraints to plastics recycling (see            EPA, recycling is taking precedence over source reduc-
                                                   Appendix 3 for opinions of California reprocessors).              tion.
                                                        Although emphases may differ, most of the litera-                There are some early indications that priorities are
                                                   ture and expert opinions offer similar analyses of the            changing because of new economic directions in waste
                                                   basic barriers to plastics recycling, which are broken            management, more concerns over the toxicity of
                                                   down to technical, economic, informational, and regu-             wastes and a better understanding of waste manage-
                                                   latory barriers.                                                  ment by the public.

                                                    Barriers to Source Reduction
                                                        In theory, source reduction principles sound very            Barriers to Plastics Recycling
                                                   attractive, but in practice, they are difficult to apply.
                                                   The first barrier is often understanding what source              Technical Barriers
                                                   reduction means because it is often confused with                      Plastics recycling faces a number of significant
                                                   waste reduction. Source reduction is any action that              technical barriers. Some of these barriers are directly
                                                   causes a net reduction in the generation of solid waste.          related to the chemical and physical characteristics of
                                                   Source reduction is just one of several waste-reduction           plastics materials. Other barriers, such as contamina-
                                                   strategies, such as recycling and incineration.                   tion and separation, can involve expensive technolo-
                                                        Implementing source reduction is also difficult              gies, especially for postconsumer plastic wastes.
                                                   because it often requires economic, manufacturing and                  Although this report focuses on the most com-
                                                   behavioral change on a national scale. As mentioned               monly used and recycled thermoplastic resins - such
                                                   in Chapter 4, source reduction can be accomplished                as polyethylene, polystyrene, and PET- plastic prod-
                                                   by changing design and/or reducing the toxicity of a              ucts are made from literally hundreds of different resin
                                                   plastic product.                                                  formulations. Many resins have distinct chemical and
                                                        These changes are usually expensive because they             physical properties that make them incompatible with
                                                   require significant research efforts from manufactur-             other resins in most recycling operations. Some resins,
                                                   ers. Customers are also required to change longstand-             especially the rapidly growing number of high-perfor-
                                                   ing buying habits and often pay more for products                 mance engineering resins, are thermosetting resins that
                                                   that are more durable, repairable, or reusable. In con-           cannot be remelted and are unrecyclable with current
                                                   trast to recycling, which can be accomplished on a                technologies.
                                                   local level, source reduction changes can affect the                   Plastics recycling is hampered by the lack of a
                                                   entire nation.                                                    complete recycling infrastructure, a structure much
                                                        It is also difficult to judge the success of source          more complex than that required for the glass and


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aluminum industries because of the greater number of             Economic Barriers                                                         lection and reprocessing operations. Financial institu-          fear consumers will perceive their product to be of
different and sometimes highly incompatible materials                 Many of the physical barriers to plastics recycling                  tions tend to avoid loans for recycling technologies,            lower quality than their competitors.
collected. This problem is heightened by products                can be overcome with existing equipment and tech-                         which often are not proven on a commercial scale.                     Adding to the perception of inferior quality is the
that use several different types of resins that cannot be        nologies. However, most plastics recycling technolo-                      Public funding for collection equipment such as balers,          lack of quality standards for plastic scrap and recycled
separated, such as multi-layer plastic bottles, making           gies are too expensive for many collectors and                            granulators, and new collection vehicles often stretch-          resins. The lack of standards creates an atmosphere of
the product unrecyclable or only useful in low-value             reprocessors. The combination of expensive technolo-                      es local budgets. State policy makers also face tight            uncertainty that can disrupt recycling operations and
mixed grades of recycled resin. Plastics are also                gies and the high cost of manual separation continue                      budgets and are typically unable to justify smaller              limit markets. For instance, granulated loads of plas-
increasingly being used in products such as automo-              to limit the ability of collectors and reprocessors to                    amounts of assistance to numerous local governments              tic waste from collectors may be rejected by reproces-
biles, where plastics are closely integrated with other          adequately collect, separate, and reprocess plastic                       or the capital outlays required by entrepreneurs for             sors because the content and quality of the load may
materials such as metals and cannot be readily sepa-             waste. These problems in turn create supply and qual-                     individual reprocessing plants.                                  be difficult or impossible to ascertain. Lack of stan-
rated for recycling.                                             ity problems that make recycled resins less attractive                                                                                     dards can lead plastic processors to reject recycled
                                                                 to plastic processors and limit the markets and appli-                    Insufficient Markets for Recycled Resins                         resin shipments because of contamination or inferior
Physical Characteristics of Plastics                             cations for recycled plastics.                                                 Perceptions of inferior quality, as well as small           quality, which can damage processing equipment, and
     The light weight, contamination, and high vol-                                                                                        and inferior supplies of recycled resin, have tended to          lead to expensive down time and reduced quality in
umes of many plastic wastes create storage and odor              Collection of Plastic Waste                                               discourage plastic processors from buying recycled               end-products.
problems for waste generators, who separate and store                 Collection programs for postconsumer plastic                         resins. Good potential markets for lower-quality recy-                 Even though both plastic processors and the pub-
plastic for recycling. These problems are costly for             waste are often unable to fully recover costs because                     cled resins - for products such as pipe, siding, and              lic may perceive products using recycled plastics as
collectors, who must make more pickups than is                   of the bulkiness of plastic waste. Plastics collection                    flooring -haven't been developed because they                     inferior materials and avoid buying them, some grades
required for other materials or invest in specially              often involves additional storage and transportation                      require large, reliable volumes. Health and liability             of recycled resin may have nearly identical qualities to
designed vehicles or densifying equipment.                       costs not necessary for other recyclables. Additional                     concerns have limited the use of recycled resins in               virgin grades.
     Most plastic products, especially containers such           transportation costs may be incurred by collectors                        food packaging. Also, government specifications for
as milk and PET bottles, typically have high strength-           who are any great distance from reprocessing firms.                       products such as trash bags have tended to favor                 Regulatory Barriers
to-weight ratios compared to competing products like             Many reprocessors reduce their costs by relying on                        products made from virgin materials.                                  Some government regulations hinder plastics recy-
glass, wood, or paper. However, the strength charac-             uncontaminated post-industrial and post-commercial                                                                                         cling by favoring the virgin plastics industry or other
teristics of plastic bottles causes compressed or baled          sources, leaving collectors facing the labor and equip-                   Informational Barriers                                           waste management options, such as landfilling or
containers to "bounce back" to their original shape.             ment costs for separating their plastic wastes or receiv-                      Plastics have traditionally been perceived as unre-         incineration. A number of other regulations can also
This "memory" reduces the feasibility of baling plas-            ing substantially lower prices for mixed grades of                        cyclable by the public. Until recently this perception           put plastics recycling at a disadvantage. For instance,
tics with ordinary vertical balers, which cost $10,000-          plastic waste. Some collectors also face intense and                      was reinforced by a general absence of plastic recy-             some tax laws involving depletion allowances for non-
$20,000, and requires high-density horizontal balers,            often ruinous competition from publicly subsidized                        cling opportunities for most consumers. However, a               renewable resources such as oil may create inequities
which run $50,000-60,000.                                        collection programs.                                                                                                                       between the virgin and recycled plastics industries.
                                                                                                                                           growing number of plastic collection programs and
                                                                                                                                           industry-sponsored recycling may be altering the pub-            Zoning laws can also inhibit recycling efforts by
Separation of Plastic Waste by Resin                             Unreliable or Inconsistent Supplies                                                                                                        requiring recycling centers to locate far from sources
                                                                                                                                           lic's view. Representatives of both the plastics and
     Most plastics recycling technologies require at                  Stable markets are needed to stimulate the collec-                                                                                    of plastic waste and scrap. Regulations involving
                                                                                                                                           recycling industries emphasize the importance of
least some separation of plastic wastes and scrap by             tion and reprocessing of plastic wastes. Consistent and                                                                                    transportation tariffs, procurement, and research and
                                                                                                                                           public education about plastics recycling to increase
resin type, as discussed in Chapter 5. Separation is             predictable supplies are needed to develop markets for                                                                                     development have also been cited as factors which
                                                                                                                                           public support and participation.
also important because resin that is homogeneous by              recycled resin. Seasonal fluctuations in plastic waste,                                                                                    tend to favor virgin materials at the expense of recy-
                                                                                                                                                 Consumer support for plastic recycling may fade,
type and color fetches significantly higher prices. The          such as soft drink bottles that are purchased in greater                                                                                   cled materials.
                                                                                                                                           however, when extra efforts are required to prepare
similarity of certain resin types makes complete sepa-           quantities during warmer summer months, can disrupt                                                                                             In recent years, collectors and reprocessors have
                                                                                                                                           plastics for recycling. Consumers who feel inconve-
ration difficult for both consumers and collectors. As           supplies and delay shipments of recycled resin to                                                                                          faced a rapidly changing regulatory atmosphere. Leg-
                                                                                                                                           nienced by the additional steps required by some plas-
a result, collectors or reprocessors are faced with the          processors. Plastic processors who receive late or                                                                                         islation mandating recycling and banning some prod-
                                                                                                                                           tic recycling programs - such as washing, removing
high labor costs of manual separation or the generally           poor quality shipments of recycled resin are liable to                                                                                      ucts create sudden shifts in plastic waste supplies that
                                                                                                                                           labels and caps, and manually crushing bottles - may
unaffordable costs of separation technologies. Separa-           shift to virgin resins to avoid quality or delivery com-                                                                                    often cause financially damaging market fluctuations.
                                                                                                                                           not participate in plastic recycling programs.
tion requirements influence collectors to limit collec-          plaints from retailers and customers.                                                                                                       Policy makers reacting to public concerns sometimes
                                                                                                                                                 The attitudes and biases of plastic processors can
tion programs to certain types of postconsumer                                                                                                                                                               promote regulatory measures, such as man~ating the
                                                                                                                                            also inhibit plastic recycling. Some processors resist
plastics, such as PET beverage bottles and HDPE milk             Costs of Recycling Technology                                                                                                               use of degradables that inhibit the economics of recy-
                                                                                                                                            using recycled resins because of their concerns that
containers, that are easily identified and separated                 Many collection, separation, and reprocessing                                                                                           cling.
                                                                                                                                            recycled resins lead to poor quality end-products.
from other plastic wastes and receive high prices from           technologies are proprietary or involve large capital
reprocessors.                                                                                                                               These processors may be able to use recycled resins in
                                                                 and licensing costs. These technologies are often                          moderate quantities if the resins are of a sufficiently
                                                                 beyond the financial resources of the local govern-                        high quality. Other processors have consistently used
                                                                 ments and entrepreneurial firms that typically run col-                    recycled resins but are afraid to advertise because they


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Conclusion                                                     Effective collection, separation, and processing of
     There are a variety of physical and technical fac-        postconsumer plastic waste often prove to be too cost-
tors that contribute to the poor economic potential for        ly for many collectors and reprocessors. Because of                                                             APPENDIX ONE
postconsumer plastics recycling. Most importantly,             the limited plastics recycling infrastructure, processors
the diverse nature of plastic resins coupled with the          may face supply and quality problems with recycled
high volume and low weights of most plastic products           resin shipments that persuade them to use virgin                                       California Reprocessors and Brokers of Plastic Scrap/Waste
complicates the collection and processing of plastic           resins. Supply and quality problems also hamper the
waste.                                                         development of vigorous markets for recycled resins.
    Many of these physical and technical barriers are          All of these barriers tend to be aggravated by inaccu-                           The following list represents firms identified by Board staff in Winter 1991 which dealt with large
aggravated by economic factors. The organizational             rate perceptions about the recyclability of plastics and                     quantities of plastic scrap (bales or greater). Asterisked firms do not generally handle most postcon-
and technical solutions needed for effective plastics          an uncertain regulatory atmosphere that discourages                          sumer plastics materials, although they may handle very clean postconsumer materials such as pallet
recycling often involve enormous financial costs.              entrepreneurs and investors.                                                 wrap. The Directory of U.S. & Canadian Scrap Plastics Processor & Buyers is a more comprehensive
                                                                                                                                            directory of reprocessor and brokers nationwide, and can be purchased from Resource Recycling
                                                                                                                                            (800/227-1424).


                                                                                                                                                        A & M Plastics [reprocessor]                       California CRINC [broker]
                                                                                                                                                        5650 Knott Avenue                                  5585 E. 61st Street
                                                                                                                                                        Buena Park, California 90621                       Commerce, California 90040
                                                                                                                                                        (714) 523-8640                                     (213) 887-0844
                                                                                                                                                        Contact: Ana Moore or Ray Boisvert                 Contact: Chip Lavigne

                                                                                                                                                        *A.D. Plastics [broker]                            California Public Recycling [broker]
                                                                                                                                                        7100 S. Avalon                                     521 orth Rice Ave.
                                                                                                                                                        Los Angeles, California 90003                      Oxnard, California 93030
                                                                                                                                                        (213) 750-2575                                     Contact: Rob Bushman
                                                                                                                                                        Contact: Al vis Daras
                                                                                                                                                          ote: plexiglass (cast acrylic) scrap only        California Recycling Company [reprocessor]
                                                                                                                                                                                                           3360 East Pico Blvd.
                                                                                                                                                        Al's Plastics [reprocessor]                        Los Angeles, California 90023
                                                                                                                                                        2677 East 26th Street                              (213) 780-7999
                                                                                                                                                        Vernon, California 90058                           Contact: Arie Zukerman
                                                                                                                                                        (213) 582-4360
                                                                                                                                                        Contact: Alex Mendrin                              *Coast Polymers [reprocessor]
                                                                                                                                                                                                           9368 Stewart and Gray Road
                                                                                                                                                        * As ociated Polymer Marketing [reprocessor]       Downey, California 90241
                                                                                                                                                        700 West 1 t, uite #5                              (310) 803-8781
                                                                                                                                                        Tu tin, California 92680                           Contact: Jerry Malcolm
                                                                                                                                                        (714) 669-0211
                                                                                                                                                        Contact: Alan Zembro ky                            C R & R [handler]
                                                                                                                                                                                                           11292 Western Avenue
                                                                                                                                                        *Bay Polymer Corporation [reprocessor]             Stanton, California 90680
                                                                                                                                                        44530 Grimmer Blvd.                                (714) 536-7879
                                                                                                                                                        Fremont, alifornia 94538                           Contact: Michael Silva
                                                                                                                                                        (415) 490-1791
                                                                                                                                                        Contact: John Lafountain




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*Engineered Resource Recovery [reprocessor]          ~"Joe's Plastics [reprocessor]                                          Plastic Pilings [reprocessor]                               Tech Polymers [broker]
P.O. Box 122-C                                       7065 Paramount Blvd.                                                    8560 Vinyard Ave., Suite 510                                P.O. Box 4429
Lafayette, California 94549                          Pico Rivera, California 90660                                           Rancho Cucamonga, California 91730                          Berkeley, California 94 704
(510) 283-0988                                       (213) 771-6622                                                          (714) 989-7685                                              (510) 644-1180
Contact: Ernie Garr                                  Contact: Joe Lafountain, Jr.                                            Contact: Ron Buie                                           Contact: Augi Lamia

Envirothene [reprocessor]                            Kingman Products, Inc. [reprocessor]                                    Plastic Reprocessing of Southern California [reprocessor]   WeisCo R_ecycling [broker]
14312 Central Avenue                                 875-A Island Drive, Suite 288                                           24 70 South Santa Fe Avenue                                 P.O. Box 21018
Chino, California 91710                              Alameda, California 94501                                               Vista, California 92084                                     Castro Valley, California 94546
(714) 465-5144                                       (510) 865-1878                                                          (619) 727-2177                                              (510) 733-6881
Contact: Jason Stanton                               Contact: Bart Broome                                                    Contact: Tom Long                                           Contact: Mel Weiss
Note: primarily handle postconsumer bottles
                                                     Marketing Associates, Inc. [broker]                                     Polymer Recovery Services [reprocessor]                     Western Gold Thermoplastics [reprocessor]
Escondido Sales Yard [broker]                        1818 N. Orangethorpe Park                                               3140 De La Cruz Blvd., Suite 200                            815 East 61st Street
1428 W. Mission Road                                 Anaheim, California 92801                                               Santa Clara, California 95054                               Los Angeles, California 90001
Escondido, California 92029                          (714) 870-1840                                                          (408) 748-9715                                              (213) 235-3387
(619) 747-3332                                       Contact: Jack Rushing                                                   Contact: Eric Northrup                                      Contact: William O'Grady
Contact: Pat Hubbard
                                                     Max Scrap Metals [broker]                                               Prime Meridian [broker]                                     WTE Plastics Recycling [reprocessor]
*Eureka Plastics of California [reprocessor]         21608 Nordhoff Street                                                   3600 South Harbor Blvd. #118                                30248 Santucci Court
4 726 Everett Court                                  Chatsworth, California 91311                                            Channel Islands Harbor, California 93035                    Hayward, California 94544
Vernon, California 90058                             (818) 709-4100                                                          (805) 984-0871                                              (510) 429-1076
(213) 581-6233                                       Contact: Mike Bushman                                                   Contact: Roger Finnell                                      Contact: Kit Carson, Michael Grubbs
Contact: Tom Bailey                                                                                                                                                                      Note: polystyrene only
                                                     MR Plastic Recyclers [broker]                                           Smurfit Recycling Company [broker]
Free-Flow Packaging Corporation [reprocessor]        300 East Main, Suite E                                                  4800 Florin-Perkins Road
1093 Charter Street                                  Ontario, California 91762                                               Sacramento, California 9 5 826
Redwood City, California 94063                       (714) 391-2673                                                          (916) 381-3340
(415) 364-1145 or 800-866-9946                       Contact: Bobby Martin                                                   Contact: Rich Garmsen
Contact: Debby Hill
Note: polystyrene only                               Oakland Plastic Sales [broker]                                              *South West Polymers [broker]
                                                     9733 San Leandro Street                                                     4588 Carter Court
*General Plastic [reprocessor]                       Oakland, California 90621                                                   Chino, California 91710
2623 Medford Street                                  (510) 562-6023                                                              (714) 465-1806
Los Angeles, California 90033                        Contact: Carl Nusbaum                                                       Contact: Jean Kwan
(213) 227-4244
Contact: Scott Jennings                              *Pacific Pioneer Plastic Company [reprocessor]                              Talco Plastics [reprocessor]
                                                     1642 E. 41st Street                                                         11650 Burke Street
GEO Resources Recovery [reprocessor]                 Los Angeles, California 90011                                               Whittier, California 90606
3050 Leonis Blvd.                                    (213) 231-4317                                                              (213) 699-0550
Vernon, California 90058                                                                                                         Contact: Todd Reagan
(213) 583-5555                                       Pacific Plastics Engineering Corporation [broker]
Contact: Sheldon Kritzer                             15863 Channel Street                                                        Talco Recycling [reprocessor]
                                                     San Lorenzo, California 94580                                               720 S. Temescal Street
HD Plastics [reprocessor]                            (510) 276-6005                                                              Corona, California 91719
4502 Brickell Privado Street                         Contact: Michael Hong                                                       (714) 736-7040
Ontario, California 91761-7827                                                                                                   Contact: Phil Fusco
(714) 467-3538                                                                                                                     ote: polystyrene only
Contact: Ron Dempsey




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                                                                                        APPENDIX Two

                                                                           List of California Curbside Programs Collecting Plastics


                                                      The following list of curbside collection programs was compiled from information supplied by the Depart-
                                                  ment of Conservation's Division of Recycling. The Division collects information on curbside collection programs
                                                  in order to track the disposition of beverage containers covered under California's beverage container redemption
                                                  law. As of December 12, 1990, the Division had received information from 235 programs in California, with 176
                                                  accepting PET containers, 56 accepting some HDPE containers, and 41 taking mixed plastics.


                                                  Alameda                                                          City of Durante                                    Mixed
                                                  City of Dublin                                       PET         City of Gardena                                PET, HDPE
                                                  City of Fremont/Newark                  PET, HDPE, Mixed         City of Glendale                               PET, HDPE
                                                  City of Livermore                                    PET         City of Irwindale                                    PET
                                                                                                                   City of La Canada Flintridge                   PET, HDPE
                                                  Butte                                                            City of La Habra                                     PET
                                                  City of Oroville                                     PET         City of Los Angeles                                  PET
                                                                                                                   City of Manhattan Beach                  PET, HDPE, Mixed
                                                  Contra Costa                                                     City of Monrovia                                   Mixed
                                                  City of Antioch                                PET, Mixed        City of Pasadena/Circa                         PET, HDPE
                                                  City of Clayton                                      PET         City of Pasadena/Murcole, Inc.                     Mixed
                                                  City of El Cerrito                                   PET         City of Rancho Palos Verdes/Waste Mgmt               PET
                                                  City of Martinez                               PET,HDPE          City of Redondo Beach                                PET
                                                  City of Pittsburg                                   PETE         City of Rolling Hills Estates                      Mixed
                                                  City of Pleasant Hill                          PET, Mixed        City of San Gabriel                                  PET
                                                  City of San Ramon                                    PET         City of San Marino/BF!                               PET
                                                  City of Walnut Creek                           PET, HDPE         City of San Marino/Community                         PET
                                                  Co. of Contra Costa/Pacheco                          PET         City of San Marino/Felix Disposal                    PET
                                                  Dist-Central C.C. Sanitary                           PET         City of San Marino/Rodriguez                         PET
                                                                                                                   City of Santa Monica                           PET, Mixed
                                                  Fresno                                                           City of Sierra Madre                                 PET
                                                  City of Fresno                                       PET         City of Temple City                                  PET
                                                  City of Kingsburg                       PET, HDPE, Mixed         City of Torrance                         PET, HDPE, Mixed
                                                  City of Sanger                                       PET         City of West Hollywood                         PET, Mixed
                                                                                                                   City of Westlake Village                             PET
                                                  Imperial                                                         Co. of L.A./Arrow Disposal                           PET

                                                  City of El Centro                                    PET         Co. of L.A./BFI District #2                    PET, HDPE
                                                                                                                   Co. of L.A./Community                                PET

                                                  Los Angeles                                                      Co. of L.A./Felix Disposal                           PET

                                                                                                       PET         Co. of L.A./Phillips                                 PET
                                                  City of Agoura Hills
                                                                                                       PET         Co. of L.A./Rolling Waste, Co.                       PET
                                                  City of Arcadia
                                                                                                       PET         Co. of L.A./Santa Clarita Valley                   Mixed
                                                  City of Burbank
                                                                                                       PET         Co. of L.A./Western Waste                      PET, HDPE
                                                  City of Downey




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                                                                                                                                   135       San Mateo                                                        Solano
Marin                                                                  Riverside
                                                                       City of Cathedral City                          Mixed                 City of Atherton                                     PET         City of Benicia                                  PET, Mixed
City of Novato                                             PET
                                                                       City of Indian Wells                        PET,HDPE                  City of Belmont                                PET, HDPE         City of Vacaville/Leisure Town                         PET
Co. of Marin                                               PET
                                                           PET         City of Indio                                   Mixed                 City of Brisbane                                     PET
Co. of Marin/Bolinas
Co. of Marin/Stinson Beach                                 PET         City of La Quinta                               Mixed                 City of Burlingame                             PET, HDPE         Sonoma
                                                                       City of Palm Desert                             Mixed                 City of Foster City                            PET, HDPE         City of Cloverdale                                     PET

Mendocino                                                              City of Palm Springs                              PET                 City of Half Moon Bay                          PET, HDPE         City of Cotati                                         PET

City of Ukiah                                              PET         City of Rancho Mirage                           Mixed                 City of Hillsborough                           PET, HOPE         City of Healdsburg                                   Mixed

Co. of Mendocino                                         Mixed         County of Riverside/Jurupa                  PET,HDPE                  City of Menlo Park                             PET,HDPE          City of Petaluma                                 PET, Mixed
                                                                       Co. of Riverside/Palm Desert Greens               PET                 City of Millbrae                                     PET         City of Rohnert Park                                 Mixed

Monterey                                                                                                                                     City of Pacifica                                     PET         City of Santa Rosa                                   Mixed

City of Carmel                                             PET         Sacramento                                                            City of Redwood City                           PET,HDPE          City of Sebastopol                                     PET

City of Marina                                             PET         Co. of Sacramento                                 PET                 City of San Bruno                                    PET         City of Sonoma                                         PET

City of Monterey                                     PET, Mixed                                                                              City of San Carlos                             PET, Mixed        Co. of Sonoma/Empire Waste Mgmt.                     Mixed

City of Pacific Grove                                      PET         San Bernardino                                                        City of San Mateo                              PET, Mixed        Co. of Sonoma/West Sonoma Co. Disp.                    PET

City of Salinas                                            PET         City of Colton                        PET, HDPE, Mixed                City of So. San Francisco                            PET
District-Pebble Beach                                      PET         City of Ontario                             PET,HDPE                  City of San Mateo/Fair Oaks                    PET,HDPE          Stanislaus
                                                                       City of Redlands                            PET, Mixed                District-Montara Sanitary/Montara/Moss Beach         PET         City of Ceres                                          PET
Napa                                                                   City of San Bernardino                            PET                                                                                  City of Hughson                                  PET, HOPE
City of Calistoga                                          PET                                                                               Santa Barbara                                                    City of Modesto/Modesto Disposal                       PET

City of Napa                                               PET         San Diego                                                             City of Guadalupe                                    PET         City of Turlock                                  PET, HOPE
City of St. Helena                                   PET, HDPE         City of Carlsbad                                  PET                 City of Lompoc                                 PET, Mixed        Co. of Stanislaus/Bertolotti Disp.                     PET

Co. of Napa/Napa Valley Disposal                           PET         City of Chula Vista                             Mixed                 Co. of   orth Santa Barbara                          PET         Co. of Stanislaus/Gilton Solid Waste             PET, HOPE

                                                                       City of Coronado                            PET,HDPE                  Co. of South Santa Barbara                           PET         Co. of Stanislaus/Modesto Recycling                    PET
Nevada                                                                 City of Del Mar                             PET,HDPE                                                                 PET,Mixed         Co. of Stanislaus/R&R Disp. Inc.                 PET, HOPE
                                                                                                                                             Vandenberg AFB
City of Grass Valley                                       PET         City of Encinitas                           PET,HDPE                                                                                   Co. of Stanislaus/Turlock Scavenger              PET, HOPE
City of Nevada City                                        PET         City of Escondido                           PET, Mixed                Santa Clara
Co. of Nevada/Truckee/Nevada City Garbage                  PET         City of La Mesa                             PET,HDPE                  City of Campbel                                      PET         Tulare
Co. of Nevada/Truckee/Tahoe Truckee Disposal               PET                                                                                                                                    PET         City of Visalia                                         PET
                                                                       City of Lemon Grove                         PET,HDPE                  City of Cupertino
                                                                       City of National City                       PET,HDPE                  City of Gilroy                                 PET,HDPE
Orange                                                                 City of Oceanside                           PET,HDPE                  City of Los Altos Hills                              PET         Ventura
City of Anaheim                                PET, HOPE, Mixed                                                                                                                                               City of Fillmore                                 PET, HOPE
                                                                       City of San Marcos                          PET,HDPE                  City of Los Gatos                                    PET
City of Brea                                         PET, Mixed                                                                                                                                               City of Simi Valley                              PET, HOPE
                                                                       City of Santee                              PET,HDPE                  City of Monte Sereno                                  PET
City of Dana Point                                                                                                                                                                                            City of Thousand Oaks/Conejo Resource Recovery          PET
                                                     PET, HOPE         City of Solana Beach                        PET,HDPE                  City of Mountain View                                 PET
City of Irvine                                                                                                                                                                                                City of Thousand Oaks/Conejo Valley Disposal            PET
                                                     PET, HOPE         City of Vista                               PET,HDPE                  City of Palo Alto                                     PET
City of Laguna Beach                                 PET, HOPE                                                                                                                                                City of Thousand Oaks/Newbury Disposal           PET, HOPE
                                                                       Co. of San D,iego/Fallbrook                 PET, HOPE                 City of San Jose                                      PET
City of Orange                                                                                                                                                                                                City of Ventura                                         PET
                                                     PET, Mixed                                                                              City of Santa Clara                                   PET
                                                                                                                                                                                                                                                                      PET
City of Placentia                              PET, HOPE, Mixed        San Francisco                                                         City of Saratoga                                      PET        County of Ventura/Ojai Valley
City of San Clemente                                                                                                                                                                                          Co. of Ventura/Environmental Recyc. Svs.                PET
                                                         Mixed         City of San Francisco                             PET                 City of Stanford                                      PET
City of San Juan Capistrano                                                                                                                                                                                   Dist-Channel Islands Beach Community Svs.               PET
                                                           PET                                                                               City of Sunnyvale                                     PET
Co. of Orange                                        PET, HOPE         San Joaquin                                                           County of Santa Clara                                 PET
District-Garden Grove Sanitary                       PET, HOPE         City of Stockton                                  PET                                                                                  Yolo
                                                                                                                                                                                                                                                               PET, HOPE
                                                                                                                                             Santa Cruz                                                        City of Davis
Placer                                                                 San Luis Obispo                                                       City of Santa Cruz                                    PET
City of Colfax                                             PET         City of Arroyo Grande                       PET, HOPE                                                                PET,HDPE
                                                                                                                                             Co. of Santa Cruz/Live Oak
Co. of Placer                                              PET         City of Grover City                               PET
                                                                       City of Pismo Beach                               PET                  Shasta
                                                                                                                                              City of Redding                                      PET




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                                                                                        APPENDIX THREE

                                                                            Results of California Plastics Reprocessor Survey


                                                    Introduction                                                      survey by November 5th received reminder calls dur-
                                                         For several years the California Integrated Waste            ing the week of November 5-9.
                                                    Management Board has maintained a list of California
                                                    firms which handle either industrial scrap or postcon-            Results
                                                    sumer plastic waste. The reprocessing firms identified                 As of December 20th Board staff had received
                                                    on this list transform plastic waste into resin pellets or        nine survey forms and had conducted personal or
                                                    flakes which are typically sold to manufacturers of               phone interviews with two other firms. Three of the
                                                    plastic products. Board staff developed and mailed a              written survey responses and one personal interview
                                                    survey in October, 1990, to the 21 reprocessing firms             identified five additional firms not on the Board's list
                                                    included on the Board's list of plastic reprocessors.             of reprocessors. Four of these five firms were sent sur-
                                                    The survey was developed as a tool for Board staff to             veys but had not responded by the report deadline.
                                                    gather general statistical information and solicit com-
                                                    ments from each reprocessor.                                      Statistical Summaries
                                                                                                                          Many of the statistical summaries (page 2) were
                                                    Survey Description                                                partially incomplete. The tables below summarize the
                                                         The survey consisted of two parts. The first page            information provided on the eight written survey
                                                    included four general questions about plastics recy-              responses.
                                                    cling and the reprocessing industry. These questions
                                                    were designed to solicit responses from representatives           Quantity Processed (pounds/year}
                                                    of each firm on their perceptions of barriers to their                Six of the nine written responses included quantity
                                                    industry and the potential role of government in                  information.
                                                    increasing plastics recycling. A fifth question asked                                                Quantity    Responses
                                                    the respondent to review the Board's current list of              ABS                              4,200,000         5
                                                    reprocessors (which was supplied with the survey) and             Acetals                            550,000         3
                                                    provide contact information for any firms which may               Acrylic                          1,075,000         4
                                                    have been overlooked.                                             PET                                300,000         I
                                                         The second page involved a grid for including                HOPE (film)                      5,500,000         4
                                                    statistical information. Columns were assigned to 15              HOPE (rigid)                    16, I 00,000       4
                                                    specific resin types. Rows were assigned to general               [HOPE mixed film & rigid]        3,000,000
                                                    types of information including forms of plastic waste             LOPE (film)                      8,400,000         5
                                                    accepted, form and prices of reprocessed resin sold by            LOPE (rigid)                     3,500,000         3
                                                    the firm, general e timates about where a firm received           [LOPE mixed film & rigidJ        3,000,000
                                                    its plastic crap, and general e timate of whether the             Mixed plastics                     900,000         3
                                                                                                                      Polypropylene                   11,500,000         6
                                                    firm sold its products to in-state, out-of-state, or for-
                                                    eign customers.                                                   Polystyrene (foamed)             8,000,000         4
                                                                                                                      Polystyrene (extruded)          14,600,000         6
                                                         Reprocessors were encouraged to reply to the sur-
                                                                                                                      PVC                              1,600,000         2
                                                    vey by ovember 5th either by filling out the survey
                                                                                                                                                         875,000         3
                                                    form or providing information to Board staff over the             Nylon
                                                                                                                      Engineering plastics (misc.)       135,000         2
                                                    telephone. Re pondent were a ked to identify stati -
                                                    tical information they cho e to withhold for propri-
                                                                                                                      Total Quantity Processed        83,240,000 pounds/year
                                                    etary reasons. Firms which had not re ponded to the



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Forms Accepted                                                                                                                                                         Post commercial          Curbside Buyback      Dropoff           Other
   Terms mentioned by respondents under the "Other" category included "virgin/reprocessed," "regrind," and                           ABS                                      96%                                                        4%
"unground."                                                                                                                          Acetals                                 100%
                                                                                                                                     Acrylic                                 100%
                                                   Loose         Baled           Shred/flaked   Other                                HOPE (rigid & film}                      97%                                          3%
        ABS                                          8             5                  8           2                                  LOPE (rigid & film)                      79%                                         20%              1%
        Acetals                                      4             3                  5           2                                  Polypropylene                            92%                                          8%
        Acrylic                                      7             4                  7           2                                  Polystyrene (foamed)                     64%                      6%                 24%              6%
        PET                                          2             2                  2           2                                  Polystyrene (extruded}                   94%                                          2%              4%
        HOPE (film)                                  4             8                  6           3
        HOPE (rigid)                                 6             6                  8           2
        LOPE (film)                                  4             9                  6           3
        LOPE (rigid)                                 6             6                  8           2                              Sales/Price received                                             and a lack of standards for scrap were identified
        Mixed plastic                                2             3                  2           2                                 Respondents provided insufficient information to              as barriers which reduced the quality and poten-
        Polypropylene                                6             7                  8           2                              summarize.                                                       tial value of reprocessed resin to manufacturers.
        Polystyrene (foamed)                         4             6                  8           3                                                                                               Solutions offered included increased research and
        Polystyrene (extruded)                       8             8                  8           3                              Quantity Sold (to end-product users}                             development activity, developing standards for
        PVC                                          5             4                  4           2                                   Respondents provided insufficient information to            plastic scrap, and increasing state-sponsored
        Nylon                                        4             3                  4           2                              summarize. However, what information was provid-                 financial assistance including grants, loans, and
        Engineering plastics                         4             3                  6           2                              ed indicated that the eleven reprocessors sold their             demonstration projects to assist in the purchase of
                                                                                                                                 products to a variety of different customers. Although           expensive processing equipment.
                                                                                                                                 in-state customers seemed to slightly predominate,
Forms Sold                                                                                                                       both out-of-state and foreign customers were also                • Inadequate/unreliable supplies. Another com-
    Seven of the nine written responses included information about the forms of plastic they accept. Terms men-                  common.                                                          monly cited barrier involved inadequate and unde-
tioned under the "Other" category included "regrind," "baled," and "densified."                                                                                                                   pendable supplies of plastic scrap. Wide
                                                                                                                                 General Questions                                                variations in the quality and quantity of plastic
                                                                                                                                      All written and verbal respondents provided                 scrap were cited as creating conditions which dis-
                                              Shredded/flaked            Pelletized             Other                            responses to some or all of the four general questions.          couraged manufacturers from using recycled resin.
        ABS                                          7                       6                   3                               The fourth question on improving the marketability               A wide range of suggestions potentially related to
        Acetals                                      4                       2                                                   of recycled products received substantially fewer                this barrier. However, the most common sugges-
        Acrylic                                      6                       2                   3                               responses than the other questions. This may have                tions involved increasing public awareness and
        PET                                          2                       I                   3                               resulted because many if not most of the respondents             participation in plastics recycling and encouraging
        HOPE (film)                                  6                       6                   5                               are not typically involved with the marketing of fin-            the development of curbside plastics collection for
        HOPE (rigid)                                 6                       6                   4                               ished products.                                                  both businesses and residences.
        LOPE (film)                                  6                       7                   5                                    Several major themes emerged out of the eleven
        LOPE (rigid)                                 6                       6                   4                               written and verbal responses to the survey. The three            • Inadequate demand/markets. Several reproces-
        Mixed plastic                                2                                           3                               most important themes running through the surveys                sors believed price competition from virgin resin
        Polypropylene                               6                        7                   6                               are summarized below. Following this summary is a                combined with manufacturer reluctance to use
        Polystyrene (foamed)                        4                        4                   4                               more detailed listing of specific responses.                     recycled resins in a variety of applications limited
        Polystyrene (extruded)                       5                       6                   5                                                                                                the demand for recycled resin. A number of solu-
        PVC                                         3                                                                                                                                             tions to these barriers were suggested including
                                                                                                 3                                   • Sorting/contamination. A large majority of the
        Nylon                                       4                        I                                                       respondents emphasized the difficulties and equip-           state-sponsored programs to encourage markets,
        Engineering plastics (misc.)                4                        2                                                       ment expense of sorting/removing contaminants                mandating recycled content in plastic products,
                                                                                                                                     form postconsumer plastic scrap. Poorly sorted               and providing incentives such as tax breaks for
                                                                                                                                     plastic scrap, contaminants such as paper labels,            manufacturers to use recycled resin.
Sources (estimated percentages}
    A!though ~ll of_the respondents provided some information, only three surveys included adequate information
to be mcluded m this summary. Virtually all of the respondants indicated that their predominant sources were
post-commercial or "post-industrial." The percentages listed below indicate the percentages of plastic scrap
received from different sources for three respondents.



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What do you feel are the most significant barriers to postconsumer plastics collection, separation, and reprocessing?

     Response                                                                               Number of Responses                                                                         APPENDIX FOUR
     Sortation of postconsumer plastics expensive (labor, equipment)                                                   6
     Contamination of postconsumer plastics (e.g. paper, aluminum, degradables)                                        6
     Inadequate funds for equipment purchases (balers, grinders, washers)                                              4                                                                        Degradable Plastics
     Lack of standards for plastic scrap                                                                            3
     Public's perception that plastics are not recyclable                                                           2
     High transportation costs due to bulk of postconsumer plastics                                                 2                            Introduction                                                         bacteria and fungi. In this catalytic process, the
     Poorly designed consumer packages which are difficult/impossible to recycle                                     2                                Plastics that degrade in different environments                 microorganisms secrete enzymes which break down
     Inadequate or unorganized sources of plastic scrap (e.g. curbside collection)                                  2                            have been proposed as one alternative to reduce the                  the polymer molecules to products small enough to be
     High rejection rates by mills                                                                                                               problems caused by plastics in the waste stream. For                 digested by the microorganisms. The rate of decompo-
                                                                                                                                                 example, a great deal of interest exists for plastic items           sition depends on physical and chemical factors such
                                                                                                                                                 which can be biodegraded in landfills. This cannot be                as moisture, temperature, and pH.
What do you feel are the greatest barriers to selling reprocessed postconsumer resin to plastic manufacturers?                                   a realistic expectation since once a landfill is covered
                                                                                                                                                 with soil, the amount of oxygen and water available                       Biodegradation is not relevant to litter decomposi-
    Recycled resin is not or is perceived not to be clean enough/low quality                                       8                             for the degradation is very limited. First to address                tion because it requires moisture and burial. Pho-
    Reprocessed resin must be sold at too low of a price due to virgin prices                                      5                             the issue were the environmental activists, then the                 todegradation is not relevant to landfill decomposition
    Uncertain/undependable supplies of postconsumer scrap                                                          4                             legislators, and now the processors and users.                       because it requires the presence of UV radiation and
    Limited market applications/demand for postconsumer resin                                                      3                                  After decades of creating durable plastics,                     oxidation.
    Unable to use postconsumer resin in food-related products                                                                                    chemists have now become reverse alchemists, devel-                       The more readily polymers are attacked by
                                                                                                                                                 oping plastics which degrade in different environ-                   microorganisms, the less useful they are as packaging
                                                                                                                                                 ments. As a result, six-ring beverage carriers that                  materials whose primary function is to protect perish-
What do you feel is the most effective step(s) state government can take to assist plastic recycling efforts in California?                      crumble, plastics bags that decompose, and medical                   able goods from biological attack. The same argument
                                                                                                                                                 sutures that dissolve are already available. Beginning               can be applied to agricultural film (used to retain
    Provide grants/low-interest loans for purchase of expensive equipment                                           5                            in the late 1960s and early 1970s, research efforts                  moisture on arable land) which is generally in direct
    Encourage markets for reprocessed plastics                                                                      4                            began to develop plastics with enhanced degradability.               contact with the microorganisms. The problem in all
    Increase public awareness/involvement through education, advertising, etc.                                      3                            This research has followed two distinct courses:                     cases is that the microorganisms attack in an indis-
    Government regulators should listen to long-time reprocessors for advice                                        3                                                                                                 criminate and uncontrollable manner during the use-
    Mandate recycled content for plastic products                                                                  3                             1. The use of photodegradation, to increase the sus-                 ful life of the material. No simple way has yet been
    Encourage formation of curbside recycling for residences and businesses                                        3                             ceptibility of plastics to degrade by the action of the              devised of protecting biodegradable polymers from
    Provide financial and administrative support for demonstration projects                                        2                             ultraviolet rays. Plastics under the influence of ultra-             attack until the polymer is discarded as waste.
    Change restrictive procurement specifications for plastic products                                             2                             violet (UV) radiation lose strength, become brittle, and                  Unfortunately, the terms photodegradation and
    Provide tax breaks for recyclable and/or recycled plastic products                                             2                             may fall apart when stressed. Attack of the molecules                 biodegradation have been used synonymously, and
    Develop programs which match manufacturers with plastic reprocessors                                                                         may be by UV energy alone or may be by the presence                  people think in terms of a natural degradation, imply-
    Improve coordination/communication of state's agencies dealing with plastics                                                                 of oxygen, in which case the process is called photo-                ing biodegradation plays a major role, when in reality
    Legislate reasonable deposits on plastic containers to encourage recycling                                                                   oxidation.                                                            in most instances photodegradation is the main
    Develop a research and development program for plastic technologies                                                                               The chemistry of oxidative degradation of packag-                process by which plastics degrade.
    Develop recycling centers at grocery stores                                                                                                  ing polymers has been widely studied over the past 30                      There are many unanswered questions about
                                                                                                                                                 years and is now well understood. UV is the source of                 modified degradable plastics, particularly the contami-
What do you believe can be done to improve the marketability of recycled plastic products?                                                       initiating free radicals. It therefore triggers the series of         nation of food caused by the premature decomposi-
                                                                                                                                                 reactions which lead to the destruction of the polymer.               tion of the packaging material, the chemistry of
    Increase public awareness and involvement
                                                                                                                   3                             UV also causes the photolysis of hydroperoxides                       degradation, and environmental concerns about the
    Provide incentives for manufacturers to use recycled content
                                                                                                                   2                             which are the source of further initiating radicals.                  by-products of decomposition. These are some impor-
    Mandate percentages of recycled content in plastic products
                                                                                                                   2
                                                                                                                                                                                                                       tant considerations to be followed if a degradable
    Research and development in new technologies and applications
                                                                                                                   2                              2. The use of biodegradation, to promote the attack                  plastic is to be used for packaging:
    Environmental labelling of recycled products on supermarket shelves                                                                           on the plastic by the action of bacteria. Biodegrada-
    Discourage use of virgin resin through economic disincentives                                                                                 tion is generally considered to be the assimilation or                  1. Provide acceptable performance.
    Develop stable domestic markets
                                                                                                                                                  consumption of substances by living organisms, but as
    Unrecyclable products should be discouraged and ultimately discontinued                                                                       applied to waste, it refers to microorganisms such as                   2. Use conventional manufacturing technology.



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    3. Present acceptable economics.                            than those that are not; those in the equator will                     polymer. An unsaturated ester (corn oil) is added to          able component without affecting the physical proper-
                                                                degrade faster than those in northern latitudes. Unless                act as autooxidizer. Once the article is buried, fungi        ties of the film.
    4. Not adulterate the contents.                             exposed to the sun for a long time, carbonyl modified                  assimilate the starch leaving perforations in the article.
                                                                polymers do not degrade in landfills.                                  The esters react with metal salts in the soil to produce      3. Warner-Lambert makes an all-starch plastic.
    5. Its degradation products should not be toxic.                 Additives used singly or in combination can accel-                peroxides, which promote the break down of the poly-          Their researchers accomplished something that scien-
                                                                erate photodegradation. It is believed that a synergis-                meric chain. After burial, polyethylene films contain-        tists used to believe was impossible: the production of
    6. Resistance to microorganisms in use.                     tic effect operates in such a way that the intermediate                ing 15 percent starch decompose in six months while           a plastic made entirely of starch. The product is
                                                                chemicals so produced might continue the decomposi-                    those containing only six percent starch, decompose in        obtained by heating starch and water under pressure.
    7. Be disposable with conventional technology.              tion reaction after burial, making the process very                    three to five years.                                          The pressure enables the starch to retain the water
                                                                attractive for application in the landfill.                                                                                          without becoming dusty. The company has made arti-
    8. Will not be recycled.                                         During the thermal process, resins may be degrad-                  Degradability Testing                                        cles by injection molding, but it has not yet developed
                                                                ed by oxygen with the production of peroxides.                               Different techniques are being used to determine        methods for extrusion and blow molding. It will be
    Items 1-4 above are of critical importance for the          Antioxidants are then added to stabilize the olefins                    the degree of degradation of the plastic material. The       necessary to improve some physical properties of the
successful commercialization of a modified material.            and inhibit the action of oxygen. An interesting find-                  most obvious is to expose the sample to the outdoor          product. The product will probably be in the market
Commercially useful degradables already include gro-            ing is that certain antioxidants containing metal salts                 environment according to indications given by the             under the trade name of Novon within three years.
cery and trash bags, six-ring beverage carriers, dispos-        can protect the molecule from the formation of perox-                   American Society of Testing and Materials (ASTM).
able diaper liners, and some packaging. Application of          ides, and at the same time induce photocatalization,                    The other method makes use of a device called weath-             4. An Austrian company has developed microbial
degradables are useful where they provide a benefit to          which is very desirable.                                                erometer, which is used to control humidity, tempera-            plastic: polyhydroxy-butyrate (PHB) has been pro-
the environment, like plastic fish nets used in the                                                                                     ture, photoperiod and UV dosage. Weathered samples               duced by bio-technologische Forschungsgesellschaft
ocean.                                                          Biodegradation Technology                                               are then characterized using different analytical                (btF), the biotechnology research unit of Austrian
                                                                     Efforts to produce biodegradable plastics have                      approaches including infrared spectroscopy, gel per-            Industries. In the process, a mutant of the common
Photodegradation Technology                                     been directed toward the incorporation of biodegrad-                     meation chromatography, physical testing (tensile               soil bacterium Alcaligenes latus groyvn on a beet sugar
     Some molecular transformations and photosensi-             able additives, modification of the polymer, and the                     strength, elongation, etc.), thermal analyses, and scan-        substrate accumulates PHB at levels over 80 percent of
tive additives are used in the manufacture of degrad-           enzymatic attack by bacteria.                                            ning microscopy.                                                cell mass. After fermentation and recovery, the PHB
able polymers. In polyethylene, for instance, carbon                 Biodegradable additives have found some applica-                                                                                    can be granulated with common extruders. btF has the
monoxide molecules, also referred to as a carbonyl              tion. Such polymer additives include aliphatic poly-                    Ongoing Research Projects                                        capacity to produce half a ton of PHB per week, and
functional group, make the material sensitive to the            esters, polyester diol base polyurethanes, and                          1. A systematic study has been made of the degrada-              it is supplying the product to interested companies for
attack of UV radiation between the wavelengths of               polylactides made from lactic acid. Polylactides and                    tion of polyethylene to aromatic hydrocarbons in the             processing and product development studies. PHB is
280 and 400 nanometers (nm.).                                   polyglycolates have been also used for degradable                       presence of solid catalysts. Silica-alumina was found            biodegradable and biocompatible for use in controlled
     One effective method of preparing photosensitive           surgical sutures and devices.                                           to be an excellent catalyst for selective recovery of            release of medical implants and oral formulations.
plastics is to incorporate carbonyl groups (C=O) into                Polymers in general, and polyolefins in particular,                C3-C5 alkenes, while activated carbon catalyst
the polymers, using for example, carbon monoxide,               are not easily biodegraded. In contact with soil, some                  impregnated with platinum, iron, and molybdenum,                 5. Totally natural plastic: polymers produced by sin-
methyl vinyl ketone, and methyl isopropenyl ketone.             polyolefins have shown the possibility of being assimi-                 was found effective for the formation of n-2lkane and            gle-cell organisms is the exciting new research being
With C=O functional groups distributed at intervals                                                                                     aromatics. These results indicate that various kinds of          done by Fuller and Lenz. To produce the plastic, the
                                                                lated by the microorganisms, but the high molecular
along the long polymer chain, the UV energy can                 weight of the olefin inhibits significant decomposition.                chemicals can be obtained from polyethylene via cat-             microorganisms are fed on glucose or molasses, and
BREAK the chain at the carbonyl sites and make the                                                                                      alytic degradation. An important consideration for               the cycle can be endless since the organisms can also
                                                                However, the insolubility in water of those olefins
polymer brittle. Copolymerization with carbon                                                                                                                                                            use the plastic as a feedstock. Of particular note is
                                                                facilitates partial penetration of the enzymes from the                  this process is that in order to obtain a good yield of
monoxide is the most common method of introducing                                                                                                                                                        how these microorganisms are able to produce a great
                                                                microorganisms. Low-weight molecular photodegrad-                        aromatic product, a proper combination of cracking
carbonyl groups into plastic. The rate of degradation                                                                                                                                                    variety of polymers. PHBV-Poly{3-hydroxybutirate-
                                                                able polyolefins with carbonyl groups were found                         and dehydrocyclization activities is necessary in the
depends on the number of carbonyl groups added.                                                                                                                                                          3hydroxyvalerate) is one of the most important from
                                                                biodegradable in soils. Oxygen uptake by fungi was                       activated carbon. The degradation of polyethylene to
     A similar method applicable to only low density                                                                                                                                                     an environmentalist's point of view. The plastic can
                                                                measured, and it was estimated that the complete                         aromatic hydrocarbons is an attractive reaction with
polyethylene (PE) is to copolymerize carbon monoxide                                                                                                                                                     be processed into different products such as bottles,
                                                                biodegradation took about four year . The sensitizer-                    regard to the recycling of plastic wastes.
(CO) with ethylene in the manufacturing process. This                                                                                                                                                    bags, and hygiene products. They can be stored and
                                                                containing polyethylene, previously oxidized in a
method is used by several plastic resin manufacturers                                                                                                                                                    only disintegrate when they are in the water or in the
                                                                weatherometer, was immersed in a culture media with                      2. Urea and polyols were added to starch-poly-
including Dow Chemical, Du Pont, and Union Car-                                                                                                                                                          soil media. They do not leave toxic residues since they
                                                                bacteria. With ome bacteria, the material lost a                         (ethylene-co-acrylic acid) formulations to facilitate
bide Corporation.                                                                                                                                                                                        degrade completely to carbon dioxide and water. The
                                                                weight of 18.7 percent.                                                  preparation, improve economics, and the quality of
     The rate at which the chains are broken depends                                                                                                                                                      only problem the product has is its high cost com-
                                                                                                                                         bio-degradable agricultural mulch. The addition of
on several factors, the most important being the inten-                                                                                                                                                   pared with other starch oil-base plastics.
                                                                Starch Base Biodegradable Plastics                                       urea has been shown to improve gelatinization of the
sity of UV radiation, the average temperature, and lat-              In this technology, the starch is mixed with a                      starch film. Glycerol and starch-derived polyols can
itude. Objects under the shade degrade more slowly              silane coupling agent to insure compatibility with the                   also be added to increase the percentage of biodegrad-


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6. "Controlled Lifetime Polymers for Marine Appli-                that a mix of degradable and nondegradable feedstock
cation": The objective of this research is to develop             among recycled materials may invalidate some intend-
degradable materials that decompose in the marine                 ed uses for reprocessed products.                                                                                 REFERENCES
environment within a reasonable time frame. The                        Manufacturers of degradable plastics refute those
study has focused around four areas: modified syn-                charges, holding that their products decompose to
thetic polymers, modified natural polymers, polymeric             carbon dioxide and water and are environmentally                        Ackermann, Kathy. Food, Beverage Packagers Seek to            Cheremismoff, Nicholas P., and Paul N. Cheremis-
composites, and new degradable polymers. Fourteen                 friendly. They consider claims made by environmen-                      Close Loop. Plastic News. n.d.                                moff. Special " The Plastic Waste Problem Report."
formulations have been developed and evaluated                    talists to be incorrect and too generalized.                                                                                          Pollution Engineering, August 1989, 58.
before and after the material is contacted with seawa-                 The absence of the most appropriate definitions                    Amidon, Arthur. Plastic grocery sack recycling.
ter. Characterization analyses are done to identify               and performance standards also complicates the                          Resource Recycling, November 1990.                            Claerbout, J. Material and Energy Recycling of PVC:
changes in the molecular weight, the molecular weight             debate. The American Society for Testing and Materi-                                                                                  Case Studies. Conservation and Recycling. V.10, N.
distribution, and the morphology of polyethylene                  als (ASTM) organized a committee to develop stan-                       Big demand seen for vinyl bottles. Plastic News,              2/3, 1987.
(PE)/polypropylene (PP)-starch (ST) composites.                   dards for testing and measuring degradability. The                      September 17, 1990.
     Polymers have been developed that are water solu-            work of the committee will be examined in an Interna-                                                                                 Combs, Susan. Garbage cops enforce N.Y.C.'s recy-
ble under certain environmental conditions. Belland               tional Symposium on Standarization for Degradable                       Biocycle Guide to Collecting, Processing and Market-          cling regulations. Recycling Times, V.2 No.5, Febru-
Co. has marketed a specialty resin which is soluble               Products to be conducted in January, 1991, in Wash-                     ing Recyclable. 1990.                                         ary 27, 1990.
within specified pH ranges. This polymer washes                   ington.
away; nevertheless, the smaller pieces remain in poly-                 Many questions remain unanswered about the                         Bennett, Robert A. End use markets for recycled               Conner, Daniel Keith and Robert O'Dell. Strategies
meric form and are not chemically degraded. Outside               degradation process, particularly questions about the                   polyvinyl chloride. Toledo, Ohio: College of Engi-            for Intervention: The Tightening Net of Marine
the specified pH ranges, the material retains its physi-          rate of disintegration, effectiveness of the products,                  neering, University of Toledo, 1990.                          Plastics Pollution. Environment, n.s.11 30 January/
cal properties.                                                   and the specific nature of by-products of the degrada-                                                                                February 1988.
                                                                  tion. There are claims, for instance , that plastic bags                Block, A.G. Too Much of a Good Thing? Recycling
Current Controversy                                               used in composting systems do not degrade at the                        Weathers a Glass Glut. California Journal, V.21,              D'amico, Esther. Dow announces LDPE recycling
     There are basically four interest groups involved            same rate as the leaves do. There are also concerns                     November 1990.                                                program. Plastic News, V.2, No.43, December 24,
in the controversy: legislators, environmentalists, plas-         over whether degradable plastics release toxic sub-                                                                                   1990.
tic manufacturers, and degradable producers.                      stances (heavy metals like Pb, Cd, Ni, and Cr) into the                 Bregar, Bill. Construction offers recycling market.
     Some legislators in a number of states favor the             environment. Several tests done in Lincoln, Nebraska,                   Plastic News, V.2, No.I 45, January 14, 1991.                 Derry, R. The Recycling of Post-Consumer Plastics in
production of degradable plastics by proposing bans               revealed the presence of Cd in samples taken from                                                                                     Europe. Plastics and Rubber Processing and Applica-
on nondegradable plastic products ranging from egg                soil where yellow plastic bags had been buried. The                     Brewer, Gretchen. Plastics Recycling Action Plan for          tions, V. 13, N.4, 1990.
cartons, tampon applicators and diapers to plastic                best recommendation is not to use toxic materials in                    Massachusetts-Part I. Journal of Environmental
grocery bags, liquor bottles and beverage rings that              the manufacture of degradable plastics, which several                   Systems, V.18, 1988-89.                                       Eastman commits $2 million to PET food-grade recy-
keep six-packs together. They also would require fea-             companies are attempting to do.                                                                                                       cling. Plastics News, V.2 No.38, November 19, 1990.
sibility studies assuring that plastic products which                                                                                      California Department of Conservation. Plastics
represent a threat to fish and wildlife be degradable or          Conclusion                                                               Recycling Report. 1988.                                      From sortation to marketing, the vinyl loop gets
recyclable.                                                            It is important to stress that there are many unan-                                                                              stronger. Recycling Today, March 15, 1990.
      The environmental groups declare that degrad-               swered questions about the rate of decomposition,                        Can curbside collection boost supply of PET for recy-
able plastics 1) will not extend the life of landfills,           effectiveness of the products, and the nature of by-                     cling? Modern Plastics, V.67, o. 7, July 1990.               Gibbons, Ann. Making Plastics that Biodegrade.
2) do not solve the aesthetic problem created by litter,          products released to the environment by modified                                                                                      Technology Review. February/March 1989.
3) do not reduce the threat that plastics represent to            degradable plastics.                                                     Center for Plastics Recycling Research. Market
wildlife, 4) interfere with plastic recycling, 5) can pol-             Equally important to remember is that biodegra-                     research on plastics recycling. Piscataway, N.J.:            Glenn, Jim. The State of Garbage in America: Part II.
lute the environment, and 6) do not reduce, and may               dation of plastics in the landfill cannot be a realistic                 Rutgers, The State of New Jersey, 1989                       Biocycle, July 1990.
increase the use of plastics.                                     expectation since once a landfill is covered with soil,
     In reaction to the legislator's position, plastics           the amount of oxygen and water available for the                         Charnas, Dan. Short supply of recycled resins to keep        Grignaschi, C. Plastics Recycling in Italy: Legislation,
manufacturers are banding together to fight for non-              degradation is very limited.                                             prices up. Plastics ews, September 17, 1990.                 Industrial Experiences and Future Development.
degradable plastics. Manufacturers advocate wider use                  Degradable plastics may be beneficial and cost                                                                                   Resource, Conservation and Recycling, N.2, 1988.
of incineration and recycling since in most instances,            effective for certain applications such as agricultural                  Chemical and Engineering News. January 1990.
degradables lack performance characteristics, which               mulch films. However, for most applications degrad-
make them undesirable. Recyclers have argued that                 ability is undesirable.
use of degradable plastics will complicate recycling by
degrading the quality of recycled resins. They argue



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Hemphill, Thomas A. Loans and grants for recycling             Plastics News resin pricing chart. Plastics News,                      Sedlock, Joseph T. Bottle Bills: recycling's boon ... or        U.S. Environmental Protection Agency. Methods to
businesses. Biocycle, V.31 No.5, May 1990.                     December 24, 1990.                                                     doom? Waste Age, V.21 No. 10, October 1990.                     manage and control plastic wastes: report to Con-
                                                                                                                                      Selke, Susan E. Recycling of Plastic Packaging in the           gress. Washington, D.C.: U.S. Government Printing
Hurst, Karen and Paul Relis. The Next Frontier: Solid          Plastics Recycling Update, V.2 No.4/5, April/May                       United States. Packaging Technology and Science 1               Office, 1990.
Waste Source Reduction. Santa Barbara, California:             1989.                                                                  (10 December 1987).
Community Environmental Council, Inc., 1988.; quot-                                                                                                                                                   U.S. General Accounting Office. Solid waste: Trade-
ed in a personal communication with Nancy Wolf of              Proposed bill would mandate recycling codes. Plastics                  Smith, H.V. Plastics and the Environment: Some Mis-             offs involved in beverage container deposit legislation.
the Environmental Action Coalition, September 15,              News. V.2, No.28, Sept. 10, 1990.                                      conceptions, Antee 11989, 1800.                                 Washington D.C., November 1990.
1988.
                                                               Proposed Policies for Waste Reduction in California.                   Smoluck, George R. PET Reclaim Business Picks up                Waste solutions special supplement. Modern Plastics,
Johnston, Regina. An Overview of Degradable Plas-              Sacramento, Calif.:California Waste Management                         New Momentum. Modern Plastics, August 1990.                     April 1990.
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                                                                                                  GLOSSARY

                                                       Additives: Materials that are added to plastics to                Curbside Collection: Collection of selected
                                                   give them specific properties or qualities, such as resis-        recyclable materials from residential curbsides to be
                                                   tance to flames, oxidation, electric conductivity, as             brought to various processing facilities.
                                                   well as color flexibility.
                                                                                                                          Dropoff Center: A central point for collecting
                                                       Baler: A machine in which materials are com-                  recyclable materials. Materials are taken by individu-
                                                   pacted to reduce volume and provide ease in handling.             als to the drop-off center and deposited into designat-
                                                                                                                     ed containers.
                                                       Buyback Center: A central point for collecting
                                                   specific recyclables where cash payments are given-                  End-user: A manufacturer of finished products
                                                   other materials may be accepted without payment.                  made from virgin or recycled materials.

                                                       Calendering: Plastics manufacturing process                        Entrusion: Plastics manufacturing process simi-
                                                   similar to spreading butter in which rollers spread               lar to squeezing toothpaste in which melted plastic is
                                                   melted resin over sheets of paper or cloth to form a              squeezed through a specially shaped die in a continu-
                                                   protective finish or a strong backing; also used to pro-          ous stream.
                                                   duce thin plastics films and sheets by squeezing resin
                                                   between sets of rollers.                                             Film: An optional term for sheeting having a
                                                                                                                     nominal thickness not greater than 0.010 inch.
                                                        Casting: Plastics manufacturing process similar
                                                   to baking a cake in which melted resin is poured into                  Flake: Small particle of plastic produced by gran-
                                                   a mol,d then chemicals are added to harden the plastic;           ulation, usually about three-eighths inch in size.
                                                   used to shape both thermoplastic and thermosetting
                                                   resins; similar to molding without the use of pressure.                Foam Molding: A molding process whereby
                                                                                                                     heat softened plastics containing a foaming agent is
                                                        Catalyst: A substance which markedly speeds up               injection molded into a cavity where it hardens, pro-
                                                   the cure of a compound when added in minor quanti-                ducing a product having a solid contiguous skin with
                                                   ty as compared to the amounts of primary reactants.               a foam core.

                                                       Closed-loop Recycling: Turning a used recy-                        Granulation: Process by which plastics packag-
                                                   clable product back into the same product. USFDA                  ing is turned into flake for compaction prior to ship-
                                                   regulations and product liability concerns limit use of           ment.
                                                   recycled plastics in food-product applications.
                                                                                                                          HOPE (High-Density Polyethylene): A poly-
                                                       Commingled: A mixture of two or more plastic                  ethylene plastic with longer chains and fewer side
                                                   types that can include multi-colored resins.                      branches than LDPE. As a result, HDPE is more rigid,
                                                                                                                     has greater strength, hardnes, chemical resistance and
                                                        Contaminant: A foreign material which adheres                a higher melting point than LDPE.
                                                   or combines with the primary plastic resin or produce
                                                   and makes it unsuitable for recycling or reuse. Typi-                 Hauler: A transporter of recycled material from
                                                   cal contaminants are paper or metal labels and clo-               a collection site to a recycling facility.
                                                   sures, adhesives, other non-compatible plastics, and
                                                   contents of used containers.


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                                                                           Case 1:25-cv-00011-MJT              Document 1-11 Filed 01/06/25       Page 49 of 50 PageID #:
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                                                                                                                                                                                                    Resource Recovery: The extraction and utiliza-
                                                                    Pellets: Small cylinders or ovals of solid plastic                  Polypropylene: A tough, ligh~weight _rigid plas-
    Integrated Solid Waste Management: The                                                                                                                                                      tion of materials and energy from the waste stream.
                                                               about one-eighth inch long; the primary form in which               tic made by the polymerization of high-purity propy-
practice of disposing of solid waste that uses several                                                                                                                                          Recovered materials are used in the manufacturing of
                                                               virgin thermoplastic resins are sold.                               lene gas in the presence of an organo-metallic catalyst
complementary components, such as source reduction,                                                                                                                                             new products, or converted into some form of fuel or
                                                                                                                                   at relatively low pressures and temperatures.
recycling, composting, incineration from waste-to-                                                                                                                                              energy source.
energy, and landfilling.                                           Photodegradable: The integrity of the plastic is
                                                               weakened by the sun's ultraviolet rays. Spontaneous                     Polystyrene: A water-white thermoplas~ic
                                                                                                                                                                                                     Scrap, In-house: Any material resulting from
                                                               breaking occurs, causing the product to be reduced to                roduced by the polymerization of styrene (vmyl ben-
    Laminating: Manufacturing process in which                                                                                                                                                  plastic product manufacturing that is not part o~, or
                                                               small pieces.                                                       ~ene). The electrical insulating proper_tie~ of po~y-
"sandwiches" of paper, cloth, or metal foil are treated                                                                                                                                         reusable as, the primary product. In thermosett~ng
                                                                                                                                   styrene are outstanding and the material 1s relatively
with a plastics resin, then placed one on top of the                                                                                                                                            molding, this includes flash, culls, runners, and 1s _not
other and squeezed together by a machine which then                 PC (Polycarbonate): PC is characterized by                     unaffected by moisture.
                                                                                                                                                                                                reusable as a molding compound. Injection moldmg
heats them until the resin has joined them firmly.             clarity (with optical applications), impact strength and                                                                         and extrusion scrap (runners, rejected parts, sprues,
                                                               heat resistance. PC is more often used in durable                        Polyvinyl Chloride (PVC): A ~hermopl~stic
                                                                                                                                                                                                etc.) can usually be reground and remolded.
    Landfill: A system of trash and garbage disposal           goods production than disposable goods. Typical                      material composed of polymers of vmyl chloride; a
in which the waste is buried between layers of earth to        applications are found in glazing, appliances, and elec-             colorless solid with outstanding resistance to water,
                                                                                                                                                                                                     Scrap, Postconsumer: Plastic waste materials
build up low-lying land.                                       trical uses. An easily recognized PC product is five-                alcohols, and concentrated acids and alkalies. Coi:n-
                                                                                                                                                                                                 or used products which have been used as an end-
                                                               gallon water cooler bottles.                                         pounded with plasticizers, it yields ~ flexi~le ~aterial
                                                                                                                                                                                                 product or manufactured into a secondary p_roduct
    LOPE (Low-Density Polyethylene): A poly-                                                                                        superior to rubber in aging properties. It 1~ widely
                                                                                                                                                                                                 and discarded. Differs from in-house scrap m that the
ethelene plastic in which the molecules are linked in               PE (Polyethylenes): A family of resins com-                     used for cable and wire coverings, in chemical plants,
                                                                                                                                                                                                 plastic material has usually been ex~~sed to ot~er .
random fashion, with the main chains of polymer                posed of polymers of ethylene. It is normally a                       and in the manufacture of protective garments.
                                                                                                                                                                                                 materials which contaminate the onginal plastic resm
having long and short side branches. The branches              translucent, tough, waxy solid which is unaffected by                                                                             and must be removed for recycling.
prevent the formation of a closely-knit pattern, which         water and by a large range of chemicals. Some differ-                    Postconsumer Material: Any product that has
results in soft, flexible and tough material.                  ent forms are L/LDPE and HDPE. Major applications                    been used by the consumer and discarded.                          Set-out Rate: The percent of eligible households
                                                               include packaging, housewares, toys, and communica-                                                                                that set out their recycling container in a given week.
     Materials Recovery: Extraction of materials               tions equipment.                                                          Reclamation: Enhancing the quality of a recov-
from the waste stream for reuse of recycling. Exam-                                                                                  ered material to meet the market requirements.                    Solid Waste: Garbage, refuge, sludge, and_ other
ples include source separation, front-end recovery, in-             PET (Polyethylene Terephthalate): A saturated                                                                                 discarded solid materials, including those from indus-
plant recycling, post combustion recovery, leaf                thermoplastic formed by condensing ethylene glycol                         Recycling: The process of collecting, s~rting,          trial, commercial, and agricultural operations, and
composting, etc.                                               and terephthalic acid. Is is extremely wear and chemi-                cleansing, treating, and reconstituting materials t?at
                                                                                                                                                                                                  from community activities.
                                                               cal resistant and dimensionally stable. It also has a                 would otherwise become solid waste, and returning
     Materials Recovery Facility (MRF}: A facility             low gas permeability in comparison to HDPE, LDPE,                     them to the economic mainstream in the form of raw                Solid Waste Management: The systematic
that separates curbside collected mixed recyclables for        PP, and PVC which is why it is used so extensively for                material for new, reused, or reconstituted products          administration of activities that provide for ~he collec-
sale to a reprocessor.                                         carbonated beverage bottles.                                          that meet the quality standards necessary to be used         tion, source separation, storage, transportat10_n, trans-
                                                                                                                                      in the marketplace.                                         fer' processing, treatment, and disposal of solid waste.
     Molding: Manufacturing process in which solid                 Plastics: Any of numerous organic synthetic or
resin is heated until it melts, is forced into a mold          processed materials that are mostly thermoplastic or                        Regrind (verb): To grind or shred scrap plastic             Source Reduction: Any action that cau~es a net
under great pressure, and then hardens to keep its             thermosetting polymers of high molecular weight and                    for reuse in manufacture of a product. (noun) The            reduction in the generation of solid w~s_te. It includes
shape when removed from the mold.                              that can be molded, cast, extruded, drawn, or laminat-                 cleaned and shredded scra P material usually mixed           the reduction of both volume and tox1c1ty.
                                                               ed into objects, films, or filaments.                                  with virgin resin for remelting and reuse. Applies to
    Monomer: A raw material, such as ethylene,                                                                                        thermoplastics only.                                              Source Separation: The segregation of vari_ous
used in the manufacture of a polymer.                              Polymer: A chain of repeating molecular units                                                                                          . 1 from the waste stream usually at the pomt of
                                                                                                                                                                                                     matena s
                                                               linked through polymerization.                                             Reinforced Plastics: Strong, lightweight combi-
                                                                                                                                                                                                     waste generation.
    Ozone: A thin layer in the Earth's upper atmos-                                                                                   nation of plastics with glass fibers, cloth, or paper.
phere that filters out the sun's harmful ultraviolet                Polymerization: Process by which monomers                                                                                            Thermoplastics: Resin that are hardened merely
rays.                                                          are transformed into specific polymers by using differ-                      Reprocessing: Reclamation of used raw materi-            by being allowed to cool; products made from these
                                                               ent additives, catalysts, and variations in temperature,                als for use in the manufacturing of new Prod ucts.            resins melt when heated.
    Participation Rate: Percentage of eligible house-          pressure, and reaction time.
holds that set out recyclables at least once per month.                                                                                    Resin: Generic term for synthetic plastics follow-
                                                                                                                                       ing manufacture and pelletization.




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    Thermoset: Resin manufactured by adding heat
and applying pressure while the resin is in a mold
causing chemical changes that make the resin hard;
products cannot be remelted.

     Tipping Fee: A fee for the unloading or dump-
ing of solid waste at a recycling facility, landfill, trans-
fer station, or waste-to-energy facility, usually stated
in dollars per ton.

     Transfer Station: A facility where recyclables or
waste materials are taken from smaller collection vehi-
cles and transhipped in larger units for movements to
disposal sites. Some sorting and separation of recy-
clables may take place.

   Volume Reduction: The processing of waste
materials so as to decrease the amount of space the
materials occupy. Reduction is accomplished by
mechanical, thermal, or biological processes.

    Waste Stream: The waste material output of an
area, location, or facility.




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